 Case 1:20-cv-04322-LGS-OTW   Document 1   Filed 06/05/20   Page 1 of 274




            IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF NEW YORK


KEVIN KING, STEPHANIE ANN MILLER,
JOSE ALEMAN, STEPHANIE HAGER,
SHANNON DENISE COLLINS, ANGELA
KAHLER, SCOTT BENNEDSEN, TRACY                 COMPLAINT UNDER THE
BENNEDSEN, JAMIE JOHANNA COATES,                ANTI-TERRORISM ACT
BRIANNA N. BENSON, FREDERICK C.                    (18 U.S.C. § 2333)
BENSON, BEVERLY MILLS, KATHERINE
ABREU-BORDER, JANICE HARRIMAN
BRYANT, S.L.B., by and through his next         JURY TRIAL DEMANDED
friend Janice Harriman Bryant, WILLIAM
MICHAEL BURLEY, MICHAEL COLLINS,
DAN OLMSTEAD, TAMMY OLMSTEAD,
AUGUST CABRERA, CORBIN CABRERA,
DANIEL MATIAS CABRERA, GILLIAN                     No. 1:20-cv-4322
LEIGH CABRERA, M.G.C., by and through
his next friend August Cabrera, R.X.C., by and
through his next friend August Cabrera,
ROBERT CABRERA, RONALD PAUL
HOPKINS, SUZANNE RENAE MARTINEZ,
JD PROSSER, GLORIA DIANE TRELFA,
ARTHUR CAMPBELL, AUDREY
CAMPBELL, TINA MARIE CAMPBELL,
KARMA CHISHOLM, GLENN CHISHOLM,
LINDA REYNOLDS, APRIL CLEARY,
JONATHAN CLEARY, DAVID AARON
CROW, JUDITH SARA DARROUGH,
ROBERT CHARLES DARROUGH, B.C.D.,
by and through his next friend Kelli Dodge,
KELLI DODGE, P.A.D., by and through her
next friend Kelli Dodge, VANESSA MARIE
ANZURES, BRIAN EDWARD ELLIS, JULIE
ANN ELLIS, VICTOR RAYMOND ELLIS,
CATHERINE ELM BOATWRIGHT,
MARGARET ELM CAMPBELL, DENNIS
JOHN ELM, DONNA LEE ELM, MATTHEW
ELM, CHRISTINE RANGEL, LOUELLA E.
  Case 1:20-cv-04322-LGS-OTW     Document 1     Filed 06/05/20   Page 2 of 274




FRISON, EMMITT DWAYNE BURNS,
JANICE CARUSO, PATRICIA GOINS,
PAUL EDWARD GOINS III, DANA
RAINEY, ANN L. GOULD, JAMES A.
GOULD, JULIANNA SYMKOWIAK,
CAROL GRIFFIN, DANIEL GRIFFIN,
MATT GRIFFIN, SHAWN PATRICK
GRIFFIN, SHEILA RISTAINO, CARLOS
BENJAMIN GROSS PANIAGUA, FELICIA
GROSS PANIAGUA, SOCORRO GROSS
PANIAGUA, CARLOS BENJAMIN GROSS
RIOS SR., JERRY HARDISON, JUSTINA
HARDISON, TERESA HARDISON,
TIFFANY DOTSON, ASHLEY MICHELLE
HARRIS, FELICIA ANN HARRIS,
SORAINYA HARRIS, TENNYSON
CHARLES HARRIS, CHRISTOPHER
WAYNE JOHNSON, DAVID L. PARKER,
MICHAEL RUFUS II, STEPHANIE RUFUS,
ALEX HENIGAN, ADAM MATTHEW
JAYNE, PAUL ELMER JAYNE, G.A.S., by
and through his next friend Kent Alan Skeens,
KENT ALAN SKEENS, SHERRY A.
SKEENS, T.L.S., by and through his next
friend Kent Alan Skeens, Z.R.S., by and
through her next friend Kent Alan Skeens,
BARCLAY KAMALESON, CADE
KAMALESON, CEDRIC PAUL
KAMALESON, NICOLE KAMALESON,
SUNDERRAJ MARK KAMALESON, ABBY
KNAPP-MORRIS, K.K., by and through her
next friend Abby Knapp-Morris, BRANDON
KORONA, BRIAN LAMBKA, JORDAN
LAMBKA, L.A.E.L.B., by and through her
next friend Natasha Buchanan, NATASHA
BUCHANAN, S.L.L.B., by and through her
next friend Natasha Buchanan, DOUGLAS A.
LANDPHAIR, JEAN S. LANDPHAIR,
MEREDITH LANDPHAIR, C. RICHARD
LOONEY, MARTHA LOONEY, MARTIN E.
  Case 1:20-cv-04322-LGS-OTW       Document 1      Filed 06/05/20   Page 3 of 274




MADDEN, PAMELA J. MADDEN, MARTIN
P. MADDEN, LINDSEY R. MALDONADO,
KARYN STONE MARTA, LAWRENCE
MARTA, TAYLOR MARTA, BOB
SURPRENANT, KRISTIE SURPRENANT,
CODY CHEYENNE MAYS, TAMMY
RENEE MAYS, THOMAS PIERCE MAYS,
ALYSON OVERMAN RODGERS,
CHARMAINE RENEE GILBERT, JORDAN
GILBERT, M.M., by and through his next
friend Sonja McDaniel, SONJA MCDANIEL,
JASMINE THOMAS, KATHLEEN
MCEVOY, MICHELLE ROSE MCEVOY,
PATRICK CHARLES MCEVOY, JANICE H.
PROCTOR, LUANN VARNEY, SHANNON
K. MCNULTY, MISTY MARIE BARCLAY,
ALEXANDER LEE MITTLER, CRISTINE
MITTLER, TERRY MITTLER, JOYCE L.
TURNER, GABRIEL NEGRON, JOSE
NEGRON, MARIBEL NEGRON, MARVIN
NEGRON, MARTA TORRES, DERRICK
ANTHONY DAVIS, AMANDA NEWMAN,
DONALD EDWARD NEWMAN SR.,
BRANDON NICHOLS, CYNTHIA
NICHOLS, DOUGLAS NICHOLS, THOMAS
PRIOLO, JESSICA NOVAK CRUZ, SUSAN
NOVAK, CHRISTA L. OSBORN,
CREIGHTON DAVID OSBORN, KADE M.
OSBORN, KATLYN M. OSBORN,
MICHELLE HOCK, RANEE MASSONI,
JORDAN PLUNK, JUSTIN T. PLUNK,
GLENDA WILLARD, BLAINE A.
REDDING, DAVID REED, HEATHER L.
REED, CASSIE MARIE RICHARDSON,
CHRISTOPHER POWERS, H.R., by and
through her next friend Randy Ristau, RANDY
RISTAU, SUZANNE RISTAU, CARLOS
CRUZ, JOEL C. CRUZ, E.N.R., by and
through his next friend Jannett Cecilia Roberts,
MIGUEL ANGEL NATHANIEL ROBERTS,
  Case 1:20-cv-04322-LGS-OTW     Document 1     Filed 06/05/20   Page 4 of 274




JANNETT CECILIA ROBERTS, R.G., by and
through her next friend Leslie Rodriguez,
LESLIE RODRIGUEZ, ANGEL R. ROLDAN,
LIESELOTTE R. ROLDAN, MATTHIAS P.
ROLDAN, SAMANTHA G. ROLDAN,
COLLEEN WHIPPLE, BRANDON TYLER
SCHMIDT, LEEANN SCHMIDT, PHILLIP J.
SCHMIDT, G.S., by and through his next
friend Georganne M. Siercks, G.S., by and
through his next friend Georganne M. Siercks,
GEORGANNE M. SIERCKS, JOAN M.
SMEDINGHOFF, MARK T.
SMEDINGHOFF, MARY BETH
SMEDINGHOFF, REGINA C.
SMEDINGHOFF, THOMAS
SMEDINGHOFF, ADRIAN CARRILLO
SOLTERO, GUSTAVO ALFONSO
SOLTERO SR., MARIA SOLTERO, JAN
MARIE HURNBLAD SPARKS, ERIK
SPARKS, GARRY LEE SPARKS, JANE
SPARKS, ZACHARY DOUGLAS SPARKS,
LISA MARTINUSEN, MARIE SENTINA
MIELKE, ANNETTE SPEHAR, JACOB
LOUIS SPEHAR, LUKE SPEHAR, PATRICK
SPEHAR, MITCHELL L. STAMBAUGH,
GARRETT LAYNE FUNK, ERIN NICOLE
GOSS, TRECIA BROCK HOOD, WENDY
SHEDD, FREDDIE DEWEY SUTTON,
HARRIET SUTTON, SUMMER BREANNE
SUTTON, EVELYN TAYLOR, DIANE
TIMONEY, GREGORY TIMONEY, RYAN
GREGORY TIMONEY, BARRY WELCH,
LORRIA WELCH, ZACKARY WELCH,
BRIAN GREGORY CLYBURN, DAVID
WHIPPLE, KIMBERLEY A. WHIPPLE,
SEAN WHIPPLE, MICHELLE CAROLINA
ROTELLI, MARTHA CAROLINA SMITH,
individually, and for the estate of JAMES T.
WICKLIFF-CHACIN, THOMAS ELMER
WICKLIFF, ABRILL RENEE WILLIAMS-
 Case 1:20-cv-04322-LGS-OTW   Document 1   Filed 06/05/20   Page 5 of 274




OSBOURNE, CLARENCE WILLIAMS JR.,
TALISA SHERVON WILLIAMS,
SAMANTHA SHERVON WILLIAMS,
MICHELLE ZIMMERMAN, BAILY
ZIMMERMAN, CHRIS LEE ZIMMERMAN,

                Plaintiffs,

    v.

HABIB BANK LIMITED,

                Defendant.




  Ryan R. Sparacino                  Tejinder Singh
  (pro hac vice forthcoming)          (SDNY Bar No. TS0613)
  SPARACINO PLLC                     GOLDSTEIN & RUSSELL, P.C.
  1920 L Street, NW, Suite 535       7475 Wisconsin Ave., Suite 850
  Washington, DC 20036               Bethesda, MD 20814
  Tel: 202.629.3530                  Tel: 202.362.0636
  Ryan.sparacino@sparacinopllc.com   Fax: 866.574.2033
                                     tsingh@goldsteinrussell.com
    Case 1:20-cv-04322-LGS-OTW                       Document 1           Filed 06/05/20           Page 6 of 274




                                          TABLE OF CONTENTS

NATURE OF THE ACTION ....................................................................................1
THE PARTIES ...........................................................................................................7
JURISDICTION AND VENUE ................................................................................7
FACTUAL ALLEGATIONS ....................................................................................8
   I.          The al-Qaeda Terror Syndicate ..................................................................9
          A.       Al-Qaeda..............................................................................................10
          B.       Taliban and the Haqqani Network ......................................................12
          C.       Lashkar-e-Taiba...................................................................................30
          D.       Jaish-e-Mohammed .............................................................................42
          E.       The Kabul Attack Network .................................................................50
   II.         Habib Bank Limited (HBL) Knowingly Provided Material and
               Substantial Support to Terrorists and Terrorist Organizations ................53
          A.       HBL Knowingly Provided Material Support to Members of the
                   al-Qaeda Terror Syndicate and Their Agents......................................53
          B.       HBL Acted With the Requisite Scienter for Primary and
                   Secondary Liability .............................................................................80
          C.       HBL’s Assistance to the al-Qaeda Terror Syndicate Was
                   Substantial, and Caused Terrorist Attacks ........................................102
          D.       HBL’s Assistance to the al-Qaeda Terror Syndicate Had a
                   Substantial Nexus to the United States .............................................107
   III.        Al-Qaeda Committed, Planned And Authorized The Terrorist
               Attacks That Injured Plaintiffs ...............................................................117
          A.       Al-Qaeda Led the Syndicate .............................................................118
          B.       Al-Qaeda Authorized and Planned Taliban Terrorist Attacks ..........125
          C.       Al-Qaeda Directly Participated in Taliban Terrorist Attacks ...........145
   IV.         The Plaintiffs ..........................................................................................152
CLAIMS FOR RELIEF .........................................................................................261
PRAYER FOR RELIEF ........................................................................................267

                                                             i
   Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 7 of 274




      Plaintiffs, by their attorneys, allege the following:

                          NATURE OF THE ACTION

      1.     This is an action under the Anti-Terrorism Act (“ATA”) as amended

by the Justice Against Sponsors of Terrorism Act (“JASTA”), 18 U.S.C. § 2333(a)

and (d), brought on behalf of Americans injured and the families of Americans

killed in a series of terrorist attacks in Afghanistan from mid-2010 through early

2019. The attacks were perpetrated by members of a syndicate of terrorist

organizations led by al-Qaeda—referred to in this Complaint as the “al-Qaeda

Terror Syndicate” or the “Syndicate.”

      2.     The attacks were planned, authorized, and committed by al-Qaeda,

typically in conjunction with one or more other members of the Syndicate. These

members include al-Qaeda, which was designated a Foreign Terrorist Organization

(“FTO”) by the U.S. government in 1999; Lashkar-e-Taiba (“LeT” or “LT”), a

Pakistani terrorist organization designated an FTO in 2001; Jaish-e-Mohammed

(“JeM”), a Pakistani organization designated an FTO in 2001, and its alter-ego Al-

Rehmat Trust (“ART”), which was designated an FTO in 2010; the Tehrik-i-

Taliban Pakistan (“Pakistani Taliban”), designated an FTO in 2010; and the

Afghan Taliban (“Taliban”), which includes the Haqqani Network, a part of the

Taliban designated an FTO in 2012. The Syndicate also used joint operational cells

that fused al-Qaeda, Taliban (including the Haqqani Network), and LeT operatives
   Case 1:20-cv-04322-LGS-OTW              Document 1        Filed 06/05/20      Page 8 of 274




in Kabul and the surrounding provinces, which joint cells the Department of

Defense labeled the Kabul Attack Network. 1

       3.      Defendant Habib Bank Limited (“HBL”) provided financial support to

the al-Qaeda Terror Syndicate by providing banking services and payments to

terrorists, terrorist groups, and terrorist fundraisers that were part of or affiliated

with the Syndicate. HBL provided accounts and facilitated essential transactions

that allowed the Syndicate to obtain and move money to terrorists committing

attacks on Americans.

       4.      HBL is the largest commercial bank in Pakistan. It is also a bank of

choice for terrorists and terrorist organizations in the region. As just a few

examples, Hafiz Muhammad Saeed and Zafar Iqbal, the co-founders of LeT, have

accounts at HBL. Both Saeed and Iqbal have been designated Specially Designated

Global Terrorists (“SDGTs”) by the U.S. Office of Foreign Assets Control

(“OFAC”), an office within the U.S. Department of the Treasury that administers

sanctions against terrorists.2 Jalaluddin Haqqani, the founder of the Haqqani



   1
      Providing material support to a designated FTO is a federal felony. It is also a predicate for
civil liability under the ATA.
   2
      An SDGT designation is issued pursuant to Executive Order 13224, which was issued in
response to the September 11, 2001 attacks. It is reserved for individuals and organizations that
OFAC finds have committed or pose a risk of committing acts of terrorism, or who provide
support or otherwise associate with terrorists and terrorist organizations. An SDGT designation
results in a freeze of the designee’s assets in the United States and prohibits U.S. persons from
dealing with the designee.

                                                 2
   Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20    Page 9 of 274




Network, published a magazine listing on its front page an account number at HBL

so that donors could send money to the group. Al Rashid Trust, which was a major

front for al-Qaeda, openly solicited donations to its accounts at HBL. Al-Rehmat

Trust, a front for JeM, likewise used an account at HBL. HBL also facilitated

money laundering for Dawood Ibrahim, an SDGT with ties to al-Qaeda and LeT,

as well as his criminal enterprise, known as D-Company, which engages in drug

trafficking, terrorism, and other crimes. And Osama bin Laden had an account at

HBL, too.

      5.     These are but a few examples. In fact, HBL structured its business to

be welcoming to terrorists. Most strikingly, HBL maintained a “good guy” list,

which was a list of account holders whose transactions could be processed with

little or no scrutiny. For a customer to make it onto this list, HBL had to

affirmatively determine that the customer’s transactions posed a very low risk of

illicit activity. But on that list were at least 154 entries corresponding to identical

entries on OFAC’s Specially Designated Nationals and Blocked Persons (“SDN”)

list. SDNs are people and companies whose assets are blocked, and who U.S.

persons are generally prohibited to deal with because of their links to terrorism or

crime. The vast majority of SDNs based in Pakistan are blocked for terrorism-

related reasons. In other words, they are people and entities that the United States

government regards as the bad guys—yet HBL went out of its way to clear the path

                                            3
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20   Page 10 of 274




for their transactions. HBL’s improper use of its “good guy” list resulted in over

$250 million of transactions being cleared through HBL’s New York branch office

without any meaningful scrutiny.

      6.     Even when HBL did not forgo screening altogether, it implemented

practices that made it easy for terrorists to move money. For example, HBL

permitted customers to make wire transfers with incomplete SWIFT messages that

omitted key information about either the sender or the beneficiary of the

transaction, effectively allowing money to move around in the dark. In some cases,

HBL engaged in “wire stripping,” removing such information at a customer’s

request to conceal the source or destination of the funds.

      7.     HBL is also the unofficial bank of the Pakistani Inter-Services

Intelligence (“ISI”), a rogue intelligence agency that uses the bank to funnel money

to terrorist groups in violation of Pakistani law and policy. Among others, the ISI

supports LeT and the Taliban (including the Haqqani Network) because it

perceives these terrorists as a counterweight to Indian and American influence in

the region. Thus, the ISI has provided direct support to terrorists, including

resources for attacks that killed Americans. HBL assists those efforts by providing

financial services and facilitating funds transfers to the ISI’s favored terrorist

groups.




                                           4
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20    Page 11 of 274




      8.     HBL’s shocking misconduct is a matter of public record. Starting in

2006, U.S. banking regulators, including the New York Department of Financial

Services (“NYDFS”) and the Federal Reserve, determined that HBL presented

significant risks in connection with customer due diligence and internal controls.

HBL promised to implement better procedures—but broke that promise and failed

to do so. Consequently, in 2015, the regulators entered a consent order with HBL

requiring it to take additional actions. But again, HBL did not comply. Thus, in

2017, NYDFS filed charges against HBL, specifically describing how HBL

facilitated terror financing. In response, HBL agreed to pay $225 million, surrender

its license to operate in New York, and close its New York branch.

      9.     While not all of HBL’s misconduct relates directly to the terrorist

organizations that committed the attacks at issue in this case (because HBL also

went out of its way to help other terrorists and criminals), a substantial portion of it

does. It is apparent that HBL was a bank of choice for sophisticated terrorists in the

region, and the members of the al-Qaeda Terror Syndicate fit that description

precisely. Given the documented instances of HBL opening accounts for senior

terrorists in al-Qaeda, LeT, JeM, and the Haqqani Network, it is a certainty that

HBL provided significant resources and support to the terrorist organizations that

injured Plaintiffs, before and while those injuries were occurring.




                                           5
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20   Page 12 of 274




      10.    HBL’s repeated and flagrant misconduct supports the allegation that

the bank funded terrorism either knowingly or with deliberate indifference to the

consequences of its actions. By the numbers, HBL decided to treat more than 150

bad guys as “good guys.” It cleared thousands upon thousands of suspect

transactions, either by exempting them from scrutiny altogether or dismissing red

flags that arose in connection with those transactions. Those transactions were for

millions of dollars (at least). And it did all of this in violation of U.S. banking and

terrorism laws, Pakistani banking and terrorism laws, and United Nations

requirements. Indeed, HBL flagrantly violated the law even while U.S. regulators

were watching the bank closely. And it did so even though its own policies require

it to know its customers and perform close diligence on risky customers.

      11.    By knowingly providing funds and financial services to terrorist

organizations that authorized, planned, or committed the attacks in this case, HBL

violated the ATA’s primary and secondary liability provisions. Congress sought to

combat terrorism by creating civil liability for anybody who provides—directly or

indirectly—material support to violent terrorists and terrorist organizations that kill

Americans. The legislature was especially concerned with stopping the flow of

funds to terror groups, which need financial conduits and infrastructure to carry out

violent attacks. HBL violated the law by knowingly supplying these very conduits




                                           6
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20    Page 13 of 274




and infrastructure. Accordingly, HBL is liable to the victims of the attacks and

their families.

                                    THE PARTIES

       12.    Plaintiffs are 237 individuals, comprising American nationals injured

and the family members of American nationals killed in attacks planned,

authorized, and/or committed by FTO members of the al-Qaeda Terror Syndicate

in Afghanistan. Plaintiffs were injured, or their loved ones killed, in a number of

terrorist attacks detailed in Part III, infra. The Plaintiffs are listed in Part IV, infra.

       13.    Defendant is Habib Bank Limited, headquartered in Karachi,

Pakistan. At all times relevant to the events in this case, and at least until March

2020, HBL had a branch in New York City.

                           JURISDICTION AND VENUE

       14.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331, 18 U.S.C. § 2333(a) and (d), and 18 U.S.C. § 2338, as a civil

action brought by nationals of the United States who have been injured by reason

of acts of international terrorism, and/or their estates, survivors, or heirs.

       15.    Venue is proper pursuant to 28 U.S.C. § 1391.

       16.    HBL is subject to personal jurisdiction pursuant to 18 U.S.C.

§ 2334(a), N.Y. C.P.L.R. § 302, and Fed. R. Civ. P. 4(k). That is because, as

explained infra ¶¶ 259-289, HBL purposefully availed itself of U.S. jurisdiction to


                                             7
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20    Page 14 of 274




commit its tortious acts, and its conduct had a substantial nexus to the United

States, including significant activities at HBL’s New York Branch.

      17.    Moreover, HBL entered the United States voluntarily, maintained a

branch here for decades, and has claimed the benefit of U.S. law by initiating

litigation in New York State. Thus, HBL should be charged with knowledge of

United States law, including the Congressional finding, incorporated in Section

2(a)(6) of JASTA, that companies that “contribute material support or resources,

directly or indirectly, to persons or organizations that pose a significant risk of

committing acts of terrorism” should “reasonably anticipate being brought to court

in the United States to answer for such activities.”

      18.    Jurisdiction in this venue is also appropriate because jurisdiction

exists as to HBL’s terrorist customers discussed herein, who purposefully directed

their conduct at the United States by targeting Americans and American foreign

policy. HBL conspired with these customers to facilitate the maintenance of

accounts and transfers of funds that supported these terrorist attacks. See infra

¶¶ 290-293, 1025-1031.

                           FACTUAL ALLEGATIONS

      19.    The allegations in this Complaint are based on information and belief

after consulting authoritative sources about the events described herein, including




                                           8
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20     Page 15 of 274




mainstream news publications, reports by knowledgeable experts, government

sources, and confidential informants.

        20.     The ensuing Parts describe (1) the terrorist organizations in the

al-Qaeda Terror Syndicate that perpetrated the attacks that injured Plaintiffs and/or

killed their family members; (2) HBL’s knowing provision of material support to

these organizations; (3) the ensuing terrorist attacks; and (4) the Plaintiffs.

   I.         The al-Qaeda Terror Syndicate

        21.     Since the U.S.-led overthrow of the Taliban-controlled government in

Afghanistan in 2001, terrorists have repeatedly attacked American service

members and civilians there. While the terrorist groups in question have different

names and distinct identities, they have also shared resources, personnel, and

operational plans. Given such coordination, the consensus view of the U.S.

government at the time was that America was threatened by the resulting terrorist

superstructure a “syndicate,” composed of al-Qaeda, the Taliban, LeT, and other

allied terrorist groups. 3




   3
     Bruce Riedel, Deadly Embrace: Pakistan, America, and the Future of the Global Jihad 1
(2011).

                                             9
  Case 1:20-cv-04322-LGS-OTW          Document 1     Filed 06/05/20    Page 16 of 274




       22.   Indeed, the existence of a terrorist syndicate was contemplated by

Osama bin Laden himself, who conceived of al-Qaeda as the leader of a broad

coalition of terrorists across Pakistan and Afghanistan. 4

       23.   The al-Qaeda Terror Syndicate used indiscriminate violence against

American service members and civilians alike to achieve political ends. The

Syndicate’s primary goal was to affect U.S. foreign policy and expel coalition

personnel from Afghanistan. Syndicate members also used violence and

intimidation to further their longstanding domestic political agenda of imposing a

severe form of Islamic law throughout Pakistan and Afghanistan.

       24.   None of the members of the al-Qaeda Terror Syndicate adhered to the

Geneva Conventions or the law of war. They refused to wear uniforms or

otherwise distinguish themselves from civilians; they intentionally slaughtered

civilians; and they used indiscriminate weapons.

       A. Al-Qaeda

       25.   Osama bin Laden formed al-Qaeda in the late 1980s in Afghanistan in

response to the Soviet occupation of Afghanistan. For decades, al-Qaeda has been

a Sunni Islamic terrorist organization intent on destroying the United States.




   4
     See Bill Roggio & Thomas Joscelyn, The al Qaeda – Taliban Connection, Wash. Exam’r
(July 4, 2011).

                                           10
  Case 1:20-cv-04322-LGS-OTW              Document 1      Filed 06/05/20     Page 17 of 274




         26.    Following the Soviet withdrawal from Afghanistan, Osama bin Laden

began to transform al-Qaeda into a global terrorist group with the capability of

launching attacks around the world.

         27.    Bin Laden declared war on the United States in a published fatwa

(religious decree) in 1996.5 In 1998, he declared a global jihad calling on all

Muslims to kill Americans at any opportunity. 6

         28.    On August 7, 1998, al-Qaeda suicide bombers in explosives-laden

trucks attacked the U.S. embassies in Kenya and Tanzania, killing more than 200

people and wounding more than 5,000 others.

         29.    As a result of these and other terrorist attacks, the U.S. State

Department designated al-Qaeda as an FTO on October 8, 1999. 7 It remains

designated as such to this day.




   5
    Anne Stenersen, Al-Qaida in Afghanistan 62-63 (2017); Counter Extremism Project,
Osama bin Laden (last visited June 4, 2020), https://www.counterextremism.com/extremists/
osama-bin-laden; National Commission on Terrorist Attacks Upon the United States, The 9/11
Commission Report, at 48 (2004) (hereinafter “9/11 Commission Report”).
   6
       9/11 Commission Report at 47; Stenersen, Al-Qaida in Afghanistan, supra note 5, at 71.
   7
     U.S. Dep’t of State, Foreign Terrorist Organization, Designations by the Secretary of State,
(Oct. 8, 1999), https://2001-2009.state.gov/s/ct/rls/rpt/fto/2682.htm.

                                                11
  Case 1:20-cv-04322-LGS-OTW               Document 1       Filed 06/05/20     Page 18 of 274




         30.     On September 11, 2001, al-Qaeda attacked the World Trade Center in

New York and the Pentagon, killing thousands. 8 A third attack, possibly aimed at

the White House, was thwarted by passengers aboard United Flight 93. 9

         31.     The United States demanded that the Taliban turn over bin Laden, and

the Taliban refused. A U.S.-led coalition invaded Afghanistan in October, and bin

Laden and Taliban leaders eventually fled to Pakistan. 10 Thereafter, bin Laden and

his Syndicate allies reconstituted their efforts to one of a joint jihad against

Americans in support of the Taliban’s efforts in Afghanistan.

         B. Taliban and the Haqqani Network

         32.     The Taliban is a Sunni Islamic terrorist organization composed

originally of former mujahideen fighters who had expelled the Soviet Union from

Afghanistan. In July 2002, President George W. Bush amended Executive Order

13224 to designate the Taliban and its leader Mohammed Omar as Specially

Designated Global Terrorists. 11 In doing so, President Bush terminated President

Clinton’s Executive Order 13129, which had observed that the Taliban had “de

facto control over the territory of Afghanistan,” 12 finding instead that the situation



   8
       9/11 Commission Report at 285-311.
   9
       Id. at 10-14.
   10
        Id. at 332-334; Stenersen, Al-Qaida in Afghanistan, supra note 5, at 177.
   11
        See Exec. Order No. 13,268, 67 Fed. Reg. 44,751 (July 3, 2002).
   12
        Exec. Order No. 13,129, 64 Fed. Reg. 36,759, 36,760 (July 7, 1999).

                                                 12
  Case 1:20-cv-04322-LGS-OTW              Document 1      Filed 06/05/20   Page 19 of 274




“has been significantly altered given the success of the military campaign in

Afghanistan.”13 President Bush found that the Taliban’s designation was necessary

to guard against “grave acts of terrorism and threats of terrorism committed by

foreign terrorists.”14

         33.    Even before that designation, which followed the September 11

attacks and the beginning of Operation Enduring Freedom, the U.S. government

considered the Taliban a terrorist group and never recognized it as the government

of Afghanistan. Pakistan, Saudi Arabia, and the United Arab Emirates alone

recognized the Taliban as the government following its capture of Kabul in 1996;

no other country followed suit.

         34.    Following its capture of Kabul, the Taliban continued to focus on

terrorism and imposing strict Sharia law, rather than rebuilding the country. As the

Assistant Secretary of State for South Asian Affairs Christina Rocca testified, the

Taliban demonstrated “no desire to provide even the most rudimentary health,

education, or other social services expected of any government. Instead, they have




   13
        Exec. Order No. 13,268, 67 Fed. Reg. 44,751 (July 3, 2002).
   14
        Id.

                                                13
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20     Page 20 of 274




chosen to devote their resources to waging war on the Afghan people, and

exporting instability to their neighbors.”15

        35.    After 1996, the government of President Rabbani retained

Afghanistan’s seat at the United Nations, despite repeated attempts by the Taliban

to gain U.N. recognition. The United States opposed the Taliban’s attempts to gain

recognition from the United Nations.

        36.    Within weeks of the September 11 attacks, the United Arab Emirates

and Saudi Arabia severed diplomatic relations with the Taliban. Shortly thereafter,

the U.S. military launched Operation Enduring Freedom and quickly expelled the

Taliban from much of Afghanistan. By November 2001, Pakistan withdrew its

diplomatic recognition of the Taliban, leaving the Taliban with no international

recognition.

        37.    Around the same time, in November 2001, the United Nations met in

Bonn, Germany to discuss the future of Afghanistan. The Bonn Conference

included delegates from multiple Afghan groups, but not the Taliban. The

delegates agreed to an interim government led by Hamid Karzai and called for

international peacekeepers to provide security.




   15
       Afghanistan’s Humanitarian Crisis: Is Enough Aid Reaching Afghanistan?: Hr’g Before S.
Comm. On Foreign Relations, Subcomm. On Near East & South Asian Affairs, S. Hr’g 107-235,
at 18 (Oct. 10, 2001) (statement of Christina Rocca, Asst. Sec’y, South Asia, Dep’t of State).

                                             14
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20   Page 21 of 274




         38.    The United States recognized the interim government in Afghanistan

on December 22, 2001. It re-opened the American Embassy in Kabul on January

17, 2002.

         39.    Hamid Karzai was elected President of the Afghan Transitional

Administration in June 2002 by the loya jirga, a traditional Afghan assembly of

tribal leaders, which did not include any members of the Taliban. President Karzai

addressed the U.N. General Assembly as the President of Afghanistan in

September 2002. In December 2002, the U.N. Security Council recognized “the

Transitional Administration as the sole legitimate Government of Afghanistan,

pending democratic elections in 2004” and reaffirmed its “commitment to assist

the Transitional Administration in its efforts to ensure security, prosperity,

tolerance and respect for human rights for all people of Afghanistan, and to combat

terrorism, extremism and narco-trafficking.” 16

         40.    In May 2003, the United States declared an end to major combat

operations in Afghanistan, with Secretary of Defense Donald Rumsfeld marking

the beginning of “a period of stability and stabilization and reconstruction

activities.”17 NATO assumed command of the ISAF in August, and in October the




   16
        U.N. Security Council Resolution 1453 (Dec. 24, 2002).
   17
        Rumsfeld: Major Combat Over in Afghanistan, CNN (May 1, 2003).

                                               15
  Case 1:20-cv-04322-LGS-OTW              Document 1       Filed 06/05/20   Page 22 of 274




U.N. Security Council expanded the ISAF’s mandate to allow it “to support the

Afghan Transitional Authority and its successors in the maintenance of security.”18

         41.    A special constitutional loya jirga approved a new Constitution for the

new Islamic Republic of Afghanistan on January 4, 2004. The Taliban did not

participate. Under the new Constitution, in October 2004, the Afghan people

elected President Karzai to a five-year term as president. The Taliban threatened to

disrupt that election by attacking polling places.

         42.    The U.S. military and ISAF continued to operate in Afghanistan at the

invitation of the Afghan government. On May 23, 2005, President Bush and

President Karzai issued a Joint Declaration of the United States-Afghanistan

Strategic Partnership in order to strengthen “Afghanistan’s long-term security,

democracy and prosperity,” which provided for continued U.S. military operations

in Afghanistan. 19 In September 2005, the Minister for Foreign Affairs of

Afghanistan told the United Nations that Afghanistan “welcome[d] the prospect of

ISAF continuing to operate in Afghanistan until our Security Forces are fully able




   18
        U.N. Security Council Resolution 1510, ¶ 1 (Oct. 13, 2003).
   19
     Joint Declaration of the United States-Afghanistan Strategic Partnership, 1 Pub. Papers 853
(May 23, 2005).

                                                16
  Case 1:20-cv-04322-LGS-OTW              Document 1      Filed 06/05/20     Page 23 of 274




to provide security to our nation.” 20 The U.N. Security Council reauthorized the

ISAF later that month. 21

         43.    On December 26, 2007, Congress enacted a law declaring that, for

purposes of “section 212(a)(3)(B) of the Immigration and Nationality Act, . . . the

Taliban shall be considered to be a terrorist organization.” 22 As a State Department

official explained, the U.S. government treats the Taliban “as a Foreign Terrorist

Organization for immigration purposes.”23

         44.    At all relevant times, the U.S. government viewed the Taliban as a

terrorist group, not as the legitimate armed force of any nation.

         45.    Although the Taliban had local chapters throughout Afghanistan, it

operated as a top-down hierarchy through which the Quetta Shura (the seat of

Taliban political power) and the Peshawar Shura (the seat of its so-called

“military” power) exerted command and control over rank-and-file Taliban

fighters. The degree of control exerted by Taliban leadership is also evident in the




   20
     Letter from Secretary-General to the President of the Security Council, U.N. Doc.
S/2005/574, at 2 (Sept. 12, 2005).
   21
        U.N. Security Council Resolution 1623 (Sep. 13, 2005)
   22
        Consolidated Appropriations Act of 2007, § 691(d), Pub. L. No. 110-161, 121 Stat. 1844,
2365.
   23
    U.S. Dep’t of State, Senior Administration Officials on the Terrorist Designation of the
Haqqani Network (Sept. 7, 2012).

                                                17
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20     Page 24 of 274




results of the February 2020 U.S.-Taliban agreement.24 Since that agreement,

entered into by Taliban leadership, Taliban rank-and-file fighters throughout the

country have complied with leadership’s directive to desist from all large-scale

attacks on U.S. forces.

         46.    The Taliban’s principal goal has long been to expel Americans from

the country and undermine the democratically elected government of Afghanistan.

To that end, the Taliban began ramping up attacks on U.S. forces during the mid-

2000s. The Taliban also began to use new attack types during this timeframe,

including suicide bombings. For example, the Taliban committed six suicide

bombings in Afghanistan in 2004, and 141 in 2006. Remotely detonated bombings

also more than doubled between 2005 and 2006.

         47.    In 2008 and 2009, the growing Taliban-led insurgency attacked U.S.

forces throughout Afghanistan, with a particular emphasis on the southern

provinces, especially Helmand and Kandahar. In 2009, responding to the Taliban’s

growing threat, U.S. Marines launched counterinsurgency operations focused on

“restoring government services, bolstering local police forces, and protecting

civilians from Taliban incursion.”25 The Taliban, in turn, responded with escalating



   24
      Agreement For Bringing Peace To Afghanistan Between The Islamic Emirate Of
Afghanistan which is not recognized by the United States as a state and is known as the Taliban
and the United States of America (Feb. 29, 2020).
   25
        Council on Foreign Relations, Timeline: The U.S. War in Afghanistan: 1999 – 2020.

                                               18
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 25 of 274




violence. By 2010, the Taliban’s power and influence was growing, and it had

regained much of the territory it had lost after September 11.

      48.    The Taliban often attacked American military forces, contractors, and

Afghan forces. But it also targeted civilian aid workers and non-governmental

organizations. In recent years, the Taliban has increased attacks on civilians by

placing explosives in public locations and using suicide bombers. It routinely used

improvised explosive devices that included passive detonation devices that would

be triggered by any nearby movement (including by civilians). It has also used

civilians to attract Coalition forces before detonating a bomb, frequently killing

more civilians than Coalition forces. In doing so, the Taliban would have violated

the laws of war if it was subject to them, and did not comply with the Geneva

Conventions. It neither wore uniforms nor otherwise distinguished its fighters from

civilians. It conscripted children into committing attacks. The Taliban also

regularly targeted teachers, children, doctors, and clerics. And it engaged in

widespread kidnapping and torture in an effort to intimidate its enemies.

      49.    In addition, the Taliban summarily executed Afghan civilians without

a trial if they were suspected of aiding the Coalition. According to a Taliban fatwa

(an authoritative religious decree), “[d]uring the attack by America, if any

Muslim—regardless of whether they are Afghan or non-Afghan—cooperates with




                                         19
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20    Page 26 of 274




the infidels, or if he helps and spies for them, then that person will be just like the

foreign invaders and killing him becomes mandatory.”26

        50.   The Taliban carried out the terrorist attacks that killed or injured the

Plaintiffs in this case. To effectuate those attacks, it employed a number of

different terrorist tactics. Most prominently, the Taliban relied heavily on IEDs,

including Explosively Formed Penetrators (“EFPs”), designed to destroy American

armored vehicles and inflict heavy casualties. Many Plaintiffs, or their family

members, were killed or injured by a Taliban-planted IED or EFP.

        51.   The Taliban also has attacked U.S. forces and U.S. government

contractors using suicide bombers with increased frequency. Many Plaintiffs, or

their family members, were killed or injured in Taliban suicide-bomber attacks.

For example, Army SGT Andrew R. Looney, whose family members are Plaintiffs,

was killed on June 21, 2010, when a Taliban suicide bomber detonated her bomb at

a checkpoint SGT Looney was manning. See infra ¶¶ 648-655.

        52.   The Taliban (often through the Haqqani Network), also employed

insider attacks carried out by members of the Afghan Army. According to an

August 2012 statement by Mullah Omar, Taliban terrorists “cleverly infiltrated in




   26
      Alex Strick Van Linschoten & Felix Kuehn, Resolution and Fatwa of a Big Gathering of
Clerics in The Taliban Reader: War, Islam and Politics (2018).

                                            20
  Case 1:20-cv-04322-LGS-OTW              Document 1       Filed 06/05/20     Page 27 of 274




the ranks of the enemy according to the plan given to them last year.” 27 He

similarly encouraged Afghan officers to “defect and join the Taliban.”28 These

attacks took place in all areas of Afghanistan, and the Taliban regularly claimed

responsibility for them.29 Many Plaintiffs in this case, or their family members,

were killed or injured in Taliban-insider attacks. For example, Army SGT Nicholas

J. Aleman, whose family members are Plaintiffs, was killed in a suicide bombing

insider attack. See infra ¶¶ 361-368.

         53.    The Haqqani Network is a Sunni Islamic terrorist organization that

has been operating in Afghanistan since the 1970s. It was founded by Jalaluddin

Haqqani and is now led by his son, Sirajuddin Haqqani. The Haqqani Network is

part of the Taliban and is closely allied and interdependent with al-Qaeda.

         54.    On September 19, 2012, the U.S. State Department designated the

Haqqani Network as an FTO.30

         55.    The United States previously designated multiple Haqqani leaders as

SDGTs. On February 29, 2008, the U.S. State Department designated Sirajuddin

Haqqani for “acts of terrorism that threaten the security of U.S. nationals or the


   27
     Bill Roggio, Mullah Omar Addresses Green-on-Blue Attacks, Long War J. (Aug. 20,
2012).
   28
        Id.
   29
     See Bill Roggio, 2 More ISAF Troops Wounded In Latest Green-On-Blue Attack, Long
War J. (Aug. 13, 2012).
   30
        U.S. Dep’t of State, Country Reports on Terrorism 2017, at 294 (Sept. 2018).

                                                21
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20     Page 28 of 274




national security, foreign policy, or economy of the United States.”31 In 2010 and

2011, the U.S. Treasury Department designated three other members of the

Haqqani family—Nasiruddin, Khalil Al-Rahman, and Badruddin—as fundraisers

and commanders of the Haqqani Network. By February 2014, the U.S. State

Department and the U.S. Treasury Department had designated fourteen leaders in

the Haqqani Network under Executive Order 13224.

        56.   The Haqqani Network began supplying weapons to the Taliban in the

mid-1990s, when the Taliban was in its infancy. It has operated as part of the

Taliban since approximately 1995, when its founder Jalaluddin Haqqani swore

allegiance to the Taliban. Jalaluddin Haqqani was the Minister of Tribal Affairs for

the Taliban until the U.S. invasion.

        57.   The Haqqani Network was especially active in the southeastern parts

of Afghanistan, particularly in the Paktia, Paktika, and Khost (“P2K”) Provinces. It

also developed a significant presence in the surrounding Provinces of Kabul,

Logar, Wardak, Ghazni, and Zabul. Because of the Haqqani Network’s

longstanding tribal connections to the southeastern region of Afghanistan, the

Taliban often acts through the Haqqani Network in those areas. Sirajuddin Haqqani



   31
      Public Notice, In the Matter of the Designation of Sirajuddin Haqqani, aka Sirajuddin
Haqani, aka Siraj Haqqani, aka Siraj Haqani, aka Saraj Haqqani, aka Saraj Haqani, as a
Specially Designated Global Terrorist Pursuant to Section 1(b) of Executive Order 13224, as
Amended, 73 Fed. Reg. 12,499 (Mar. 7, 2008).

                                             22
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20    Page 29 of 274




explained in 2010 that the Haqqani Network is “assigned by the Islamic Emirate in

the southeastern front of Afghanistan (Paktia, Khost, Paktika) and we have

mujahideen members who are carrying out jihad in the north (provinces in northern

Afghanistan) and in the south (provinces in southern Afghanistan), and they are

operating under the Amirs of the provinces they are under.” 32

        58.   The Taliban’s terrorist commanders and shadow governors in the P2K

area are often members of the Haqqani Network. As the U.S. State Department

explained when it announced the designation of Mullah Sangeen Zadran as a

Specially Designated Global Terrorist, Sangeen Zadran served as the “Shadow

Governor for Paktika province, Afghanistan and a commander of the Haqqani

Network, a Taliban-affiliated group.”33 Similarly, Abdul Aziz Abbasin is a “key

commander in the Haqqani Network” who simultaneously functions as the broader

Taliban organization’s shadow governor for the Orgun District in Paktika

Province.34

        59.   The Haqqani’s influence is not limited to the southeastern provinces.

There is also significant overlap between the broader leadership of the Taliban and



   32
    Bill Roggio, Taliban Cooperation With al Qaeda ‘Is At The Highest Limits’ – Siraj
Haqqani, Long War J. (Apr. 15, 2010).
   33
     Press Release, U.S. Dep’t of State, Designation of Haqqani Network Commander Sangeen
Zadran (Aug. 16, 2011).
   34
     Bill Roggio, US Adds 5 al Qaeda, Taliban, Haqqani Network, And IMU Facilitators To
Terrorist List, Long War J. (Sept. 29, 2011).

                                             23
  Case 1:20-cv-04322-LGS-OTW              Document 1       Filed 06/05/20     Page 30 of 274




the Haqqani Network. Sirajuddin Haqqani (Jalaluddin’s son and successor) has

been a member of the Taliban’s governing council since at least 2010. Since 2015,

he has been the Deputy Emir of the Taliban, which is the second in command in

the Taliban’s leadership.

         60.    In particular, the Haqqani Network has overseen the Taliban’s

terrorist attacks on U.S. and Coalition forces in Afghanistan. After September 11,

Jalaluddin Haqqani effectively served as the Taliban’s secretary of terrorism and

planned many of the Taliban’s attacks on U.S. forces in the early days following

the overthrow of the Taliban government. In October 2001, a purported Jihadist

publication (as published online) described Jalaluddin as the “chief of the Taliban

army.”35 Indeed, in an interview with Sirajuddin published by Gulf News UAE, the

interviewer identified Jalaluddin as “the commander-in-chief of the Taliban’s

southern military command”—akin to the Taliban combat chief—“[and] Mullah

Omar’s top military strategist and commander.”36 As for his son, Sirajuddin is now

Deputy Emir of the Taliban and oversees its terrorist operations throughout the

country.




   35
        Karachi Jasarat, Chief of Taliban Army Contacts Jamaat-i-Islami Chief (Oct. 11, 2001).
   36
     Aslam Khan, Taliban Leader Warns of Long Guerilla War, Gulf News UAE (Oct. 20,
2001).

                                                24
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20    Page 31 of 274




         61.   Similarly, according to Brigadier General Charles H. Cleveland, the

chief spokesman for U.S. and NATO forces in Afghanistan, as of 2016 Sirajuddin

Haqqani “increasingly runs the day-to-day military operations for the Taliban, and,

we believe, is likely involved in appointing shadow governors.”37

         62.   In 2016, the New York Times reported that, according to a senior

Taliban commander in southern Afghanistan, Sirajuddin Haqqani was in “constant

contact” with Taliban field commanders throughout Afghanistan, including outside

the Haqqani Network’s area of particular influence in the southeast. 38 According to

the commander, all field commanders had to contact Sirajuddin Haqqani for

permission before launching a terrorist offensive.

         63.   The Haqqani Network also influenced Taliban decisions about which

types of attacks to employ. The Haqqani Network was the first to use suicide

bombings in Afghanistan, an innovation that al-Qaeda taught it. The Haqqani

Network also was involved in the rising number of Taliban-insider attacks—which

strategically undermined relations between U.S. and Afghan forces. By 2007,

Army Lieutenant Colonel Dave Anders, the director of operations for Combined

Joint Task Force-82, explained that “Siraj[uddin Haqqani] is the one dictating the




   37
     Mujib Mashal, Haqqanis Steering Deadlier Taliban In Afghanistan, Officials Say, N.Y.
Times (May 7, 2016).
   38
        Id.

                                            25
  Case 1:20-cv-04322-LGS-OTW             Document 1      Filed 06/05/20    Page 32 of 274




new parameters of brutality associated with Taliban senior leadership” employing

“[k]idnappings, assassinations, beheading women, indiscriminate killings and

suicide bombers.” 39

         64.    The Haqqani Network’s influence within the broader Taliban

organization is not limited to planning and authorizing attacks. Even outside of the

Haqqani’s traditional stronghold, its members often commit attacks alongside other

Taliban terrorists. For example, in early 2009 the Haqqani Network was operating

in the southern provinces of Helmand and Kandahar. A spokesman for the Taliban

reportedly confirmed that the Haqqani Network was operating in “Kandahar as

well as nearby Helmand province to provide training, support—particularly in

bomb-making—and to carry out attacks.” 40

         65.    In 2013, “[a] combined force in . . . Kandahar . . . arrested a Haqqani

network facilitator who managed supply routes from [Kandahar City] to other

provinces” and was “also . . . believed to have been instrumental in the acquisition

and distribution of lethal aid to Haqqani fighters for attacks against Afghan and

coalition forces.” 41 And a successful 2017 Taliban attack in Kandahar against the




   39
        Bill Roggio, Targeting Taliban Commander Siraj Haqqani, Long War J. (Oct. 20, 2007).
   40
        Murray Brewster, Fanatical Taliban Wing Moves Into Kandahar, Star (Feb. 8, 2009).
   41
      U.S. Dep’t of Defense, Afghan, Coalition Forces Kill Insurgents in Logar Province (Feb.
20, 2013).

                                              26
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20     Page 33 of 274




United Arab Emirates ambassador to Afghanistan was attributed to the Haqqani

Network.

        66.   Both Sirajuddin and Jalaluddin Haqqani have confirmed that the

Haqqani Network operates as part of the Taliban. 42 The Taliban, for its part, has

rejected claims that the Haqqani Network is a separate entity from the Taliban. 43

        67.   The Haqqani Network also has significant links to al-Qaeda, dating

back to the 1980s when Osama bin Laden established a training camp for his

nascent terrorist group in Haqqani-controlled territory. After September 11, the

Haqqanis provided sanctuary to bin Laden after he fled Afghanistan; Jalaluddin

Haqqani himself announced that the Taliban would “retreat to the mountains and

begin a long guerrilla war to reclaim our pure land from infidels” and stated that

“Osama bin Laden . . . [is] safe and sound and carrying out [his] duties.”44

        68.   The Haqqani Network’s close relationship with other terrorist groups

has helped to develop the modern terrorist syndicate operating in Afghanistan. In

furtherance of that goal, the Haqqani Network provides protection to al-Qaeda so

that it can launch attacks in Afghanistan and plan acts of international terrorism



   42
      See Bill Roggio, US Military Searches For Kabul Attack Network Members, Long War J.
(Apr. 27, 2016).
   43
     See Bill Roggio, Taliban Call Haqqani Network A ‘Conjured Entity’, Long War J. (Sept. 9,
2012).
   44
     Aslam Khan, Taliban Leader Warns Of Long Guerilla War, Gulf News UAE (Oct. 21,
2001).

                                             27
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20    Page 34 of 274




abroad. Senior Haqqani Network officials also have publicly indicated that the

Haqqani Network and al-Qaeda are one.45 And in July 2008, Jalaluddin Haqqani’s

son—18 year old Muhamman Omar Haqqani—was killed alongside a top al-Qaeda

commander in southeast Afghanistan. The Haqqani Network also maintains

training camps and safe houses that have been used by al-Qaeda and Taliban

operatives.

         69.    More recently, Sirajuddin Haqqani has welcomed al-Qaeda members

to join and fight with the Haqqani Network and the rest of the Taliban. 46 According

to U.S. intelligence officers, Sirajuddin Haqqani acts as a member of al-Qaeda’s

military council.47 U.S. officials have described him as al-Qaeda’s top facilitator in

Afghanistan. 48 And when the U.S. Treasury Department designated Sirajuddin

Haqqani’s uncle Khalil Al-Rahman Haqqani as an SDGT, it noted that he “has also

acted on behalf of al-Qa’ida and has been linked to al-Qa’ida military




   45
        See Bill Roggio, An Interview With Mullah Sangeen, Long War J. (Sept. 17, 2009).
   46
        Roggio, Taliban Cooperation, supra note 32.
   47
        Id.
   48
     Hindustan Times, Al Qaeda Very Active In Afghanistan, Preparing for Attacks (Apr. 14,
2016) (“The Taliban’s current deputy commander, Siraj Haqqani, is head of the Haqqani
Network and al Qaeda’s top facilitator in Afghanistan, according to US officials.”).

                                               28
  Case 1:20-cv-04322-LGS-OTW           Document 1       Filed 06/05/20    Page 35 of 274




operations.”49 The U.S. Treasury Department likewise has repeatedly recognized

links between Haqqani Network leaders and al-Qaeda.50

        70.   The Haqqani Network is often considered the most radical part of the

Taliban. Like the Taliban, it relies on terrorist attacks—including suicide

bombings, IED and EFP attacks, insider attacks, and complex attacks—rather than

open combat. 51 The Haqqani Network routinely would violate the laws of war if it

were subject to them, and it does not comply with the Geneva Conventions.

        71.   Many Plaintiffs, or their family members, were killed or injured in

attacks by the Haqqani Network. For example, the Haqqani Network conducted the

Taliban’s terrorist attacks in the P2K area of Afghanistan, including the May 6,

2012 IED attack that severely injured Plaintiff Army CPL Jonathan Cleary. See

infra ¶¶ 461-466.

        72.   The Haqqani Network also committed many high profile kidnappings.

For example, on August 7, 2016, the Haqqani Network kidnapped Professor Kevin

King, a Plaintiff in this case, at gunpoint just outside the gates of American

University of Afghanistan. It held him hostage under inhuman conditions for over



   49
     Press Release, U.S. Dep’t of Treasury, Treasury Targets the Financial and Support
Networks of Al Qa’ida and the Taliban, Haqqani Network Leadership (Feb. 9, 2011).
   50
    See, e.g., Press Release, U.S. Dep’t of Treasury, Treasury Department Targets Key
Haqqani Network Leaders (Feb. 5, 2014).
   51
      Bill Roggio, Haqqani Network Promotes Suicide, IED Attacks, and Ambushes In ‘Caravan
of Heroes’, Long War J. (Apr. 10, 2015).

                                             29
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20     Page 36 of 274




three years before finally releasing him as part of a prisoner exchange. See infra

¶¶ 355-360.

        73.   HBL has longstanding ties to the Haqqani Network. For example,

going as far back as the 1990s, Jalaluddin Haqqani advertised an HBL account as a

destination for donations to the organization in his magazine.52

        C. Lashkar-e-Taiba

        74.   “The staying power of al-Qaeda became rooted in its ability to draw

from and coordinate with allied groups embedded in multiple networks on both

sides of the border. Its key affiliates include the Afghan and Pakistani Taliban, the

Haqqani Network, and Lashkar-e-Taiba.” 53

        75.   Lashkar-e-Taiba, also known as LeT or LT, means “Army of the

Pure,” and was founded in Pakistan in the early 1990s. Since its inception, the

group has been engaged in terrorist activities, causing the United States to

designate it as an FTO on December 26, 2001—and to subsequently renew that

designation and to expand it to include LeT’s aliases and affiliates.

        76.   At all relevant times, LeT has been known to be a terrorist group that

targeted Americans in Afghanistan for attack. As one terrorism scholar observed,


   52
      Gretchen Peters, Haqqani Network Financing: The Evolution of an Industry, Combating
Terrorism Center at West Point, at 16 (2012), https://ctc.usma.edu/wp-
content/uploads/2012/07/CTC_Haqqani_Network_Financing-Report__Final.pdf.
   53
      Lauren McNally & Marvin G. Weinbaum, A Resilient al-Qaeda in Afghanistan and
Pakistan, MEI Policy Focus 2016-18, at 4 (Aug. 2016).

                                            30
  Case 1:20-cv-04322-LGS-OTW              Document 1     Filed 06/05/20     Page 37 of 274




“[w]hen viewed from the perspective of the United States, it is safe to say that LeT

has long undermined U.S. interests in the global war on terror” and “threaten[ed]

U.S. soldiers and civilians in Afghanistan.”54

         77.        At all relevant times, LeT has been led by Hafiz Saeed, “a very public

figure in Pakistan” who was known for “advocat[ing] a truly extreme vision” as the

“head of one of the world’s most dangerous terrorist organizations.”55

         78.        Saeed was well known in Pakistan for his specific affiliation with

al-Qaeda founders Abdullah Azzam and Osama bin Laden. As a former senior U.S.

official explained:

         Saeed and Azzam were close partners with Osama bin Laden in the
         1980s. Azzam was the intellectual guru who created the modern
         Islamic extremist movement. One former head of the Mossad, Israel’s
         top intelligence service, told me that Azzam should properly be seen
         as the “father of the global jihad.” Saeed stayed in close contact with
         bin Laden until his death a year ago, according [to] the material found
         in the al Qaeda leader’s hideout in Abbottabad, Pakistan. Saeed
         openly mourned bin Laden in a bitter eulogy the Friday after the
         SEALs delivered justice to bin Laden.56

         79.        “Over the last two and a half decades, [al-Qaeda’s core] has

maintained close working relationships” with LeT, which is “hardly surprising,




   54
      Ashley J. Tellis, The Menace That Is Lashkar-e-Taiba, Carnegie Endowment for
International Peace Policy Outlook (2012).
   55
     Bruce Riedel, Hafiz Saeed, Pakistani Extremist with a $10 Million Price on his Head, is al
Qaeda’s Ally, Brookings (Apr. 3, 2012).
   56
        Id. at 2.

                                               31
  Case 1:20-cv-04322-LGS-OTW                Document 1      Filed 06/05/20   Page 38 of 274




since some of al-Qaeda’s top lieutenants have long used South Asia as an

operational hub.”57 “Al-Qaeda ties with LeT go back to the anti-Soviet war. One of

LeT’s founders, Abdul Rehman Sareehi, had close ties with both Abdullah Azzam

and Osama bin Laden,” and LeT therefore has a long history of providing

“material and logistical support to individual al-Qaeda members.” 58

         80.         As an example of LeT’s closeness with al-Qaeda, when the Clinton

Administration fired a Tomahawk missile salvo to destroy al-Qaeda camps in

Afghanistan in 1998 in an attempt to kill Osama bin Laden in response to the

African embassy bombings, our attack missed bin Laden but did “kill many LeT

operatives and trainers who had been bivouacked in these facilities.”59

         81.         Throughout this time, LeT was also a beneficiary of the Pakistani

Inter-Services Intelligence (“ISI”), which uses the group to counter Indian and,

after 9/11, American, interests in the region.

         82.         Consistent with its close ties to the ISI, in its early days, LeT focused

on the regions of Jammu and Kashmir, and directed its terrorist activity principally

at India. For example, on December 13, 2001, LeT joined an attack on India’s




   57
      The Soufan Center, Al-Qaeda in the Indian Subcontinent: The Nucleus of Jihad in South
Asia, at 12 (2019).
   58
        Id. at 14.
   59
        Tellis, Menace, supra note 54.

                                                  32
  Case 1:20-cv-04322-LGS-OTW               Document 1    Filed 06/05/20   Page 39 of 274




Parliament building, killing nine innocents and injuring at least twenty-two others.

This attack brought India and Pakistan to the brink of war.

         83.         “LeT began contributing to al-Qaeda’s global jihad against the United

States and its allies after 9/11.”60 “As al-Qaeda operatives fled Afghanistan in the

wake of the U.S. counter-attack, LeT’s leadership directed its members to provide

safe haven in Pakistan for some and to facilitate emigration to the Middle East or

other safe destinations for others. The group arranged fake passports, safe houses,

guards and fixers, and provided medical support for Arabs wounded during the

U.S. invasion.”61

         84.         As the insurgency targeting Americans in Afghanistan “gained

strength in 2005-2006, … [LeT] began facilitating access” to Afghanistan for LeT

members to fight under al-Qaeda and the Taliban’s banner.62 One terrorism scholar

explained LeT’s close operational ties with al-Qaeda, the Taliban, and the Haqqani

Network as follows:

         [L]ike al-Qaeda, LeT has demonstrated a remarkable ability to forge
         coalitions with like-minded terrorist groups. These alliances are most
         clearly on display within South Asia, where, in addition to al-Qaeda,
         LeT cooperates with other militant groups, such as the Afghan
         Taliban, in the areas of recruiting, training, tactical planning,
         financing, and operations. . . . In Pakistan, LeT cooperates actively

   60
     Stephen Tankel, Lashkar-e-Taiba: Past Operations and Future Prospects, New America
Foundation, at 1 (2011).
   61
        Id. at 16.
   62
        Id. at 6.

                                                33
  Case 1:20-cv-04322-LGS-OTW              Document 1    Filed 06/05/20   Page 40 of 274




         with the Afghan Taliban . . . and also coordinates operations against
         Afghanistan with al-Qaeda and the Haqqani Network. 63

         85.    As LeT ramped up its support for jihad targeting Americans in

Afghanistan, it continued to target Indians and Westerners for attack in India.

Perhaps most infamously, LeT carried out the 2008 Mumbai attacks. Ten LeT

members carried out a dozen coordinated shooting and bombing attacks lasting

four days across Mumbai, killing at least 160 innocents (including 6 Americans).

The attacks focused on international hotels, a busy railway station, and a café

popular with tourists.

         86.    “Approximately one year after Mumbai, U.S. President Barack

Obama wrote a letter to his Pakistani counterpart, President Asif Ali Zardari, in

which he specifically mentioned LeT as one of the militant groups against which

the government should act. A chorus of U.S. diplomats, security officials and

military officers reiterated this call for action, pressuring Pakistan publicly as well

as privately to move against LeT.”64

         87.    After the Mumbai attacks, LeT decided “to lay low when it came to

operations against India.” Instead, it grew its presence in the al-Qaeda strongholds

of the Nangarhar, Nuristan, Kunar and Laghman (“N2KL”) and P2K Provinces, as




   63
        Tellis, Menace, supra note 54.
   64
        Tankel, Lashkar-e-Taiba, supra note 60, at 1.

                                                34
  Case 1:20-cv-04322-LGS-OTW              Document 1     Filed 06/05/20   Page 41 of 274




well as Kabul and the strategically crucial provinces around Kabul in which the

Kabul Attack Network committed attacks. “This served a dual purpose: The

Afghan front provided a pressure release valve, while the influx of

Lashkar-e-Taiba members yielded additional intelligence to the security

establishment about the militant state of play across the border. This practice of

encouraging the group’s participation in Afghanistan continues: enabling it to

wage jihad against U.S. and Afghan forces, as well as to launch occasional attacks

against Indian interests; and putting its members in a position to gather intelligence

on other groups.” 65

         88.    Collaboration between LeT and its al-Qaeda, Taliban, and Haqqani

Network partners in the Syndicate “was centered on the jihad in Afghanistan” and

“included the joint recruitment and infiltration of fighters into Afghanistan; sharing

safe houses and resources, including weapons, explosives and information; and

joint training and fighting in Afghanistan.”66

         89.    As the U.S. government repeatedly recognized, LeT played a vital

role in the al-Qaeda Terror Syndicate throughout the period relevant to this case.

Terrorism scholars drew a similar conclusion. For example, in February 2010, one



   65
      Stephen Tankel, Ten Years After Mumbai, the Group Responsible Is Deadlier than Ever,
War on the Rocks (Nov. 26, 2018), https://warontherocks.com/2018/11/ten-years-after-mumbai-
the-group-responsible-is-deadlier-than-ever/.
   66
        Tankel, Lashkar-e-Taiba, supra note 60, at 19.

                                                35
  Case 1:20-cv-04322-LGS-OTW             Document 1      Filed 06/05/20   Page 42 of 274




scholar observed that “[t]oday,” al-Qaeda and LeT “cooperate on training and

recruitment for the Afghan jihad against coalition forces, equipping fighters and

infiltrating them across the Durand Line separating Pakistan and Afghanistan.” 67

Similarly, in March 2012, another scholar noted that “[w]ith recruitment,

fundraising, and operations extending to Afghanistan, Iraq, Central Asia, Europe,

Africa, and Australia, LeT has rapidly become a formidable global threat. Today,

LeT has close ties with al-Qaeda in Pakistan and supports the Taliban’s military

operations.”68

         90.    As a “key affiliate[]” of al-Qaeda, 69 LeT provided critical support to

the al-Qaeda-led syndicate by sourcing foreign fighters, including Pakistanis and

others from outside Afghanistan, for purposes of the fighters receiving training by

al-Qaeda in order to be ultimately deployed in Afghanistan on behalf of the joint

al-Qaeda/Taliban (including Haqqani Network) cells operating in the key

provinces there. In this way, al-Qaeda leveraged its historical relationship, and

religious doctrinal affinity, with LeT to find a partner whom it can trust to find the

right terrorist “talent” for purposes of being trained by al-Qaeda to commit attacks

in Afghanistan. LeT’s “lane” in this Syndicate effort is “Pakistani and foreign


   67
      Stephen Tankel, The Long Arm of Lashkar-e-Taiba at 1-2, Washington Institute for Near
East Policy, Policy Watch # 1361 (Feb. 17, 2010).
   68
        Tellis, Menace, supra note 54.
   69
        McNally & Weinbaum, Resilient al-Qaeda, supra note 53, at 4.

                                              36
  Case 1:20-cv-04322-LGS-OTW              Document 1    Filed 06/05/20   Page 43 of 274




talent recruitment” from madrassas and other social networks controlled by LeT

operatives and LeT fronts throughout Pakistan.

         91.    LeT, and its front organizations, also provide essential logistical

support to facilitate the operation of al-Qaeda-run training camps in Waziristan by

providing funding, safe houses, travel support, and recruits, for the camps.

         92.    An example of LeT’s logistical support for the network of al-Qaeda

camps in Waziristan occurred in 2005, when several al-Qaeda suspects “traveled to

work in JuD relief camps after [an earthquake in Pakistan] before making their way

to militant training camps in Waziristan.”70 “This was not the first or the last time

that LeT was believed to have acted as a gateway organization to al- Qaeda. It is an

article of faith among the American and British security establishments that the

group has played this role on numerous occasions.” 71

         93.    LeT’s direct support of al-Qaeda was an essential component of the

latter’s fundraising and recruiting efforts in the Afghan-Pakistan region. As two

terrorism scholars explained:

         [LeT] has a particularly strong relationship with al-Qaeda, with some
         reports predicting that LeT could become “the next al-Qaeda.”
         Al-Qaeda has utilized LeT safehouses while in Pakistan, and LeT has
         proven to be the strongest ideological ally of al-Qaeda in the region.
         LeT has also been among the groups working with al-Qaeda to carry
         out operations in Afghanistan. LeT has become known for

   70
        Tankel, Lashkar-e-Taiba, supra note 60, at 1.
   71
        Id.

                                                37
  Case 1:20-cv-04322-LGS-OTW              Document 1    Filed 06/05/20     Page 44 of 274




         “technological sophistication, [broad] global recruiting and
         fundraising network, its close ties to protectors within the Pakistani
         government, and the fact that it is still a less high-profile target of
         Western intelligence,” all of which afford [LeT] an advantage over
         nationally-focused groups in the region. 72

         94.    LeT was uniquely well positioned to source terrorist talent for

al-Qaeda and its allies because LeT, like the terrorist group Lebanese Hezbollah,

built an extensive social welfare infrastructure that served the express purpose of

identifying suitable candidates for terrorist indoctrination, as well as generally

improving the terrorist group’s reputation and capacity for attracting new recruits.

LeT’s “standing” in certain Pakistani circles thus “heightened its ability to raise

money for missionary outreach and to recruit members from other sects, who were

promptly converted upon joining. In other words, its militancy and missionary

activities reinforced one another.”73

         95.    While LeT helped source thousands of fighters for the joint

al-Qaeda/Taliban (including Haqqani Network) cells in Afghanistan, as described

above, LeT also played the key role in sourcing nearly all of the suicide bombers

who were ultimately trained by al-Qaeda and deployed as suicide attackers on

behalf of the joint al-Qaeda/Taliban (including Haqqani Network) cells operating

in N2KL, P2K, and the Kabul Attack Network-related Provinces. “[R]ecruitment


   72
      McNally & Weinbaum, Resilient al-Qaeda, supra note 53, at 10-11 (internal citations
omitted).
   73
        Tankel, Lashkar-e-Taiba, supra note 60, at 5.

                                                38
  Case 1:20-cv-04322-LGS-OTW             Document 1   Filed 06/05/20   Page 45 of 274




for suicide bombings conducted by other groups” was a particular “LeT

specialty.”74 LeT furnished the large majority of suicide bombers who were

ultimately trained to become al-Qaeda operatives and used in nearly every attack in

this case.

         96.    With rare exceptions, LeT terrorists do not openly participate in

attacks in Afghanistan under LeT’s banner. Instead, LeT terrorists were (and

remain) embedded alongside the relevant Taliban and al-Qaeda terrorists who

committed attacks together as part of joint al-Qaeda/Taliban cells in Afghanistan.

This was an operational manifestation of al-Qaeda’s syndicate strategy, which

facilitated the efficient embedding of LeT terrorists in the terrorist cells that were

of greatest importance to the shared al-Qaeda/Taliban enterprise. As terrorism

scholar Stephen Tankel explained:

         Lashkar need not take the lead role in order for its training apparatus
         and transnational networks to be used against the US or its Western
         allies. Indeed, the current threat to Western interests comes from a
         conglomeration of actors working in concert. Notably, working as part
         of a consortium provides cover for [LeT], since shared responsibility
         makes it easier for Lashkar to conceal its fingerprints. One could
         imagine a scenario in which would-be Western jihadis looking to fight
         in Afghanistan linked up with a facilitator connected with Lashkar to
         access a training camp in territory controlled by the Haqqani Network
         where al-Qaeda convinced them to launch a terrorist attack in a




   74
        Tellis, Menace, supra note 54.

                                             39
  Case 1:20-cv-04322-LGS-OTW              Document 1     Filed 06/05/20     Page 46 of 274




         Western country and Lashkar trainers provided some of the
         instruction.75

         97.         LeT terrorists were sometimes dual-hatted, meaning that they were

operatives working on behalf of two (or more) jihadist group. James McLintock,

for example, was a triple-hatted operative of al-Qaeda, LeT, and the Taliban. LeT

and al-Qaeda terrorists were often dual-hatted, as LeT was the Pakistani jihadist

group that most closely adhered to al -Qaeda’s interpretation of Islam.

         98.         Nangarhar, Nuristan, Kunar and Laghman (N2KL) Provinces.

LeT terrorists forward-deployed terrorists to the N2KL Provinces to provide

embedded support to the joint al-Qaeda/Taliban cells in the N2KL Provinces. LeT

fighters “turned up in Kunar and Nuristan provinces in Northeastern Afghanistan,

where LeT had historical connections.”76 In N2KL, “[a]lthough [LeT] did not have

a substantial footprint in terms of manpower, its members were among the most

proficient in terms of small-unit tactics, so even a small number of men could have

an impact.”77 As one think tank observed in 2011:

         LeT involvement in Afghanistan has picked up since 2006. LeT members
         apparently trained at camps in Kunar and Nuristan provinces in the 1990s
         but did not fight alongside the Taliban at that time. In the last four years,
         however, as the Taliban has regained influence in Afghanistan, the LeT has
         supported the insurgents by recruiting, training, and housing fighters and
         facilitating their infiltration into Afghanistan from the tribal areas of

   75
        Stephen Tankel, Storming the World Stage: The Story of Lashkar-e-Taiba 266 (2011).
   76
        Tankel, Lashkar-e-Taiba, supra note 60, at 18.
   77
        Id. at 19.

                                                40
  Case 1:20-cv-04322-LGS-OTW              Document 1      Filed 06/05/20   Page 47 of 274




         Pakistan. LeT fighters were also likely part of the group that attacked a U.S.
         outpost in Wanat, Afghanistan in 2008 that killed nine U.S. soldiers.” 78

         99.    LeT’s numbers in Kunar Province were so extensive that the joint al-

Qaeda-Taliban cells were ordinarily augmented by LeT terrorists. As a result,

every attack in Kunar Province alleged herein was jointly committed by al-Qaeda,

the Taliban, and LeT.

         100. Paktia, Paktika, and Khost (P2K) Provinces. LeT terrorists forward

deployed inside Afghanistan to provide embedded support to the joint

al-Qaeda/Haqqani Network cells operating in the P2K Provinces. By 2009 and

2010, “[t]he integration of the group’s members with the Taliban and Haqqani

Network also accelerated, … [which] enable[ed] LeT fighters to expand their

presence to”79 the P2K Provinces, where LeT operatives embedded in joint

al-Qaeda/Haqqani Network cells to commit attacks against Americans.

   101.         Kabul Attack Network-Related Provinces. LeT terrorists also

forward deployed in and around Kabul, including the other provinces of the Kabul

Attack Network, to provide embedded support to the joint al-Qaeda/Haqqani

Network/Taliban cell that jointly committed Kabul Attack Network attacks.




   78
       Lisa Curtis, Pakistan, The Heritage Foundation (Jan. 26, 2011),
https://www.heritage.org/middle-east/commentary/pakistan.
   79
        Tankel, Lashkar-e-Taiba, supra note 60, at 22.

                                                41
  Case 1:20-cv-04322-LGS-OTW           Document 1       Filed 06/05/20    Page 48 of 274




        D. Jaish-e-Mohammed

        102. JeM is a Sunni extremist group founded by Masood Azhar with

funding and support from Osama bin Laden. The organization is based in Pakistan,

and its original goal was to unite Kashmir with Pakistan. In June 2008, however,

JeM reportedly began shifting its focus from Kashmir to Afghanistan in order to

step up attacks against U.S. and Coalition forces.

        103. JeM has long served as one of the Taliban’s Punjabi allies in both

Afghanistan and Pakistan.

        104. JeM has openly declared war against the United States, which

designated JeM an FTO in 2001.80

        105. After the Taliban and al-Qaeda were routed by U.S. forces in the fall

of 2001, “the Taliban and al-Qaida . . . receiv[ed] help from . . .

Jaishe-Mohammed”81 in addition to the help the Taliban and al-Qaeda received

from LeT and the Haqqani Network.

        106. In June 2008, JeM began shifting its focus from Kashmir to

Afghanistan in order to escalate its support for attacks against U.S. and Coalition

forces.



   80
       National Counterterrorism Center, Jaish-e-Mohammed (JEM) (last updated Sept. 2013),
https://www.dni.gov/nctc/groups/JEM.html.
   81
     Associated Press, Pockets of Taliban, al-Qaeda Fighters are Said to be Regrouping in
Afghanistan, St. Louis Post Dispatch, 2002 WLNR 1220832 (Mar. 2, 2002).

                                             42
  Case 1:20-cv-04322-LGS-OTW            Document 1       Filed 06/05/20     Page 49 of 274




        107. JeM has a history of helping al-Qaeda and the Taliban commit

spectacular suicide bombing attacks in Afghanistan and Pakistan. For example,

U.S. officials suspected that a successful suicide attack in Pakistan that killed a

U.S. diplomat in 2006 was probably the work of terrorists associated with

al-Qaeda, the Taliban, and JeM. And in Afghanistan, JeM “was a close ally” of the

Taliban, with JeM’s leader, Masood Azhar, being a “frequent visitor of Taliban

leader Mullah Mohammed Omar.” 82

        108. JeM also has a history of working jointly with Lashkar-e-Taiba as a

force multiplier for al-Qaeda and its Taliban and Haqqani Network allies. For

example, JeM provided logistical support for a sophisticated suicide truck bombing

attack against the civilians at the Marriott Hotel Pakistan on September 20, 2008,

which was committed by al-Qaeda, Haqqani Network, and Lashkar-e-Taiba,

resulting in the deaths of dozens and injuries of hundreds. Similarly, “there is

evidence to suggest the main suspects [of the 2008 Mumbai attack],

Lashkar-e-Toiba and its smaller ally Jaish-e-Mohammed, . . . may have co-

ordinated the attack with elements from the Taliban and al-Qa’ida, operating out of

Pakistan’s tribal territories.”83



   82
      Kathy Gannon, Associated Press, Islamic militants threatened attacks on Bhutto if she
returned to Pakistan, Canadian Press (Oct. 18, 2007).
   83
     Richard Beeston, Washington crucial as attack exposes terror groups’ deadly strategies,
Australian (Dec. 2, 2008).

                                              43
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 50 of 274




         109. As one analyst put it in late 2008, “[o]ne plausible theory” is that JeM,

LeT, al-Qaeda, the Taliban, Haqqanis, and Pakistani Taliban “have forged an

alliance that is executing a strategy in the region to defend themselves against a

new US-led strategy” in the Afghanistan/Pakistan theater.84 Similarly, while

discussing the failed Times Square bombing, the CNN international correspondent

Nic Robertson observed in 2009 that “Jaish-e-Mohammed” had “ties to the Taliban

and al Qaeda” through which JeM, the Taliban and al-Qaeda were engaged in

“cooperation … at quite an effective level at the moment.” 85 Indeed, by 2009, it

was “now accepted” by elements of the Pakistani military “that Al Qaeda, the

Taliban and their allies among the Punjabi jihadis operate as a syndicate,” and that

such allies “included the Jaish-e-Mohammed.”86

         110. JeM’s participation in the al-Qaeda-led syndicate continued at all

relevant times. For example, one security expert, addressing the state of play of

al-Qaeda’s global jihadist ambitions as of July 2012, testified as follows:

         al Qaeda’s Senior Leadership is back on their heels. Key leaders have
         met their demise including, of course, Usama Bin Laden …
         Nevertheless, the ideology that Bin Laden and others … have
         propounded lives on. This ideology is the lifeblood that continues to
         sustain the vitality and growth of the global jihadist movement. Make

   84
        Id.
   85
     Highlights of U.S. Broadcast News Coverage of the Middle East from May 8, 2010 (Full
Transcripts) Federal News Service Transcripts, 2010 WLNR 27829208 (May 9, 2010).
   86
     Nirupama Subramanian, Pakistan: two questions, multiple realities, Hindu, 2009 WLNR
23938767 (Nov. 27, 2009).

                                            44
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20     Page 51 of 274




        no mistake: while the core of al Qaeda may be seriously and
        significantly diminished, … the threat now comes in various sizes,
        shapes and forms. There are still many and varied al Qaeda affiliates
        that continue to thrive, most notably in Yemen and the Sahel, and in
        Somalia. … At the same time, a veritable witch’s brew of jihadists
        exists in Pakistan, including for example, the Haqqani network,
        Lashkar-e-Taiba (LeT), Tehrik-i-Taliban Pakistan …, Harkat-ul-Jihad
        al-Islami (HuJI), Jaish-e-Mohammed, and the Islamic Movement of
        Uzbekistan. We have seen in the past and continue to see substantial
        evidence of cooperation and collaboration between these latter
        groups and al Qaeda. 87

        111. Indeed, the U.S. designated JeM as an FTO in substantial part because

of the role JeM plays in augmenting the power of al-Qaeda and other al-Qaeda

linked terrorists operating in Afghanistan and Pakistan as part of the syndicate. As

the terrorist scholar Bill Roggio has explained, “[t]he US government has listed

Jaish-e-Mohammed (JeM) as a Foreign Terrorist Organization and its leader,

Massod Azhar, as a specially designated global terrorist for their ties to al Qaeda

and other jihadist groups.”88

        112. JeM supported al-Qaeda attacks by acting as an agent and proxy for

al-Qaeda. JeM did this by directly seconding its fighters to al-Qaeda, for the latter




   87
      U.S. Senate Committee on Homeland Security & Governmental Affairs, Hearing: The
Future of Homeland Security: Evolving and Emerging Threats (July 11, 2012) (Prepared
Statement of Frank J. Cilluffo, Director, Homeland Security Policy Institute, George Washington
Univ.) (emphasis added), https://www.hsgac.senate.gov/imo/media/doc/Testimony-Cilluffo-
2012-07-11.pdf.
   88
      House Foreign Affairs Subcommittee on Asia and the Pacific and Terrorism,
Nonproliferation, and Trade, Hearing: Pakistan: Friend or Foe in the Fight Against Terrorism,
U.S. Cong. News, 2016 WLNR 21268984 (Jul. 12, 2016) (testimony of Bill Roggio).

                                              45
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20    Page 52 of 274




to jointly deploy with the Taliban in eastern Afghanistan as part of al-Qaeda’s

Brigade 313. As a Pakistani newspaper editorialized in 2010:

        Brigade 313 is al Qaeda’s military organisation in Pakistan, and is
        made up of Taliban and allied jihadist groups. Members of
        Lashkar-e-Jhangvi, Harkat-ul-Jihad-al-Islami, Lashkar-e-Taiba,
        Jaish-e-Mohammed, Jandullah (the Karachi-based, al Qaeda-linked
        group), and several other Pakistani terror groups are known to have
        merged with al Qaeda in Pakistan, and the group operates under the
        name of Brigade 313.89

        113. Like its ally LeT, another of JeM’s key roles is to serve as a talent

scout for al-Qaeda, Taliban, and Haqqani terrorists in Afghanistan. The U.S.

government itself recognized the key role that Masood Azhar and

Jaish-e-Mohammed has played in recruiting suicide bombers to support the

Taliban and al-Qaeda’s shared jihad in Afghanistan. Specifically, according to the

U.S. Treasury Department, “[i]n 2008, JEM recruitment posters in Pakistan

contained a call from Azhar for volunteers to join the fight in Afghanistan against

Western forces.”90 As a former senior Indian official summarized in March 2009,

“[i]t is now established that while the Taliban’s cadres in Afghanistan are primarily

Afghans nationals, a substantial number of suicide bombers in Afghanistan are




   89
      Al Qaeda and Terror in Karachi, The Express Tribune (Pakistan), 2010 WLNR 27040331
(Nov. 17, 2010).
   90
     U.S. Dep’t of Treasury, Treasury Targets Pakistan-Based Terrorist Organizations
Lashkar-E Tayyiba and Jaish-E Mohammed (Nov. 4, 2010).

                                            46
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20     Page 53 of 274




from militant groups drawn from Pakistan’s Punjab province, like the

Lashkar-e-Taiba and Jaish-e-Mohammed.”91

        114. JeM plays a special role in al-Qaeda’s syndicate as the terrorist group

responsible for taking the lead in collecting and paying out so-called “martyr

payments” to the al-Qaeda-aligned suicide bombers who blow themselves up in

Afghanistan. On information and belief, JeM facilitated martyr payments to all or

nearly all of the suicide bombers who committed the attacks in this case.

        115. After the United States designated JeM an FTO in 2001, the Pakistani

government banned the organization in 2002. JeM subsequently changed its name

to “Khuddam-ul-Islam.” The Pakistani government banned Khuddam-ul-Islam in

2003, and it rebranded itself as Al Rehmat Trust (“ART”). Since then, ART has

been involved in fundraising for JeM, including for militant training and

indoctrination at its mosques and madrassas, as well as providing support to the

families of terrorists who had been arrested or killed. Like JeM before it, ART was

headed by Mohammed Masood Azhar, along with his associate Ghulam Murtaza.

        116. ART was known to be a terrorist organization. For example, in 2006,

Pakistani government forces raided an ART camp in Mansehra, Pakistan, arresting

15 people and seizing funds. Then, on November 4, 2010, the U.S. Treasury



   91
     G. Parthasaraty, Pakistan Under Jihadi Threat, Business Line (Mar. 5, 2009) (author is
former High Commissioner to Pakistan).

                                              47
  Case 1:20-cv-04322-LGS-OTW              Document 1       Filed 06/05/20     Page 54 of 274




Department designated ART as an FTO, stating: “Al Rehmat Trust, an operational

front for JEM was designated for providing support to and for acting for or on

behalf of JEM, and Mohammed Masood Azhar Alvi, JEM’s founder and leader,

was also designated today for acting for on behalf of JEM.”92 As such, ART was

and is also a member of the al-Qaeda Terror Syndicate. ART remains a designated

FTO today.

         117. The Treasury Department publicly stated that in ART’s capacity as

“operational front” for JeM, ART “has provided support for militant activities in

Afghanistan and Pakistan, including financial and logistical support to foreign

fighters operating in both countries. In early 2009, several prominent members of

al Rehmat Trust were recruiting students for terrorist activities in Afghanistan.” 93

“As of early 2009, al Rehmat Trust had initiated a donation program in Pakistan to

help support families of militants who had been arrested or killed. . . . Al Rehmat

Trust has also provided financial support and other services to the Taliban,

including financial support to wounded Taliban fighters from Afghanistan.”94




   92
        Treasury Targets Pakistan-Based Terrorist Organizations, supra note 90.
   93
        Id.
   94
       U.S. Dep’t of the Treasury, Protecting Charitable Organizations – P,
https://www.treasury.gov/resource-center/terrorist-illicit-finance/Pages/protecting-
charities_execorder_13224-p.aspx.

                                                48
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20    Page 55 of 274




         118. In addition to this “operational” role, ART was designated for raising

funds for JeM. As part of the public designation, the then-Under Secretary for

Terrorism and Financial Intelligence described the action as “an important step in

incapacitating the operational and financial networks of these deadly

organizations.”95 The Australian Government’s current designation of JeM as a

“terrorist organisation” states: “the Al-Rehmat Trust is the principal source of

income for JeM and continues to operate despite being sanctioned by several

countries.”96

         119. ART has a banking relationship with HBL. According to reports in the

Indian press, which quoted Indian terrorism investigators speaking in 2016, ART

had an account at HBL. 97

         120. ART’s account is handled by Ghulam Murtaza, who is known to be a

close associate of JeM founder Masood Azhar, and is a high-ranking member of

JeM and a high profile terrorist in his own right. Prior to managing ART, Murtaza

was head of the Punjab chapter of Harakat ul-Mujahidin, which has been an FTO

since 1997. Indian media reported that Murtaza was put in charge of ART in 2010,




   95
        Treasury Targets Pakistan-Based Terrorist Organizations, supra note 90.
   96
       Australian National Security, Jaish-e-Mohammad (last visited June 4, 2020),
https://www.nationalsecurity.gov.au/Listedterroristorganisations/Pages/Jaish-e-Mohammad.aspx.
   97
     Rajesh Ahuja, Pathankot Attackers Called Head of Jaish Charity Organisation, Hindustan
Times (Jan. 18, 2016).

                                               49
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20    Page 56 of 274




and he has remained active in that capacity. 98 For example, when JeM carried out a

deadly terror attack on India’s Pathankot Air Force Station in 2016, one of the

attackers allegedly dialed Murtaza. 99 In 2018, Indian media reported that Ghulam

Murtaza was still heading ART.100

         121. In addition to this connection, JeM also receives and has long received

financial support from the ISI. 101 As explained in greater detail below, HBL is one

of the ISI’s preferred banks for financing terrorists.

         E. The Kabul Attack Network

         122.   The Kabul Attack Network is an operational manifestation of the

terrorist syndicate led by al-Qaeda and the Taliban, including the Haqqani

Network. Specifically, the Kabul Attack Network is a set of terrorist cells, which

includes members from each of the terrorist groups involved in the syndicate, and

focuses on attacks against targets in Kabul and extending outward into the

provinces of Logar, Wardak, Nangarhar, Kapisa, Kunar, Ghazni, and Zabul.102 It is

active around key waypoints and transit routes on the way to Kabul, including


   98
      Praveen Swami, With Backing of ISI, Jaish-e-Muhammad Rises Like a Phoenix in
Pakistan, Indian Express (Jan. 11, 2016).
   99
        Ahuja, Pathankot Attackers Called Head of Jaish Charity Organisation, supra note 97.
   100
       Ankit Kumar, Masood Azhar’s Jaish-e-Mohammad Sells Medicines to Collect Funds from
Pakistan, Hindustan Times (May 21, 2018).
   101
         Swami, Jaish-e-Muhammad Rises Like a Phoenix, supra note 98.
   102
       Bill Roggio, Karzai Assassination Plotters Part of Kabul Attack Network, Long War J.
(Oct. 5, 2011).

                                               50
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 57 of 274




Wardak, Ghazni City, and areas of Logar Province. The Kabul Attack Network

was responsible for suicide bombings and other attacks on Americans in Kabul and

the surrounding areas. 103

         123. The Kabul Attack Network’s members include the Taliban (including

the Haqqani Network), as well as al-Qaeda, Lashkar-e-Taiba, and other terrorist

organizations active in the Kabul area. Each of these terrorist groups participates in

Kabul Attack Network attacks and contributes personnel and resources to such

attacks. Attacks committed by the Kabul Attack Network are committed jointly by

al-Qaeda, Taliban, Haqqani Network, and LeT personnel. And funding for any of

the involved terrorist groups contributed to the attacks.

         124. The Kabul Attack Network is led by Mullah Dawood, the Taliban’s

shadow governor for Kabul who is also a Taliban and Haqqani Network

commander, and Taj Mir Jawad, a top commander in the Haqqani Network with a

long history of high-profile attacks. On information and belief, both Dawood and

Jawad reported to Sirajuddin Haqqani, the dual-hatted al-Qaeda-Taliban terrorist

ultimately responsible for the Kabul Attack Network’s attack strategy.

         125. According to an ISAF public affairs officer, the “Haqqani Network is

deeply entrenched in the Kabul Attack Network specifically with the facilitation of



   103
      Bill Roggio, Afghan Intel Captures Taliban Commander Involved In Targeting
‘Foreigners’ In Kabul, Long War J. (Mar. 31, 2015).

                                           51
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 58 of 274




weapons and fighters into the area south of Kabul in Logar and Wardak.”104

Additionally, senior Haqqani leaders operating from their traditional strongholds

often planned and executed terrorist attacks by the Kabul Attack Network,

sometimes even giving tactical advice during attacks.

         126. Many Plaintiffs, or their family members, were killed or injured in

attacks by the Kabul Attack Network. For example, on October 29, 2011, the

Kabul Attack Network executed a suicide-bombing attack that destroyed a large

armored bus transporting U.S. forces around Kabul and killed LTC David E.

Cabrera and SSG Christopher R. Newman, whose family members are Plaintiffs in

this case, and 16 others. See infra ¶¶ 426-442, 744-752. Almost four years later, on

August 22, 2015, the Kabul Attack Network murdered U.S. government

contractors (and Army veterans) Richard P. McEvoy and Corey J. Dodge, whose

family members are also Plaintiffs in this case, in a suicide-bombing attack against

a NATO convoy in Kabul. See infra ¶¶ 482-490, 704-714.

                                          ***

         127. Each of the terrorist organizations identified above participated in

terrorist attacks, including those described in this Complaint, to intimidate or

coerce local populations; influence the policies of various governments, including



   104
      Bill Roggio, Senior Taliban Commander Killed in Eastern Afghanistan, Long War J.
(Aug. 20, 2010).

                                            52
  Case 1:20-cv-04322-LGS-OTW            Document 1   Filed 06/05/20   Page 59 of 274




the United States; and affect the conduct of those governments by mass destruction

and assassination.

   II.      Habib Bank Limited (HBL) Knowingly Provided Material and
            Substantial Support to Terrorists and Terrorist Organizations

         A. HBL Knowingly Provided Material Support to Members of the
            al-Qaeda Terror Syndicate and Their Agents

         128. As explained in greater detail below, HBL knowingly provided

material financial support to the members of the al-Qaeda Terror Syndicate, which

perpetrated the attacks in this case.

Government Investigations of HBL Reveal a Pattern of Terror Financing
Going Back Over a Decade

         129. In 2006, HBL entered into a written agreement with the Federal

Reserve Board of Governors and NYDFS. The agreement was prompted by an

investigation, which raised concerns that HBL’s New York Branch exhibited

deficiencies relating to its anti-money laundering (“AML”) “policies and

procedures, customer due diligence practices, risk management processes, and

internal control environment.”105 This included deficiencies relating to HBL’s

correspondent banking services for non-U.S. banks, and its U.S. dollar funds

transfer clearing services—i.e., the services that would come into play when


   105
        See Written Agreement by and Among Habib Bank Limited, Habib Bank Limited New
York Branch, Federal Reserve Bank of New York and New York State Banking Department
(Dec. 19, 2006), available at https://www.federalreserve.gov/newsevents/pressreleases/
files/enf20061221a1.pdf.

                                            53
  Case 1:20-cv-04322-LGS-OTW              Document 1   Filed 06/05/20   Page 60 of 274




transferring U.S. dollars to Pakistan and Afghanistan or engaging in currency

exchanges in connection with donations to terrorist groups in Pakistan.

         130. In the agreement, HBL agreed to augment its AML controls, including

policies and procedures designed to identify account holders and transactors, and

to ensure compliance with all requirements relating to correspondent accounts for

non-U.S. persons. HBL further agreed to conduct appropriate diligence about

customers and their transactions, and to monitor and report all suspicious activity.

         131. On December 15, 2015, NYDFS and HBL entered into a consent

order.106 The order referenced the 2006 written agreement, and noted that the Bank

and the Branch had not abided by that agreement. Under the consent order, HBL

was required to take a number of additional concrete steps to reduce the risk of its

participation in money laundering and other illegal financial transactions.

         132. In the consent order, HBL agreed to engage an independent third party

to review its U.S. dollar clearing activity from October 1, 2014 to March 31, 2015

to determine whether it had properly identified and reported transactions that

violated OFAC regulations, or suspicious activity involving high risk customers or

transactions. HBL also agreed not to take any action that would result in a growth

in its U.S. dollar clearing activities.


   106
      See Order Issued Upon Consent Pursuant to Section 39 of the New York Banking Law, In
re: Habib Bank Limited (Dec. 15, 2015), available at https://www.dfs.ny.gov/system/files/
documents/2020/04/ea151215_habib.pdf.

                                              54
  Case 1:20-cv-04322-LGS-OTW                Document 1       Filed 06/05/20        Page 61 of 274




         133. Again, HBL did not comply. On August 24, 2017, after conducting an

investigation of HBL’s activities in New York, NYDFS filed a Notice of Hearing

and Statement of Charges (“Notice”) against HBL. 107 The Notice stated “that

compliance failures found at the New York Branch are serious, persistent, and

apparently affect the entire Habib banking enterprise. They indicate a fundamental

lack of understanding of the need for a vigorous compliance infrastructure, and the

dangerous absence of attention by Habib Bank’s senior management for the state

of compliance at the New York Branch.” Indeed, NYDFS “determined that the

Bank’s compliance function is dangerously weak. Head Office screening, which

the Branch has repeatedly relied on as an excuse for its own lax attitude regarding

BSA/AML safeguards, appears to be as weak as that of the Branch itself—if not

even more inadequate.” This “misconduct has produced grave risks to [HBL], to

banking institutions in New York State and the U.S., and to the financial system as

a whole.” Moreover, although HBL had “been given more than sufficient

opportunity to rectify its deficiencies, it has utterly failed to do so.” 108

         134. The Notice provided specifics about HBL’s misconduct. It noted that

one of HBL’s “largest U.S. dollar clearing accounts has been Al Rajhi Bank,”



   107
       See Notice of Hearing and Statement of Charges, In re: Habib Bank Limited (Aug. 24,
2017), available at https://www.dfs.ny.gov/system/files/documents/2020/03/
ea170824_habib_notice.pdf.
   108
         All of the quotations in this paragraph are on pages 1-2 of the Notice.

                                                  55
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 62 of 274




which “has been linked through negative media to Al Qaeda and terrorism

financing.”109 In fact, a report released on July 17, 2012 by the U.S. Senate

Permanent Subcommittee on Investigations stated that after the September 11

attacks, evidence emerged that Al Rajhi Bank and some of its owners had links to

organizations associated with financing terrorism, including that one of the bank’s

founders was an early financial benefactor of al Qaeda.110 The report details Al

Rajhi Bank’s links to terrorism, including “that some Al Rajhi family members

were major donors to al Qaeda or Islamic charities suspected of funding terrorism,

established their own nonprofit organizations in the United States that sent funds to

terrorist organizations, or used Al Rajhi Bank itself to facilitate financial

transactions for individuals or nonprofit organizations associated with

terrorism.”111 Al Rajhi Bank also had a significant number of suspicious clients,

including SDNs accused of financing terrorism.

         135. Notwithstanding the evidence linking Al Rajhi Bank to terrorism,

HBL not only did a massive volume of business with Al Rajhi Bank, but did so in

a way that ensured that Al Rajhi Bank and its customers could continue to support

terrorism undetected. In the 2017 Notice, NYDFS noted that the “Al Rajhi


   109
         Id. at 6.
   110
     See U.S. Senate Permanent Subcomm. on Investigations, U.S. Vulnerabilities to Money
Laundering, Drugs, and Terrorist Financing: HSBC Case History 194 (2012).
   111
         Id.

                                            56
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20      Page 63 of 274




correspondent account presented Habib Bank with a significant risk of being used

for terrorist financing and money laundering,” and that since 2014, Al Rajhi

transactions represented “approximately 24 percent of the total number of

transactions conducted through the New York Branch.”112 Notwithstanding this

level of risk and high volume of transactions, HBL’s “customer due diligence file

did not include sufficient information about Al Rajhi’s own customers, or a

thorough review of Al Rajhi’s expected versus actual transactional activity.”113

HBL also claimed not to be aware that Al Rajhi’s affiliates in Malaysia and Jordan

were running transactions through Al Rajhi’s head office’s account at HBL.114 This

practice, known as “nesting,” is a way to conceal suspicious transactions by

obscuring the identity of the originating bank.

         136. NYDFS also found evidence that HBL deliberately avoided obtaining

information about Al Rajhi Bank’s risky use of HBL correspondent accounts.

Although HBL went through the motions of regularly meeting with Al Rajhi Bank

to discuss its HBL activity, NYDFS “determined that bi-weekly calls administered




   112
        Notice, supra note 107, at 6. For reference, the total volume of correspondent banking
transactions conducted through the branch in the year ending December 31, 2015 was $287
billion. Assuming Al Rajhi’s share of the dollar volume was proportionate to its share of the
number of transactions, that means that HBL helped Al Rajhi Bank clear approximately $70
billion in 2015 alone.
   113
         Id.
   114
         Id. at 6-7.

                                               57
   Case 1:20-cv-04322-LGS-OTW          Document 1    Filed 06/05/20   Page 64 of 274




between Branch and Compliance senior management and Al Rajhi senior

management for purposes of maintaining compliance were not meaningful.

Examiners’ review of the minutes and agenda for these calls indicate that they are

primarily administrative and do not address current BSA/AML related risks or

issues posed by the customer relationship.” 115

           137. Even more disturbing, HBL created elaborate and non-routine policies

and procedures designed to shield suspicious terrorism-related customers and

transactors from scrutiny. This assistance took at least three forms.

           138. First, HBL created a “good guy” list, which was a list of customers

HBL claimed to have conducted diligence on and deemed to be “very low risk” for

anything improper. 116 Once customers were placed on the “good guy” list, they

were able to conduct transactions without any screening.

           139. HBL’s “good guy” list was designed to facilitate terror financing, and

did so. NYDFS’s investigation revealed that 154 customers that HBL deliberately

placed on the “good guy” list were in fact persons and entities on OFAC’s SDN

list.117




    115
          Id. at 7.
    116
          Id.
    117
          Id. at 8.

                                            58
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20   Page 65 of 274




      140. It is difficult to overstate how egregious this misconduct was. In order

to place anybody on its “good guy” list, which would effectively exempt that

customer from the normal screening that all customers must undergo, HBL had to

affirmatively determine that the customer presented very low risk. But the SDN list

is the opposite of “good guys.” It consists of entities and individuals who the U.S.

government has determined must be sanctioned because of their close associations

with terrorism and/or crime. U.S. persons are generally prohibited from dealing

with anybody on the SDN list, precisely because listed persons present a high risk

of harming the United States.

      141. An examination of the SDN list for Pakistan shows that it is

overwhelmingly based on terrorist designations. A search of the sanctions list,

filtered by country, yields 144 Pakistani entries currently on the list. The vast

majority of the 97 listed individuals (83 of them) are listed for terrorism reasons

under the Specially Designated Global Terrorist program. In many cases, the

entries on the list include remarks disclosing the terrorist organizations that these

individuals are associated with. Those entities include al-Qaeda, the Haqqani

Network, and LeT—which are also on the SDN list as entities. Indeed, of the 47

listed entities, 36 (about 77 percent) are listed for terrorist reasons.

      142. NYDFS found that HBL’s improper construction of the “good guy”

list led to significant evasion of terror sanctions. For example, HBL permitted a

                                           59
  Case 1:20-cv-04322-LGS-OTW           Document 1   Filed 06/05/20    Page 66 of 274




transaction that involved the leader of a Pakistani terrorist group, a transaction that

involved a known international arms dealer, and an individual on the Specially

Designated Global Terrorist list.118

         143. These were not isolated incidents. Instead, NYDFS found that HBL

did not screen 4,000 transactions for AML and other risks because the account

holders were on HBL’s “good guy” list, and that “apparent improper inclusion on

the so-called ‘good guy’ list” had allowed “at least $250 million” to flow through

the New York Branch “without any screening.”119 Those were only the

transactions that NYDFS found; doubtless, there were more.

         144. Given the large number of terrorist customers who banked with HBL,

see infra ¶¶ 162-193) the fact that HBL’s customer-base was concentrated in

Pakistan where most members of the al-Qaeda Terror Syndicate are based, and the

fact that most Pakistani SDNs are designated for terrorist purposes, it is

overwhelmingly likely that HBL placed members or agents of the Syndicate on the

“good guy” list, allowing those agents’ transactions to proceed with no meaningful

scrutiny.

         145. In addition to allowing SDNs to do business using the “good guy” list,

it is also highly likely that HBL misused the “good guy” list to authorize


   118
         Id.
   119
         Id.

                                           60
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20    Page 67 of 274




transactions by others who were not SDNs, but were agents of the Syndicate. That

conduct, too, is culpable because, as explained above, HBL had to affirmatively

place any customer on the “good guy” list, which means it had to knowingly and

intentionally decide not to screen that customer’s transactions.

         146. Based on the foregoing, HBL used the “good guy” list to facilitate at

least several million dollars of financial transactions for the benefit of members

and agents of al-Qaeda, the Haqqani Network, and LeT. None of these transactions

were “routine” in any sense. Rather, they were the product of special rules and

practices HBL followed for its terrorist clients. In the words of NYDFS, HBL

“open[ed] the door to the financing of terrorist activities that pose a grave threat

to” Americans and put “the safety of our nation at risk.”120

         147. This was confirmed in part by a February 2007 speech by India’s

National Security Advisor, who publicly stated that HBL supported terrorist groups

like LeT and served as a conduit “through which such funds find their way to

terrorist organisations,” and had facilitated millions of dollars in terrorist

finance. 121



   120
      NYDFS, DFS Fines Habib Bank and its New York Branch $225 Million for Failure to
Comply with Laws and Regulations Designed to Combat Money Laundering, Terrorist
Financing, and Other Illicit Financial Transactions (Sept. 7, 2017).
   121
       IANS, Text of National Security Adviser’s Speech in Munich, RxPG News (Feb. 15,
2007), http://www.rxpgnews.com/india/Text-of-national-security-advisers-speech-in-
Munich_printer.shtml.

                                            61
  Case 1:20-cv-04322-LGS-OTW               Document 1   Filed 06/05/20   Page 68 of 274




         148. Second, HBL also shielded suspicious terrorist-related transactions

from review by engaging in “wire-stripping,” which is when the name of a

transaction’s beneficiary is withheld in order to obscure it. Identified instances of

wire-stripping included a payment involving a Chinese weapons manufacturer

subject to U.S. non-proliferation sanctions, which aided in the concealment of a

sale of explosives. Another example included a SWIFT payment message that

omitted the name of the recipient—who was on the SDN list, and was receiving

11,226,796 Pakistani rupees (approximately $107,000).122

         149. HBL intentionally engaged in “wire-stripping” to obscure the terrorist

affiliations of open and notorious accountholders affiliated with al-Qaeda, the

Haqqani Network, and Lashkar-e-Taiba.

         150. This wire-stripping was part of a broader pattern of rendering

transactions opaque. NYDFS found more than 13,000 international wire

transactions through the SWIFT system that omitted essential information, such as

the identities of the ultimate originator and beneficiary of each transaction.

Additionally, on numerous occasions, multiple SWIFT payment messages were

improperly aggregated into a single message, thereby preventing screening for

suspicious or prohibited activity. 123


   122
         See Notice, supra note 107, at 7-8.
   123
         See id.

                                               62
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 69 of 274




         151. Given the large number of terrorist customers who banked with HBL,

see infra ¶¶ 162-193), the fact that HBL’s customer-base was concentrated in

Pakistan, where most members of the al-Qaeda Terror Syndicate are based, the fact

that terrorist customers are highly likely to request or require wire stripping and

other measures to conceal their transactions, the fact that HBL stripped transaction

data on behalf of known criminals and SDNs, and the fact that more than 13,000

transactions had incomplete SWIFT messages, it is overwhelmingly likely that

HBL engaged in wire-stripping or otherwise concealed source or beneficiary

information for members or agents of the Syndicate, including al-Qaeda, the

Haqqani Network, and LeT, allowing these agents to obtain and move money

without detection.

         152. Third, HBL shielded suspicious terrorism-related transactions from

review by adopting a policy of affirmatively choosing not to report suspicious

terrorism-related transactions.

         153. NYDFS identified nearly 200 additional instances of suspicious

activity that were never identified or reported. Some of these cases involved

customers or beneficiaries who had been reported in the media as terrorist

financiers, black market traders, drug traffickers, smugglers, and fraudsters.124

When these transactions resulted in alerts, HBL staff apparently identified them as


   124
         Id. at 10.

                                          63
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 70 of 274




“false positives” and knowingly permitted them to proceed, even when the

transactors were on AML blacklists or publicly available lists of most wanted

criminals. 125

         154. Based on HBL’s use of the “good guy” list to shield transactions by

designated terrorists from OFAC screening, actively stripping data from its

transactions to conceal the identities of counter-parties, and its willful refusal to

report suspicion transactions, NYDFS enumerated 53 separate charges against

HBL, and sought civil monetary penalties in an amount up to $629,625,000.

         155. HBL settled with NYDFS by agreeing to pay a penalty of $225

million, and to surrender its license in New York, wind up its business there, and

close its branch. In the consent order, the Department’s findings from the Notice

were formalized.126 In a statement issued contemporaneously with the settlement,

DFS explained that it would “not tolerate inadequate risk and compliance functions

that open the door to the financing of terrorist activities that pose a grave threat

to the people of this State and the financial system as a whole.”127 NYDFS also

refused to “stand by and let Habib Bank sneak out of the United States without



   125
         Id.
   126
      See Consent Order Under New York Banking Law §§ 39, 44 and 605, In re: Habib Bank
Limited (2017), https://www.dfs.ny.gov/system/files/documents/2020/03/ea170907_habib.pdf.
   127
      NYDFS, DFS Fines Habib Bank and its New York Branch $225 Million for Failure to
Comply with Laws and Regulations Designed to Combat Money Laundering, Terrorist
Financing, and Other Illicit Financial Transactions (Sept. 7, 2017) (emphasis added).

                                           64
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20     Page 71 of 274




holding it accountable for putting the integrity of the financial services industry

and the safety of our nation at risk.”128

         156. These American investigations were not the only relevant findings of

misconduct. In July 2019, as a transparency measure, State Bank of Pakistan

(“SBP”), HBL’s home regulator, began publishing online summaries of major

enforcement actions. In August 2019, SBP fined HBL 320.08 million rupees

(approximately $2,000,000) for deficiencies relating to AML and combating the

financing of terrorism. 129 Two months later, HBL was fined 35.62 million rupees

(approximately $220,000) for deficiencies relating to the areas of foreign trade

operations and customer due diligence.130 The month after that, HBL was fined

25.984 million rupees (approximately $160,000) for violations in the area of

customer due diligence and knowing your customer.131 And in January 2020, HBL

was fined another 12.8 million rupees (approximately $80,000) for similar

violations. 132 In sum, in less than one year and after aggressive regulatory action



   128
         Id. (emphasis added).
   129
       See State Bank of Pakistan, Detail of Significant Enforcement Actions by SBP August-
2019, http://www.sbp.org.pk/BS/2019/DSEA-Aug-19.pdf.
   130
       See State Bank of Pakistan, Detail of Significant Enforcement Actions by SBP October-
2019, http://www.sbp.org.pk/BS/2019/DSEA-Oct-19.pdf.
   131
       See State Bank of Pakistan, Detail of Significant Enforcement Actions by SBP November-
2019, http://www.sbp.org.pk/BS/2019/DSEA-Nov-19.pdf.
   132
       See State Bank of Pakistan, Detail of Significant Enforcement Actions by SBP January-
2020, http://www.sbp.org.pk/BS/2020/DSEA-Jan-20.pdf.

                                             65
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20   Page 72 of 274




by NYDFS, SBP has fined HBL at least 395 million rupees (approximately $2.5

million) for HBL’s misconduct, much of which was terrorism-related.

      157. In February 2020, the Central Bank of the United Arab Emirates

announced that it had opened its own investigation into misconduct at HBL’s

branch there. As of the filing of this Complaint, that investigation remains ongoing.

      158. The documented noncompliance at HBL was not a product of mere

negligence. Instead, HBL chose to allow dangerous terrorist financing despite

multiple warnings from government regulators that clearly identified the risk to the

bank. That is why HBL was eventually effectively barred from the United States

and forced to pay hundreds of millions of dollars in penalties.

      159. As noted, HBL was processing terrorist financing transactions as of at

least 2006 and continued to do so despite ongoing government scrutiny and

asserted efforts to improve. The misconduct documented by U.S. regulators in

2015 and 2017 was but a small part of more than a decade of egregious criminal

conduct. Indeed, it is highly likely that the volume of illicit terror financing

transactions, including through HBL’s New York Branch, in the time period

preceding the attacks in this case was even greater than it was in 2015 because by

then, the bank was purportedly taking steps to clean up its act. Its earlier

transactions, when it faced less regulatory scrutiny, were likely to be even worse.




                                           66
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 73 of 274




      160. Based on the NYDFS findings and publicly available information

about the identity of HBL’s terrorist customers, Plaintiffs allege that HBL

processed at least several million U.S. dollars in transactions for agents or

operatives of the al-Qaeda Terror Syndicate.

HBL Knowingly Aided Notorious Terrorists Affiliated with al-Qaeda’s
Syndicate

      161. HBL knowingly aided notorious terrorists affiliated with the al-Qaeda

Terror Syndicate. As found by NYDFS, HBL put at least 154 individuals on the

SDN list on its “good guy” list, and that “improper inclusion” resulted in “at least

$250 million in transactions” flowing through the bank “without any screening,”

even though the United States was determined to block those transactions. As

explained above, these “good guys” included agents or operatives of al-Qaeda, the

Haqqani Network, and LeT, all of which are members of the al-Qaeda Terror

Syndicate.

      162. A deeper examination reveals that HBL has knowingly opened

accounts for and done business with many terrorists affiliated with al-Qaeda’s joint

venture. Some notable names include: Jalaluddin Haqqani (founder of the FTO

Haqqani Network), who advertised his account at HBL as a destination for

donations in the 1990s; Osama bin Laden (leader of al-Qaeda, who held an account

at HBL that was frozen by SBP in 2003); and Hafiz Muhammad Saeed and Zafar

Iqbal, the co-founders of designated FTO LeT, both of whom are on the SDN list.
                                          67
  Case 1:20-cv-04322-LGS-OTW              Document 1       Filed 06/05/20     Page 74 of 274




         163. HBL also held accounts for, and knowingly circumvented U.S. and

U.N. sanctions to benefit, the al-Qaeda front known as the Al Rashid Trust, also

known as the Aid Organization of the Ulema, and Al Akhtar Trust. According to

the U.S. Treasury Department, Al Rashid Trust was among the first organizations

designated as a terrorist financier and facilitator. It has been raising funds for the

Taliban since 1999. Al Rashid Trust has also funded al-Qaeda, and its officers are

reported to be key leaders of al-Qaeda. Al Rashid Trust is also closely linked to

JeM, another FTO closely associated with al-Qaeda.

         164. Al Rashid Trust and other fronts and groups used a British internet

site called the Global Jihad Fund, which openly associated itself with Osama bin

Laden, to publish bank account information and solicit support to facilitate the

growth of various jihad movements around the world by supplying them with

funds to purchase their weapons. The United States designated Al Rashid Trust an

SDGT in 2001, 133 and the United Nations listed it as a financial facilitator of

terrorists in October 2001. At the time of its designation, the United Nations stated

that “Al Rashid Trust was listed . . . as being associated with Al-Qaida, Usama bin

Laden or the Taliban for participating in the financing, planning, facilitating,

preparing or perpetrating of acts or activities by, in conjunction with, under the


   133
        See U.S. Dep’t of the Treasury, Protecting Charitable Organizations – A,
https://www.treasury.gov/resource-center/terrorist-illicit-finance/Pages/protecting-
charities_execorder_13224-a.aspx.

                                                68
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20     Page 75 of 274




name of, on behalf or in support of Al-Qaida.”134 Over time, Al Rashid Trust’s

aliases have been added to the SDN list as well.

         165. In July 2006, the United Nations published information indicating Al

Rashid Trust held at least two accounts at HBL’s Foreign Exchange Branch with

account numbers 055017-41 (for U.S. dollars) and 065001-38 (for British pounds).

The Global Jihad Fund website permitted donors to direct their contributions to Al

Rashid Trust to its accounts at HBL, including its U.S. dollar account numbered

055017-41.

         166. In November 2009, the European Union amended its designations of

certain terrorist groups pursuant to “Council Regulation (EC) No 881/2002

imposing certain specific restrictive measures directed against certain persons and

entities associated with Usama bin Laden, the Al-Qaida network and the

Taliban.” 135 The amended designation of Al Rashid Trust stated that it had

“[o]perations in Afghanistan” and had “two account numbers in Habib Bank Ltd.,

Foreign Exchange Branch, Pakistan: 05501741 and 06500138.”136



   134
      U.N. Security Council, Al Rashid Trust, https://www.un.org/securitycouncil/sanctions/
1267/aq_sanctions_list/summaries/entity/al-rashid-trust (quotation marks omitted).
   135
       Official Journal of the European Union, Commission Regulation (EC) No 1102/2009 of
16 November 2009 amending for the 116th time Council Regulation (EC) No 881/2002
imposing certain specific restrictive measures directed against certain persons and entities
associated with Usama bin Laden, the Al-Qaida network and the Taliban, https://eur-
lex.europa.eu/legal-content/EN/TXT/HTML/?uri=CELEX:32009R1102&from=EN.
   136
         Id.

                                             69
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20     Page 76 of 274




         167. HBL also held accounts for Al Rashid Trust’s successor, Al Akhtar

Trust, which openly solicited donations through its website identifying HBL

account numbers to which donors could contribute for “obligatory jihad.”

         168. HBL permitted Al Rashid Trust and/or its successor, Al Akhtar Trust,

to use HBL accounts to raise money to support al-Qaeda. Even though the United

Nations had ordered those accounts frozen, HBL un-froze the accounts to allow Al

Rashid Trust, through an alias, to use them to raise funds for Jamaat-ud-Dawa, a

front organization for LeT. On July 2, 2008, the U.S. Department of the Treasury

amended its terrorist designation for Al Rashid Trust to include the alias it used to

bank with HBL, saying “[w]e are very concerned about designated entities

reconstituting themselves under new names in attempts to circumvent sanctions

and continue funneling money to terrorist activities.” 137 On December 9, 2008,

India asked the U.N. to amend its designation as well. The U.N. did so on

December 10, 2008. Over the next 24 hours, HBL, which knew since July 2008

that Al Rashid Trust was using an alias, allowed it to withdraw nearly all of its

funds from the HBL accounts (Pakistani rupees worth over $40,000 USD), leaving

a pittance behind for the bank to symbolically freeze. Thus, over an eight-year




   137
        U.S. Dep’t of the Treasury, Treasury Identifies New Aliases of Al Rashid and Al-Akhtar
Trusts Pakistan-Based Trusts Previously Designated for Supporting al Qaida (July 2, 2008),
https://www.treasury.gov/press-center/press-releases/Pages/hp1065.aspx.

                                               70
  Case 1:20-cv-04322-LGS-OTW              Document 1      Filed 06/05/20    Page 77 of 274




period, HBL twice flouted U.S. and U.N. designations of one of the most notorious

and longstanding al-Qaeda fronts. 138

         169. HBL also opened an account for another “trust,” Al Rehmat Trust,

and maintained the account for years after the U.S.-designated Al Rehmat Trust an

FTO and operational front for JeM. The account was managed by Ghulam

Murtaza, a terrorist operative and close associate of the founder and leader of JeM,

Masood Azhar. Any diligence conducted on Al Rehmat Trust revealed: (1)

Murtaza’s close ties to Azhar; (2) Azhar and Murtaza were co-heads of Al Rehmat

Trust; (3) the Trust was an operational front for JeM; and (4) the Trust and Azhar

were U.S.-designated terrorists.

HBL Assists al-Qaeda-Affiliated Terrorist Organizations on Behalf of the ISI

         170. HBL acts as the unofficial bank of the Pakistani ISI, providing

funding and financial services to the ISI’s terrorist proxies in the region—all of

which are also key affiliates of al-Qaeda, and members of the al-Qaeda Terror

Syndicate.

         171. The ISI is an intelligence agency of Pakistan. Its membership consists

primarily of military officers drawn from the service branches of the Pakistani

military, and it also recruits civilians. As a matter of practice, the ISI has operated




   138
         The Indian Express, JuD bank accounts ‘cleaned out’, Pak delay blamed (Dec. 20, 2008).

                                               71
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20    Page 78 of 274




independently of Pakistan’s civilian government, and pursues its own separate

vision of Pakistan’s national interests.

      172. This matters because the official policy of the Pakistani government,

which the government abides by, is to condemn terrorism in all its forms, including

attacks against U.S. and Coalition forces. Indeed, the Pakistani government sees

itself as an ally to the United States in the fight against terrorism, and recognizes

that terrorism violates basic legal norms.

      173. The ISI (or perhaps certain elements within the ISI) by contrast, has a

rogue posture towards terrorists that is at odds with Pakistani law and policy, and

violates both international law and U.S. law. Multiple governments—including the

United States—have accused the ISI of supporting terrorist organizations,

including al-Qaeda, the Taliban (including the Haqqani Network), and LeT, among

others. This support takes the form of resources, intelligence, and protection.

      174. The ISI has also played a role in a significant number of terrorist

attacks, including (without limitation) the 2001 attack on the Indian Parliament

(carried out by LeT and JeM), the 2006 Varanasi, India bombings (carried out by

LeT), a July 2008 suicide bombing of the Indian embassy in Kabul (carried out by

the Haqqani Network), the November 2008 Mumbai attacks (carried out by LeT),

the 2009 attack on CIA base Camp Chapman in Khost, Afghanistan (carried out by

al-Qaeda, the Pakistani Taliban, and the Haqqani Network), and many attacks in

                                           72
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20   Page 79 of 274




Kashmir. In these cases and others, investigators have identified evidence linking

the ISI to the attacks, typically by providing logistical support and resources to the

attackers. In at least two of these attacks (the Mumbai attacks and the Camp

Chapman attack), a significant number of Americans were killed by the terrorists.

         175. The ISI supports terrorists operating in Afghanistan for multiple

reasons. First, it perceives that the Taliban is the only political group in

Afghanistan that is likely to be an ally to Pakistan, and so it seeks to empower the

Taliban and advance its agenda. This support goes back at least as far as the 1990s,

when a number of high-level Pakistani army officers and ISI agents joined the

Taliban. The support continued after the September 11 attacks, when the ISI

airlifted multiple key members of the Taliban into Pakistan before U.S. troops

entered Afghanistan. It persisted in the ensuing decades, when the ISI provided

resources and safe haven to the Taliban, including the Haqqani Network, to act as

its proxies in Afghanistan. Over time, the collaboration between the ISI and terror

groups—especially the Haqqani Network—has only grown deeper, as the Haqqani

Network has undermined the Afghan government on the ISI’s behalf, and the ISI

has provided protection and resources to the Haqqani Network.139 Such




   139
       Marvin G. Weinbaum & Mehar Babbar, The Tenacious, Toxic Haqqani Network, MEI
Policy Focus 2016-23, at 6-7 (Sept. 2016).

                                           73
  Case 1:20-cv-04322-LGS-OTW           Document 1       Filed 06/05/20    Page 80 of 274




collaboration between the ISI and the Taliban (including the Haqqani Network)

continues today.

         176. Second, the ISI believes that terrorist groups can act as useful proxies

to counter Indian and American influence in the region. The ISI perceives

Pakistan’s interests in the region to be zero-sum versus India, and understands that

terrorist groups can undermine India’s ability to grow its influence or limit

Pakistan’s. It also perceives the United States as an ally of India’s.

         177. The ISI has long turned to HBL to help in its illegal efforts. For

example, in the early 1990s, ISI operatives distributed approximately 140 million

Pakistani rupees to the political opponents of former Pakistani Prime Minister

Benazir Bhutto, in a scandal now known as “Mehrangate.” Younis Habib, a central

figure in the scandal who was both the head of Mehran Bank and the chairman of

HBL stated in his formal apology that “the embezzlements were named the

‘Mehrangate Scandal’, although the money was actually drawn from Habib Bank

Limited.” 140

         178. In the early 2000s, HBL assisted the ISI by flooding currency markets

in Nepal with counterfeit Indian notes. HBL used its branches in Nepal (where

Indian currency is legal tender, but currency controls were weak) to distribute fake


   140
       Express Tribune, 1990 Elections Scandal: Habib Says Then Army Chief Used Him (Mar.
8, 2012), https://tribune.com.pk/story/347218/asghar-khan-petition-former-mehran-bank-chief-
admits-distributing-rs400m/.

                                             74
  Case 1:20-cv-04322-LGS-OTW             Document 1      Filed 06/05/20     Page 81 of 274




notes into the economy in an effort to undermine India’s position. Multiple

Pakistani embassy staff, believed to be connected to the ISI, were arrested carrying

the fake notes.

         179. In 2004, the ISI used these same HBL bank branches to provide

financial support to Nepalese Maoist terrorists, who were actively carrying out

attacks in India. According to Indian intelligence reports at the time, “Habib Bank

is identified as a funding agency of the ISI.” 141

         180. In 2006, HBL attempted to open branches in India itself. That effort

was stymied by India’s intelligence agencies, which “immediately red flagged the

application, as HBL is a well known front for laundering terror money and has a

history of facilitating money movements for terror groups.”142

         181. In the Indian National Security Advisor’s 2007 speech, discussed

supra ¶ 147, he observed that “certain official agencies across the border”—a

thinly veiled reference to the ISI—provide funds to terrorist organizations

including LeT in amounts in the millions. One of the “[c]onduits through which

such funds find their way to terrorist organisations includes established banking

channels such as the Habib Bank in Pakistan.”



   141
         Pervez Iqbal Siddiqui, Lethal Combo, Maoist-Naxal Nexus, Times of India (Nov, 19,
2004).
   142
      Abhinandan Mishra, UPA Minister Tried to Promote Pak Bank Despite Security
Concerns, Sunday Guardian (July 30, 2017).

                                               75
  Case 1:20-cv-04322-LGS-OTW              Document 1      Filed 06/05/20    Page 82 of 274




         182. As noted above, the ISI’s sponsorship of terrorism against Americans,

including the provision of resources in preparation for attacks, continued well after

2007 (with, for example, its role in the 2008 Mumbai attack, and the 2009 Camp

Chapman Attack). Indeed, the ISI’s anti-American intentions in Afghanistan were

so open and notorious that, by 2011, Chairman of the Joint Chiefs of Staff Admiral

Michael Mullen stated that “[t]he Haqqani Network, … acts as a veritable arm of

Pakistan’s Inter-Services Intelligence agency.”143 Although Admiral Mullen’s

choice of words was somewhat hyperbolic, his statement illustrated clearly that the

ISI (or at least elements within it) were committed to supporting anti-American

terrorism in violation of Pakistani law and policy.

         183. Based on the ISI’s ongoing provision of resources to terrorists,

Plaintiffs allege that the ISI continued to use HBL after 2007 and to the present day

as a conduit to send funds to terrorist organizations, and that HBL continued to

cooperate with the ISI by delivering funds to terrorists.

         184. In Afghanistan, the ISI supports the Taliban, Haqqani Network, and

LeT, among others. By permitting the ISI to use HBL as a conduit and mechanism

for funding these groups, HBL permitted significant amounts of money—likely

millions of dollars—to flow to these members of the al-Qaeda Terror Syndicate.




   143
         Dawn (Pakistan), Haqqani Network is a “Veritable Arm” of ISI: Mullen (Sept. 22, 2011).

                                               76
  Case 1:20-cv-04322-LGS-OTW            Document 1       Filed 06/05/20     Page 83 of 274




HBL Provided Banking Services to Notorious Drug Trafficker and Terrorist
Dawood Ibrahim, Who Funded and Assisted Members of the al-Qaeda Terror
Syndicate

         185. HBL helped Dawood Ibrahim—who is on the SDN list as an SDGT

because of his ties to al-Qaeda—as well as his al-Qaeda aligned drug empire,

known as D-Company, to launder drug money profits. This money laundering is

inextricably tied with al-Qaeda and Taliban terrorist finance, and known to be so,

because the Taliban have a monopoly on the opium trade in Afghanistan, and

recycle their drug profits into the activities of the al-Qaeda Terror Syndicate.

Ibrahim also provided funds and money laundering services to LeT.

         186. Ibrahim is originally from Mumbai, India, which is where he created

the D-Company crime syndicate in the 1990s. He is wanted in India on charges of

murder, extortion, targeted killing, drug trafficking, and terrorism.

         187. Ibrahim’s earliest terrorist activity is believed to be his participation in

the 1993 bombings of the Bombay Exchange, a series of coordinated attacks that

involved a dozen bombs and killed hundreds. According to the Congressional

Research Service, this attack was carried out with support from the ISI. 144

         188. Around this time, Ibrahim moved his operations from Mumbai to

Pakistan, where he deepened his ties with both the ISI and LeT. According to U.S.



   144
      See John Rollins et al., International Terrorism and Transnational Crime: Security
Threats, U.S. Policy, and Considerations for Congress, C.R.S. R41004, at 15 (Jan. 5, 2010).

                                              77
  Case 1:20-cv-04322-LGS-OTW           Document 1       Filed 06/05/20    Page 84 of 274




government reports, D-Company began to finance LeT’s activities, recruit for LeT,

and share smuggling routes with LeT and al-Qaeda.145

         189. In 2003, the U.S. Treasury Department designated Ibrahim as an

SDGT under Executive Order 13224, freezing his assets in the United States and

prohibiting U.S. persons from transacting with him. At the time of the designation,

the Treasury Department stated that it was “calling on the international community

to stop the flow of dirty money that kills. For the Ibrahim syndicate, the business of

terrorism forms part of their larger criminal enterprise, which must be dismantled.”

The government further explained that Ibrahim “has found common cause with Al

Qaeda, sharing his smuggling routes with the terror syndicate and funding attacks

by Islamic extremists aimed at destabilizing the Indian government,” including

LeT. 146 Ibrahim and D-Company were further designated as Significant Foreign

Narcotics Traffickers under the Foreign Narcotics Kingpin Designation Act.

         190. Since his designation in 2003, Ibrahim has continued to engage in

terrorism and terrorist financing in the region. Specifically, Ibrahim and

D-Company provide funds to terrorist organizations (including al-Qaeda and LeT),

and share their smuggling routes with terrorist organizations (including the Taliban




   145
         Id. at 15-16.
   146
       U.S. Dep’t of the Treasury, U.S. Designates Dawood Ibrahim as Terrorist Supporter (Oct.
16, 2003).

                                             78
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 85 of 274




and LeT) seeking to move people, weapons, commodities, and drugs undetected.

Ibrahim is also reported to be involved in the direct planning of terrorist attacks

with LeT leaders and ISI officers.

       191. Ibrahim and D-Company have close ties to HBL. A former HBL

Senior Vice President, Javed Miandad—whose son married Ibrahim’s daughter—is

known to have provided banking channels to Ibrahim beginning in the 1990s.

D-Company has also invested heavily through various shell companies in HBL’s

subsidiary Habib Metropolitan Financial Services, an equity brokerage firm in

Pakistan. Ibrahim and D-Company continue to use HBL in their terror financing

activities to this day.

       192. It is highly likely that transactions involving Ibrahim and/or

D-Company were one of the reference points in NYDFS’s 2017 Notice, which

noted that HBL’s New York Branch allowed nearly 200 instances of suspicious

activity, some of which were correlated with “negative media associated with the

parties and/or their beneficial owners, including allegations of terrorist financing,

black market trading, drug trafficking, smuggling, and fraud.” Ibrahim and

D-Company have been publicly accused of all of these.

       193. Ibrahim and D-Company are among the most notorious criminals in

all of India. By providing banking services to Ibrahim and D-Company, in




                                          79
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20    Page 86 of 274




violation of U.S. sanctions laws, HBL knowingly and substantially contributed to

the al-Qaeda Terror Syndicate’s attack capabilities.

                                         ***

      194. The financial transactions HBL processed for each of its terrorist

customers, and the financial services it provided them, were not “routine.” As a

threshold matter, HBL staff and executives ignored numerous and obvious red

flags with respect to their terrorist customers and thus failed to take preventive and

corrective actions mandated by HBL’s internal policies and Pakistani law. HBL

also created the “good guy” list in order to excuse certain terrorist customers from

its standard diligence procedures, contrary to its own policies and SBP rules. These

deviations from policy and legal requirements cannot be characterized as “routine”

banking behavior.

      195. Moreover, the purpose of these transactions was to provide illegal

support to terrorists engaged in extreme violence—an act that violates U.S.

criminal law and cannot ever properly be regarded as routine.

      B. HBL Acted With the Requisite Scienter for Primary and Secondary
         Liability

      196. HBL knew or was deliberately indifferent to each of the following

facts: (1) that it was providing financial services and funds to terrorists, including

FTOs, in the al-Qaeda Terror Syndicate; (2) that these terrorists and terrorist

organizations were actively engaged in acts of international terrorism directed
                                          80
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20   Page 87 of 274




against Americans in the region; (3) that HBL’s provision of financial services and

funds to these terrorists and terrorist organizations served an important role in

financing their operations and facilitated violence against Americans in the region;

and (4) that providing financial services to these terrorist and terrorist groups was

illegal precisely because it would facilitate terrorist violence.

      197. HBL knew or was deliberately indifferent to the fact that it was

providing financial services and facilitating the flow of funds to terrorists and

FTOs in the al-Qaeda Terror Syndicate. HBL’s own AML and Counter

Terrorist-Finance (“CTF”) policies included comprehensive Know Your Customer

(“KYC”) and customer due diligence (“CDD”) procedures. These policies were

consistent with requirements promulgated by HBL’s home regulator, SBP.

Together, SBP regulations and HBL’s policies established a system that required

HBL to conduct extensive diligence on customers like those discussed in this

Complaint, who were by definition “high risk.”

      198. As set forth in detail below, such diligence surely revealed that the

terrorist operatives and groups at issue in this Complaint were terrorists, and so

HBL either provided financial services to people and entities that it knew were

terrorists—or else its detailed and expansive policies and procedures for customer

due diligence were all a sham, demonstrating HBL’s deliberate indifference to the

nature and consequences of its actions. Either way, HBL acted with scienter,

                                           81
  Case 1:20-cv-04322-LGS-OTW          Document 1     Filed 06/05/20    Page 88 of 274




opening its doors and accounts to the world’s worst terrorist and criminals, with no

effort to prevent a flood of terrorist finance.

         199. This point is especially clear in the context of the “good guy” list.

HBL represented to NYDFS that it had conducted appropriate diligence in placing

customers on the “good guy” list. In the course of that diligence, HBL would have

learned about its terrorist customers—but it nevertheless included at least one

leader of a Pakistani terror organization on the list, along with 153 other SDNs.

The creation of the list thus establishes HBL’s knowledge or deliberate

indifference to the nature of its customers, and also reflects HBL’s agreement to

join the al-Qaeda Terror Syndicate’s conspiracy to raise and transfer funds that

would foreseeably be used to kill Americans in Afghanistan.

         200. To provide more detail about HBL’s policies and procedures: In 2009,

SBP issued one of many “Circulars” to all banks in Pakistan. Annexure I to

Circular Letter No. 7 detailed KYC and CDD requirements. SBP explained: “With

the view to preserve integrity and safety of the financial system, it is expedient to

prevent the possible use of the banking sector for money laundering and terrorist

financing.”147




   147
       State Bank of Pakistan, ANNEXURE-I, Attachment to BPRD Circular Letter No.07 of
2009, at 1 (2009), http://www.sbp.org.pk/bprd/2009/Annexure-I-CL7.pdf.

                                           82
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20   Page 89 of 274




         201. The baseline requirement was that “Banks / DFIs shall formulate and

put in place, a comprehensive CDD / KYC policy duly approved by their Board of

Directors and in case of branches of foreign banks, approved by their head office,

and cascade the same down the line to each and every business location /

concerned officers for strict compliance.”148 Customer due diligence was to be

conducted when, among other things, “(a) establishing business relationship; (b)

conducting occasional transactions above rupees one million whether carried out in

a single operation or in multiple operations that appear to be linked; (c) carrying

out occasional wire transfers (domestic / cross border) regardless of any threshold;

(d) there is suspicion of money laundering / terrorist financing.”149

         202. Annexure I was not simply concerned with surface level diligence, but

also required banks to “identify the beneficial ownership of accounts / transactions

by taking all reasonable measures” and “determine whether the customer is acting

on behalf of another person, and should then take reasonable steps to obtain

sufficient identification data to verify the identity of that other person.”150 For any

customer who was a “legal person,” banks “are required to take reasonable

measures to (i) understand the ownership and control structure of the customer (ii)



   148
         Id.
   149
         Id.
   150
         Id. at 2.

                                          83
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 90 of 274




determine that the natural persons who ultimately own or control the customer.

This includes those persons who exercise ultimate effective control over a legal

person or arrangement.” 151

         203. SBP also “advised that CDD / KYC is not a one time exercise to be

conducted at the time of entering into a formal relationship with customer / account

holder. This is an on-going process for prudent banking practices.” 152

         204. All of the above was considered standard diligence. SBP made clear

that bank AML/CTF policies should provide for “Enhanced Customer Due

Diligence depending upon the customers’ background, country of origin, public or

high profile position, nature of business, etc.” 153 SBP’s Circular stated: “Banks /

DFIs shall conduct enhanced due diligence when: (a) dealing with high-risk

customers, business relationship or transaction including the following; . . . legal

persons or arrangements including non-governmental organizations (NGOs) / not-

for-profit organizations (NPOs) and trusts / charities . . . high net worth customers

with no clearly identifiable source of income; and . . . customers holding public or

high profile positions.” 154




   151
         Id.
   152
         Id. at 3.
   153
         Id. at 1.
   154
         Id. at 4.

                                          84
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20    Page 91 of 274




         205. Under SBP’s requirements, if a bank at any time was “not able to

satisfactorily complete required CDD / KYC measures including identity,

beneficial ownership or information on purpose and intended nature of business

relationship,” then the banking relationship was to be terminated and the

suspicious behavior reported to authorities. 155

         206. SBP reiterated these requirements in two documents circulated to all

banks in Pakistan in 2012. The first document recommended that “enhanced due

diligence” be performed on suspicious customers, which could “include . . .

Obtaining additional information on the customer (occupation, volume of assets,

address, information available through public databases, internet, etc).”156

         207. The second document again required that banks engage in ongoing

monitoring of “all business relations with customers,”157 and stated: “Banks/ DFIs

shall not provide any banking services to proscribed entities and persons or to

those who are associated with such entities and persons, whether under the




   155
         Id. at 5.
   156
       State Bank of Pakistan, AML/CFT Guidelines on Risk Based Approach for Banks & DFIs,
at 5 (2012), http://www.sbp.org.pk/bprd/2012/C2-BRA-Guidelines.pdf. (Emphasis added).
   157
        State Bank of Pakistan, Anti-Money Laundering and Combating the Financing of
Terrorism (AML/CFT) Regulations for Banks & DFIs, at 7 (Sept. 13, 2012),
http://www.sbp.org.pk/bprd/2012/C2-AML-CFT-Regulations.pdf.

                                             85
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20    Page 92 of 274




proscribed name or with a different name. The banks/DFIs should monitor their

relationships on a continuous basis and ensure that no such relationship exists.”158

         208. SBP also issued specific conditions for banking relationships with

NGOs and “charities,” including a requirement to “conduct enhanced due diligence

(including obtaining senior management approval) . . . to ensure that these

accounts are used for legitimate purposes and the transactions are commensurate

with the stated objectives and purposes.”159 Furthermore, “individuals who are

authorized to operate these accounts and members of their governing body should

also be subject to comprehensive CDD. Banks/DFIs should ensure that these

persons are not affiliated with any proscribed entity, whether under the same name

or a different name.”160

         209. Finally, SBP contemplated that HBL and other banks would monitor

newspapers and other publications for references to the bank’s accounts: “In case

of advertisements through newspapers or any other medium, especially when bank

account number is mentioned for donations, Banks/DFIs will ensure that the title of

the account is the same as that of the entity soliciting donations.” 161 Given that

“enhanced due diligence” could include internet searches on bank customers, it is


   158
         Id. at 8.
   159
         Id. at 9.
   160
         Id. at 10.
   161
         Id.

                                          86
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 93 of 274




likely that HBL reviewed references to its own accounts in publications and on the

internet as well. Those searches would reveal that HBL’s customers were notorious

terrorists. More broadly, SBP’s regulations put HBL on notice that terror financing

would cause terrorist violence in the region.

      210. On paper, in internal policy manuals, HBL represented that it had

AML and CTF procedures consistent with Pakistani law. These included rules

requiring the bank to know its customers—which required it to “establish true

identity and bona fides or prospective customers or users of the Bank’s

facilities”—and to “risk assess” each customer. Among other things, these policies

and procedures show that HBL knew what it was supposed to do to prevent the

financing of terrorism and terrorist attacks, and why it was supposed to do them.

      211. In or around 2004, HBL published a KYC manual that included,

among other things, a list of “Types of Clients Requiring Prior Approval of

Business Group Head.” Those clients included “Institutions / Individual whose

association with Habib Bank could be considered controversial.”

      212. HBL’s 2004 policy manual contemplated that HBL staff would be

“responsible for interviewing the prospective client” to “obtain sufficient

information on the reputation of the client, legitimacy of the business, and nature

and source of activity expected in the account.”




                                         87
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 94 of 274




      213. The manual also detailed the “Broad Objectives of KYC Policies,”

which included “Prevent money laundering and use of Banking Channels for

criminal activities.” The 2004 policy manual alerted staff that “Cash lends

anonymity to many forms of criminal activity and is the normal medium of

exchange in the world of drug trafficking / terrorism and other criminal activities.”

HBL acknowledged that, to manage their illicit cash, terrorist and other “criminals

need” banking services.

      214. HBL’s AML/CTF manual effective November 2006 strengthened the

bank’s policies, at least on paper. That manual stated “As a policy, HBL would not

do business with” “Prohibited client types,” which included “Individuals or entities

subject to UN or local Country sanctions” and any “Client or business segment

black listed by the Bank or the Regulators.” To meet these standards, HBL must

have monitored United Nations and “local Country sanctions,” along with

Pakistani government terrorist lists. Indeed, the bank’s AML/CTF policy manual

states: “AMLD or respective country MLRO would be responsible for keeping the

negative lists updated at all times.” Further, HBL must have maintained its own

internal “black list,” based on its own independent diligence on prospective

customers.

      215. As SBP required, HBL policies stated it would “monitor all

transactions and activity on an on-going basis to ensure,” among other things, that

                                         88
  Case 1:20-cv-04322-LGS-OTW                Document 1       Filed 06/05/20      Page 95 of 274




customer balances and activity were “consistent with the customer’s known

business or profession,” and “[a]ll relevant information has been taken into account

to assess whether there are and reasonable grounds to suspect money laundering.”

         216. Sometime between 2014 and 2017, HBL issued a AML/CTF policy

manual that stated: “HBL shall not provide any banking services to proscribed /

sanctioned entities and persons or to those who are known for their association

with such entities and persons, whether under the proscribed name or with a

different name.” This policy mirrored the requirements detailed by SBP in 2012.162

         217. HBL also detailed its customer due diligence policies in

questionnaires its executives submitted to the Wolfsberg Group during the period

relevant to Plaintiffs’ claims. From 2010 to the present, HBL has regularly checked

“Yes” for each of these questions: (1) “Does the FI163 have a requirement to collect

information regarding its customers’ business activities?”; (2) “Does the FI screen

customers and transactions against lists of persons, entities or countries issued by

government/competent authorities?; and (3) “In addition to inspections by the

government supervisors/regulators, does the FI client have an internal audit

function or other independent third party that assesses AML policies and practices

on a regular basis?”


   162
         State Bank of Pakistan, AML/CFT Regulations, supra note 157, at 8.
   163
         In the Wolfsberg questionnaires, “FI” is short for “Financial Institution.”

                                                  89
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 96 of 274




      218. Taken together, the KYC and CDD policies required by SBP,

included in HBL’s internal policy manuals, and represented to international

banking groups, establish that HBL committed itself to comprehensive measures

that would trigger numerous and serious red flags for each of the terrorists and

terrorist groups discussed in this Complaint. These red flags arose both when HBL

opened each account and when it conducted ongoing monitoring of the terrorist

customers and accounts.

      219. Despite these red flags, HBL continued to provide financial services

and thus facilitate the flow of funds to numerous high-profile terrorists and terrorist

groups for years after they were designated as FTOs or SDGTs by the U.S.

government, or sanctioned by the United Nations for association with al-Qaeda and

the Taliban. Those designated customers include ones named in this Complaint:

Jalaluddin Haqqani, founder of the FTO Haqqani Network; Osama bin Laden;

Hafiz Muhammad Saeed and Zafar Iqbal, the co-founders of designated FTO LeT;

the al-Qaeda fronts known as the Al Rashid Trust and Al Akhtar Trust; Al Rehmat

Trust, the “operational front” for JeM; Dawood Ibrahim; and the ISI’s preferred

terrorist groups, JeM and LeT. HBL also continued to provide financial services

for terrorists in Pakistan that the NYDFS publicly described but did not name in

2017, including the leader of a terrorist group. HBL has long represented that it

continuously monitored U.S. and U.N. terrorist designations, and SBP separately

                                          90
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 97 of 274




informed banks in Pakistan of all U.N. designations. Thus, HBL knew that some of

its customers were high-profile and dangerous terrorists, worthy of designation by

the United States and/or U.N. Yet it continued to provide them financial services.

       220. Other characteristics of each of these customers and their financial

activity raised red flags. Both Al Rashid Trust and Al Rehmat Trust collected

substantial sums in cash and deposited those funds to HBL accounts. Both also

received international wire transfers from donors. As purported charities and

NGO’s, they were subjected to “Enhanced Due Diligence,” and both the

organizations and their members faced the same scrutiny. If their accounts were

opened in the name of an individual, that person and his or her association with the

“trusts” were quickly established. Regardless, both the entities and the individuals

associated with them would trigger the “suspicion of money laundering /

terrorism” provision of SBP’s KYC and CDD requirements.

       221. HBL’s banking relationship with al-Qaeda front Al Rashid Trust and

its alter egos over many years reflects the bank’s general awareness of its role with

respect to terrorist finance and its agreement to facilitate its terrorist clients’ violent

objectives for another reason. After the United Nations froze Al Rashid Trust’s

bank accounts with HBL in 2001, HBL allowed Al Rashid Trust, using an alias, to

use its original or new accounts to raise funds for a front for LeT (which had

already been designated an FTO). When the U.S. and U.N. added Al Rashid

                                            91
  Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 98 of 274




Trust’s alias to their designations, HBL allowed the al-Qaeda and LeT front to

withdraw its money before freezing only a symbolic amount in the accounts. See

supra ¶ 168. The games HBL played with these designations reflect its general

awareness of its important role in funding al-Qaeda, LeT, and other members of

the al-Qaeda Terror Syndicate.

      222. Each of the individual terrorist leaders also tripped alarms at HBL.

They certainly held “high profile positions” and were well-known terrorist

founders, funders, leaders, and associates. Dawood Ibrahim is one of the best-

known criminals, terrorists, and drug traffickers in South Asia. Even the most basic

internet search on any of these individuals (much less the interview HBL

committed to) reveals the criminal nature of the “reputation” HBL promised to

check. And any risk assessment would present them as extremely high risk. At a

minimum, each was an “[i]ndividual whose association with Habib Bank could be

considered controversial.” They thus triggered additional scrutiny, including prior

approval of the bank’s Business Group Head.

      223. HBL also knew that certain customers raised concerns as a result of

specific government warnings. For example, NYDFS specifically warned HBL

about Al Rajhi Bank, and the U.S. Senate had issued a report specifically

documenting the bank’s ties to al-Qaeda, but HBL knowingly continued to do




                                         92
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 99 of 274




billions of dollars of business with Al Rajhi Bank in a manner that defied even

minimal AML and CTF requirements.

         224. The same is true of the terrorist groups ISI used HBL to fund, and of

the ISI itself. The terrorist groups ISI sponsored were U.S. and/or U.N. sanctioned

before any of the terrorist attacks at issue in this Complaint, and there is no reason

to believe HBL has cut off its financial services to the ISI. By any objective

measure, the ISI is an extremely high-risk customer, and any diligence conducted

on it would reveal its connections to designated terrorist groups.

         225. In addition to these known HBL customers, NYDFS described but did

not name two terrorist customers of HBL in Pakistan, and indicated that HBL

claimed to have screened and risk-assessed these customers, along with 152 other

U.S. designated individuals. As NYDFS explained, these were “customers who

purportedly had been specifically scrutinized by the bank and identified as very

low risk.”164 NYDFS also identified at least once instance in which the bank’s

system alerted its staff to a transaction by a most-wanted criminal, but the staff

improperly dismissed the alert as a “false positive” and deliberately cleared the

transaction.

         226. Thus, when HBL conducted its due diligence on each customer on the

“good guy” list and affirmatively determined that transactions for these customers

   164
         See Notice at 7.

                                          93
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 100 of 274




would not require further OFAC screening by its New York branch, it checked

them against U.S. and international designations/sanctions lists and knew or was

deliberately indifferent to the result: “154 terms included in Habib Bank’s ‘good

guy’ list corresponded to identical entries that were included on the Specially

Designated Nationals and Blocked Persons List (the ‘SDN List’),” including the

leader of a Pakistani terrorist group, an international arms dealer, and “an

individual on the Specially Designated Global Terrorist list.”165

         227. If HBL’s representations to NYDFS were true, the bank must have

screened these 154 customers against U.S., U.N., and Pakistani sanctions lists,

conducted its own Enhanced Due Diligence of them, and then completely ignored

the resulting red flags. HBL followed the same process for each of the terrorists

and terrorist groups this Complaint identifies and focuses on. Thus, HBL provided

financial services and facilitated the flow of funds to members of the al-Qaeda

Terror Syndicate, knowingly or with deliberate indifference to their true nature.

         228. The circumstances of HBL’s provision of financial services to the

Syndicate reinforce the inference of knowledge or deliberate indifference. NYDFS

found that HBL engaged in “wire-stripping” to remove inculpatory information

from transaction records. At other times, it processed SWIFT transactions without

appropriately detailed information regarding the transactors. And it continued its

   165
         Id. at 8.

                                         94
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 101 of 274




relationships with terrorist customers, and took active steps to shield their accounts

and transactions from scrutiny in the United Stated and Pakistan, despite sustained

efforts from multiple governments to convince HBL to stop financing terrorism.

      229. It is also revealing that HBL’s customer list reads as a “Who’s who”

of major terrorists in the region. This is a case in which a bank repeatedly and

flagrantly dealt with highly prominent terrorist leaders and their organizations. The

most plausible conclusion from the sheer volume of terror financing that went

through HBL is that the bank acted knowingly in soliciting and carrying out these

transactions.

      230. HBL knew or was deliberately indifferent to the fact that its

terrorist customers were engaged in acts of international terrorism directed

against Americans. The terrorist designations and sanctions HBL monitored

explained why each terrorist or group was named. Further, as discussed below,

HBL understood that the U.S. government designated terrorist groups because they

pose a grave threat to Americans. And HBL is a large, sophisticated bank, with

branches throughout Pakistan (including the home bases of the Haqqani Network

and JeM) and a branch (from 2004 until 2019) in Afghanistan. The diligence HBL

conducted on its terrorist customers would reveal their associations with al-Qaeda

and the Taliban, and their roles in violent attacks in Afghanistan—all of which




                                         95
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20    Page 102 of 274




were publicized in credible, mainstream U.S. and international media sources, and

were apparent to a bank of HBL’s sophistication.

      231. HBL knew or was deliberately indifferent to the fact that its own

conduct caused violence against Americans. In 2007, Mariane Pearl sued HBL

for its role in the 2002 kidnapping and beheading of her husband, American

journalist Daniel Pearl. See Pearl v. Ahmed Omar Saeed Sheikh, No. 07-cv-6639-

PAC (S.D.N.Y.). Pearl’s complaint alleged, inter alia, violations of the ATA as

well as aiding and abetting, identifying HBL’s transactions with Al Rashid Trust

and Al Akhtar Trust, as well as the FTO Harakut-ul-Mujahideen, as predicates for

liability. The complaint further alleged that these FTO recipients were acting with

the support and direction of the ISI, and that both Al Rashid Trust and the terrorists

the ISI sponsored were involved in operations in Afghanistan. HBL’s spokesman

denied the allegations, but the matter was not fully litigated. Instead, the lawsuit

was voluntarily dismissed shortly after HBL’s attorneys entered an appearance,

suggesting a settlement.

      232. Whatever happened in the case, the allegations and evidence in HBL’s

possession placed it on notice that any business dealings with the ISI or Al Rashid

Trust were prohibited and may have caused terrorist attacks that created liability

under the Anti-Terrorism Act. After reviewing the Pearl complaint, HBL certainly

understood that financing terrorists violated U.S. law, such that any further support

                                          96
 Case 1:20-cv-04322-LGS-OTW              Document 1      Filed 06/05/20   Page 103 of 274




for the same or other terrorists after 2007—which was well-documented by

NYDFS, the Federal Reserve, and SBP—could only have been perpetrated with

the requisite scienter. HBL specifically understood this with respect to Al Rashid

Trust, which, as discussed previously (see ¶¶ 163-168), the bank knowingly

circumvented U.S. and U.N. sanctions to support, after the Pearl suit was filed.

         233. The Pearl lawsuit was by no means the only warning that assisting in

terrorist finance would cause violence against Americans. HBL is a sophisticated

financial institution that has long operated in the United States and is presumed by

law to understand the purpose of the criminal law prohibitions on material support

to terrorists as well as the requirements of the Bank Secrecy Act and all applicable

AML and CTF regulations.

         234. As the U.S. Supreme Court has explained, “Congress has prohibited

the provision of ‘material support or resources’ to certain foreign organizations that

engage in terrorist activity. 18 U.S.C. § 2339B(a)(1). That prohibition is based on a

finding that the specified organizations ‘are so tainted by their criminal conduct

that any contribution to such an organization facilitates that conduct.’

Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA), §301(a)(7), 110

Stat. 1247, note following 18 U.S.C. § 2339B (Findings and Purpose).”166




   166
         Holder v. Humanitarian Law Project, 561 U.S. 1, 7 (2010).

                                               97
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20     Page 104 of 274




         235. As a sophisticated financial institution, HBL understood the role that

banks play in the international financial system as well as how HBL itself would

play a vital role in facilitating the flow of funds from donors and operatives around

the world to terrorist organizations in Pakistan if it permitted terrorist organizations

and/or their operatives to gain access to financial system through the bank.

         236. Thus, HBL understood that “any contribution” it made to members of

the al-Qaeda Terror Syndicate—including permitting the Syndicate and/or its

operatives to gain access to the global financial system through the bank—would

facilitate their violent campaigns.

         237. The United Nations likewise imposes terrorist financing sanctions. As

relevant here, these sanctions began in 1999, when, pursuant to Resolution 1267,

the U.N. Security Council imposed sanctions on the Taliban, largely due to the fact

that it was harboring Osama bin Laden and other terrorists in Afghanistan. 167 These

sanctions included an assets freeze against designated individuals and entities. In

2011, the Security Council adopted Resolution 1989, which split the previous

committee in two—one called the Al-Qaida Sanctions Committee, and the other

still focused on the Taliban. In 2015, the Committee was expanded again to include



   167
       U.N. Security Council, Security Council Committee Pursuant to Resolutions 1267 (1999)
1989 (2011) and 2253 (2015) Concerning Islamic State in Iraq and the Levant (Da’esh),
Al-Qaida and Associated Individuals, Groups, Undertakings, and Entities, https://www.un.org/
securitycouncil/sanctions/1267#background_info.

                                             98
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 105 of 274




Da’esh (ISIS). The committee’s sanctions require all states to “freeze without

delay the funds and other financial assets or economic resources of designated

individuals and entities.”168 The sanctions apply to persons or entities that will be

listed because they “[p]articipat[e] in the financing, planning, facilitating,

preparing, or perpetrating of acts or activities by, in conjunction with, under the

name of, on behalf of, or in support of” al-Qaeda.169

         238. As the United Nations explains, “[t]he purpose of the assets freeze is

to deny listed individuals, groups, undertakings and entities the means to support

terrorism.”170 The terms of the freeze are broad, and are “preventative in nature.”171

For implementation, states circulate the list of sanctioned individuals to

commercial banks, who are in turn supposed to screen the list against their client

databases.172 The State Bank of Pakistan follows this practice. The United Nations

further cautioned about the possibility that designated individuals and entities

would control funds indirectly, that money was fungible such that even apparently




   168
         Id.
   169
         Id.
   170
       United Nations Al-Qaida Sanctions Committee, Assets Freeze: Explanation of Terms ¶ 3
(2015), https://www.un.org/securitycouncil/sites/www.un.org.securitycouncil/files/
eot_assets_freeze_-_english.pdf.
   171
         Id. ¶ 26.
   172
         Id. ¶ 27.

                                            99
  Case 1:20-cv-04322-LGS-OTW             Document 1      Filed 06/05/20    Page 106 of 274




benign transactions should be blocked, and that non-profit organizations would

also be subject to abuse. 173

         239. Thus, the United Nations called “upon Member States to move

vigorously and decisively to cut the flows of funds and other financial assets and

economic resources to individuals and entities on the Al-Qaida Sanctions List.” 174

         240. Based on these sustained measures, in place since 1999, HBL

necessarily understood that any support for sanctioned organizations—or similar

organizations—would support terrorist violence.

         241. During the period relevant to Plaintiffs’ claims, the government of

Pakistan also made it clear that funding terrorists leads to terrorist violence.

Pakistan relied on its own Anti Terrorism Act, 1997 to starve terrorist groups of the

funds critical to their ability to plan and stage attacks. This is clear from the Act’s

preamble: “An Act to provide for the prevention of terrorism, sectarian violence

and for speedy trial of heinous offences.” 175

         242. HBL’s internal policy manuals for the prevention of money

laundering and terrorist finance have acknowledged since at least 2006 that HBL is

required to comply with the Anti Terrorism Act, 1997.



   173
         Id. ¶¶ 5, 19-21, 29.
   174
         Id. ¶ 29.
   175
         See Anti Terrorism Act, 1997, available at https://www.satp.org/Docs/Document/7.pdf.

                                              100
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 107 of 274




      243. In a 2013 version of this manual, HBL paraphrased the Act: “A

Person commits an offence if he/she enters into or becomes concerned in any

arrangement which facilitates the retention or control, by or on behalf of another

person of terrorist property.

      (a) By concealment,

      (b) By removal from the jurisdiction.

      (c) By transfer of nominees, or

      (d) In any other way.”

Thus, HBL knew both the Anti Terrorism Act, 1997’s requirements and its

purpose: to prevent terrorist violence.

                                          ***

      244. With respect to primary liability under the ATA, HBL’s policies for

countering money laundering and the financing of terrorism, its understanding of

the purposes of those policies and the violent consequences of violating them, and

its actual conduct with respect the terrorists and terrorist groups it not only serviced

but shielded from asset seizures and other legal actions, establish that HBL

facilitated the flow of essential funds to members of the al-Qaeda Terror Syndicate

knowing or with deliberate indifference to the fact that it was (i) providing material

support to FTOs with knowledge of or deliberate indifference to their connection

to terrorism; and (ii) providing material support to terrorist groups knowing or

                                          101
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 108 of 274




deliberately indifferent to the consequence that its support would facilitate the

terrorists’ violent campaigns, including against Americans.

      245. Because support for terrorism was the necessary consequence of

HBL’s actions, and because HBL knew this, it also acted with the apparent intent

to intimidate or coerce a civilian population, influence policy by intimidation or

coercion, or affect the conduct of a government by mass destruction, assassination,

or kidnapping. Indeed, these outcomes were the avowed purpose of HBL’s terrorist

customers.

      246. HBL also acted with the scienter necessary for secondary liability.

HBL’s policies, understanding of the purpose of those policies, and conduct

contrary to them establish that it was at least generally aware that it was playing a

role in the al-Qaeda Terror Syndicate’s overall tortious scheme to commit terrorist

violence by facilitating terrorist financing to members of the Syndicate.

      C. HBL’s Assistance to the al-Qaeda Terror Syndicate Was Substantial,
         and Caused Terrorist Attacks

      247. HBL played a crucial role in allowing members of the al-Qaeda

Terror Syndicate—including al-Qaeda, the Taliban (including the Haqqani

Network), LeT, and JeM (the terrorist organizations principally responsible for the

attacks in this case)—to perpetrate terrorist attacks because the amounts of U.S.

dollars and other currencies that it funneled to these groups were high (millions of



                                         102
 Case 1:20-cv-04322-LGS-OTW         Document 1        Filed 06/05/20   Page 109 of 274




dollars), and the money was important to the Syndicate’s ability to carry out

violent attacks on Americans.

      248. By knowingly maintaining accounts and processing transactions for

members of the al-Qaeda Terror Syndicate and their agents, HBL participated in

the financial infrastructure essential to terrorism against Americans in Afghanistan.

      249. HBL also took deliberate steps that made it easy for members of the

Syndicate to raise and move money without detection. Most clearly, HBL’s use of

the “good guy” list assured terrorists and their funders that donations made through

HBL would not be blocked or frozen in transit, but would instead be protected

from scrutiny and reach their intended beneficiaries. HBL’s concealment of wire

transfer information had the same effect. This assurance, along with HBL’s

prominence, size, and easy access to U.S. dollar clearing in the United States,

made it an attractive vehicle for terror financing.

      250. By knowingly allowing terrorist groups and fundraisers to openly

solicit donations to their HBL accounts, HBL also lent its public profile as

Pakistan’s largest bank to terrorist fundraising efforts. In fact, HBL was well-

known for decades in the region as a safe space for terrorists and their financial

angels. Thus, fundraisers and donors to the members of the al-Qaeda Terror

Syndicate could rest assured that the funds they transferred through HBL would




                                         103
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20      Page 110 of 274




achieve the desired goal of supporting terrorist attacks on Americans in

Afghanistan and elsewhere.

      251. HBL’s customers used their accounts at the bank to hold and transfer

huge sums, totaling at least several million dollars, to members of the al-Qaeda

Terror Syndicate from 2006 through at least 2017. These funds were significant

enough to have been a substantial factor in both strengthening the Syndicate’s

terrorist enterprise and causing the attacks that injured Plaintiffs.

      252. As explained in the detailed descriptions of the members of the

Syndicate, HBL’s conduct aided the Syndicate in carrying out deadly terrorist

attacks. Contributions to al-Qaeda and the Haqqani Network helped pay for, inter

alia, weapons, explosives, recruiting, salaries, and other necessary expenses to

commit terror attacks. Contributions to LeT helped pay for recruiting for terrorists,

and especially suicide bombers. And contributions to JeM helped pay for recruiting

for suicide bombers as well as martyr payments for those who took part in

Syndicate attacks.

      253. These sustained transfers provided the Syndicate sufficient resources

to injure and kill Americans, including Plaintiffs and Plaintiffs’ family members.

Indeed, the amount of money required to perpetrate terror attacks in Afghanistan

and Pakistan is relatively small (a few thousand dollars or less for a suicide




                                          104
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20     Page 111 of 274




bombing).176 That is true generally, and especially true in this case because the

al-Qaeda Terror Syndicate already had a sophisticated terrorist infrastructure that

allowed it to deploy these funds for maximum violent effect.

         254. The substantiality of HBL’s assistance, and its causal effect, is

confirmed by the legislative findings underlying the laws it violated. U.S. law

flatly prohibits knowingly providing any material support to an FTO, and broadly

prohibits transactions with SDGTs. This is precisely because the U.S.

government—both Congress and the Executive Branch—have concluded that any

material contribution to an FTO promotes terrorist attacks. NYDFS raised similar

concerns with HBL starting in 2006.

         255. Government communications further confirm that terrorist financing

leads to terrorist violence against Americans. As an unclassified cable (as

published by WikiLeaks) from the U.S. Ambassador to India to the U.S. Secretary

of State explained in February 2010 (right before the attacks in this case began):

         Cutting off the financing of terrorist groups is a key component of our
         national strategy to combat terrorism. A large number of terrorist
         organizations operate in South Asia including, but not limited to
         al-Qa’ida (AQ), Lashkar e-Tayyiba (LT), Tehrik*i-Taliban (TTP),
         Harakat ul-Jihad-i-Islami/Bangladesh (HUJI-B), Harakat ul-Jihad-
         Islami (HUJI), Harakat ul-Mujahedin (HUM), Jaish-e-Mohammed
         (JEM), and Lashkar I Jhangvi (LJ). In order to operate and grow,
         these groups depend on and receive funding from outside sources

   176
       See, e.g., Ann Wilkens, Suicide Bombers and Society: A Study on Suicide Bombers in
Afghanistan and Pakistan, at 15-16 & n.14 (2011), available at https://www.foi.se/rest-
api/report/FOI-R--3058--SE (describing the low price of suicide bombs).

                                            105
 Case 1:20-cv-04322-LGS-OTW            Document 1     Filed 06/05/20   Page 112 of 274




         including wealthy donors and grass root organizations in Pakistan,
         Saudi Arabia, United Arab Emirates (UAE) and other Gulf and
         Islamic states. Building the capacity of governments in South Asian
         countries to stem the flow of funds to terrorist groups is essential to
         disrupting their activities. The creation of robust financial
         investigative capabilities in South Asia is critical to reaching our
         counterterrorism goals. (Emphases added.) 177

         256. By encouraging and facilitating money transfers to members of the

al-Qaeda Terror Syndicate and shielding their assets and transactions from

regulators and law enforcement, HBL performed an essential role in providing

material support to al-Qaeda, the Taliban (including the Haqqani Network), LeT,

JeM, and the rest of the al-Qaeda Terror Syndicate.

         257. HBL thus aided and abetted and conspired with the al-Qaeda Terror

Syndicate in committing the attacks that injured Plaintiffs.

         258. That support was a substantial factor in the sequence of responsible

causation for the attacks at issue in this case because it provided the Syndicate with

resources it could use to pay for and carry out attacks on Americans. Specifically,

transfers knowingly facilitated by HBL helped the members of the Syndicate pay

for weapons, explosives, recruiting, salaries, martyr payments, and other necessary

expenses to commit terror attacks.




   177
         https://wikileaks.org/plusd/cables/10NEWDELHI356_a.html

                                            106
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 113 of 274




      D. HBL’s Assistance to the al-Qaeda Terror Syndicate Had a
         Substantial Nexus to the United States

      259. HBL’s substantial assistance to the al-Qaeda Terror Syndicate had a

substantial nexus to the United States for three reasons.

      260. First, HBL’s conduct targeted the United States because the bank

knew that its material support would aid and facilitate terrorists targeting

Americans.

      261. Second, HBL’s conduct occurred in the United States because much

of HBL’s illicit and knowing assistance to the al-Qaeda Terror Syndicate was

directed through HBL’s New York Branch.

      262. Third, HBL conspired with the al-Qaeda Terror Syndicate, who

directed their violent acts at the United States.

HBL’s Conduct Targeted the United States

      263. HBL knowingly provided material support to al-Qaeda, the Haqqani

Network, and LeT, knowing that these terrorist organizations were expressly

targeting the United States and Americans.

      264. The al-Qaeda Terror Syndicate directed attacks at Americans with the

specific intent of killing Americans in particular—so that it could inflict pain in the




                                          107
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20     Page 114 of 274




United States and influence U.S. policy. 178 It did not incidentally injure Americans

in the course of other terrorist operations.

         265. The al-Qaeda Terror Syndicate’s ultimate, publicly stated goal was to

effect a withdrawal of coalition forces from Afghanistan, and to murder Americans

as commanded in Osama bin Laden’s 1998 fatwa.

         266. Each terrorist attack that killed and injured Plaintiffs was part of that

campaign of anti-American terrorism.

         267. HBL provided banking services to al-Qaeda, Haqqani Network, and

LeT operatives and fundraisers knowing that the Syndicate would use the resulting

funds to target U.S. citizens in terrorist attacks.

         268. HBL knowingly provided financial services for al-Qaeda’s terrorist

enterprise, even going so far as to deem certain terrorists who were members or

supporters of the Syndicate “good guys” as shown by the “good guy” list.

         269. HBL’s motivation for assisting al-Qaeda, the Haqqani Network, and

LeT was to harm Americans in Afghanistan and help drive America out of the

country. HBL had two distinct but related reasons for desiring that outcome.




   178
       See U.S. Dep’t of Justice, Manhattan U.S. Attorney Announces Extradition of OFAC-
Sanctioned Afghan Man for Narco-Terrorism Offenses (Feb. 6, 2019) (“Haqqani Network and
the Taliban have been and are engaged in highly public acts of terrorism against U.S. interests,
including U.S. and coalition forces in Afghanistan.”).

                                               108
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 115 of 274




      270. First, HBL’s management subjectively supported the mission of anti-

American terrorists in Afghanistan. This allegation is supported by multiple known

facts, including that HBL’s employees:

      (i)     Created, maintained, and utilized the “good guy” list, which was
              expressly designed and used to undermine the enforcement of
              American terrorism-related financial rules by preemptively excusing
              certain terrorists, each of whom HBL deemed to be a “good guy,” and
              worth protecting from American counter-terrorism scrutiny;

      (ii)    Pursued an arrangement with the ISI under which HBL provided
              funds and services to anti-American terrorists; and

      (iii)   Personally tended to HBL’s relationships with key terrorists who
              supported the operations of the Syndicate including LeT’s co-
              founders, Hafiz Muhammad Saeed and Zafar Iqbal, as well as
              D-Company founder (and al-Qaeda and LeT supporter), Dawood
              Ibrahim.

The most plausible inference from these facts is that HBL’s management

subjectively intended to assist its terrorist customers in their effort to harm

Americans, because none of these actions could have occurred on accident—and

certainly all of these actions in combination could not have been accidental.

      271. Second, HBL decided that harming Americans was the necessary

price of maintaining a good relationship with the ISI, or at least those elements

within the ISI that frequently used HBL to achieve their objectives. Through the

ISI’s longstanding support of the Taliban, the Haqqani Network, and LeT, the ISI

made plain to any thinking observer—let alone a sophisticated Pakistani bank—



                                          109
 Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 116 of 274




that the ISI viewed terrorist attacks against Americans in Afghanistan as

supporting the ISI’s strategy in Afghanistan.

      272. The price of HBL’s continued close relationship with the ISI was

HBL’s demonstrated willingness to assist the ISI in its efforts to funnel money to

terrorist proxies in Afghanistan and Pakistan. HBL intentionally aided and abetted

the ISI’s support of the terrorist campaign against Americans in Afghanistan as a

way to curry favor with—and receive business from—the ISI.

HBL’s Conduct Relied Upon HBL’s New York Branch or Other New York
Correspondent Banks

      273. The NYDFS and Federal Reserve reviews, consent orders, and

settlement focused on financial transactions that flowed through the only HBL

entity they regulated: HBL’s New York branch. Those transactions involved both

large volume and dollar values, and they reflected continuous (since at least 2006)

misuse of HBL’s New York branch to process transactions on behalf of terrorist

operatives and funders.

      274. As discussed below, HBL also processed financial transactions for,

and provided financial services to, the members of the al-Qaeda Terror Syndicate

discussed herein by virtue of those groups’ receipt of donations from outside

Pakistan, which involved currency exchanges and wire transfers that HBL cleared

through its New York branch.



                                        110
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20      Page 117 of 274




         275. Each of HBL’s transactions on behalf of terrorist operatives and

funders was intentionally routed through HBL’s New York branch rather than, for

example, a correspondent account with another New York bank.

         276. This was necessary to the criminal scheme for several reasons. First,

HBL’s own New York branch could be, and was, directed by its headquarters to

process transactions without screening them because HBL had already vouchsafed

that “due diligence” had been performed on those customers.

         277. No legitimate U.S. financial institution would have agreed to violate

U.S. laws and clear these transfers without OFAC screening.179

         278. Second, terrorist groups depend on access to and deployment of U.S.

dollars to fund their operations and facilitate their terror campaigns. Specifically,

the al-Qaeda Terror Syndicate responsible for Plaintiffs’ injuries solicits and relies

upon donations from around the world. These donations primarily default to or

require exchange into U.S. dollars, which is why HBL routed them through the

United States and had to develop an internal mechanism to prevent scrutiny from

U.S. regulators.



   179
       For these reasons, it is unlikely that transactions HBL processed for U.S.-designated
members of the al-Qaeda Terror Syndicate were routed through other U.S. correspondent banks.
Indeed, as a result of HBL’s closure of its New York branch, it has begun a process of “de-
dollarisation,” which is directly related to this issue. See The International News, Habib Bank to
Wind Down Afghanistan’s Operations (Mar. 29, 2019), https://www.thenews.com.pk/print/
450070-habib-bank-to-wind-down-afghanistan-s-operations.

                                               111
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20    Page 118 of 274




         279. Indeed, global donations are the lifeblood of the al-Qaeda Terror

Syndicate. As the U.S. Ambassador to India explained in 2010, “these groups

depend on and receive funding from outside sources” around the world. 180 This

was specifically true with respect to the transactions NYDFS focused on and found

threatened the lives of Americans.

         280. Pakistan’s former Finance Minister stated that the primary problem

NYDFS focused on was “payments originating in Saudi Arabia” that “went to

Pakistan” and were then “exploited by terror groups, money-launderers and

smugglers.”181 These were the transactions that NYDFS found to “open the door to

the financing of terrorist activities that pose a grave threat to” New Yorkers and

put “the safety of our nation at risk.” Thus, there is a direct line between HBL’s

transfer of funds from outside Pakistan to Pakistan-based terrorist groups and the

injuries Plaintiffs suffered.

         281. Such international transfers necessarily involved U.S. dollars.

Commercial banks that accept funds in one currency (for example, Saudi riyals)

and deposit them in another, typically choose a central currency to exchange into

and out of.




   180
         Cable, supra note 177.
   181
         K.K. Shahid, FATF Team Arrives in Pakistan, The Friday Times (Aug. 17, 2018).

                                              112
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 119 of 274




         282. As Stanford Economics Professor Ronald McKinnon explained,

“choosing one currency like the dollar to be the intermediary currency is the most

natural way of economizing on foreign exchange transacting. 182 That is because it

is far easier and less expensive to use a single central currency than it is to set up

bilateral currency exchange markets for every possible currency pair (the example

Professor McKinnon gives is that if a bank wished to trade 150 currencies all

against each other, it could set up 149 markets if it used a central currency, as

opposed to 11,175 markets if it created a separate market for each currency pair).

The U.S. dollar is by far the most common central currency. Accordingly, if a

donor in Saudi Arabia wanted to donate in riyals to a terrorist organization in

Pakistan that needed U.S. dollars or Pakistani rupees, that transaction is likely to be

cleared through a correspondent bank in the United States that would convert the

riyals to dollars (and the dollars to rupees if needed) before transferring the funds

to Pakistan.

         283. For this reason, HBL’s New York Branch was involved in many

transactions for its terrorist customers that did not originate in the United States or

were not originally denominated in dollars.




   182
        Ronald McKinnon, The World Dollar Standard and Globalization: New Rules for the
Game?, Stanford Ctr. for Int’l Dev., at 8-9 (Sept. 2003), available at
https://kingcenter.stanford.edu/sites/default/files/publications/181wp.pdf.

                                           113
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20     Page 120 of 274




         284. HBL’s terrorist clients did not only require U.S. dollars to convert

non-Pakistani currencies to rupees. They also withdrew U.S. dollars from HBL

accounts in Pakistan. For example, the ISI gave significant amounts of U.S. dollars

to the Haqqani Network, which it obtained from the bank Indian intelligence

described as ISI’s “funding agency,” HBL. HBL needed its New York branch to

make these dollars available.

         285. In addition, the financial transactions HBL’s New York branch

processed for members of the al-Qaeda Terror Syndicate, and any other financial

services it provided to them, were inextricably tied to, and relied on, a payments

processing platform that was tied to the banking laws and infrastructure of New

York State.

         286. In August 2008, HBL announced it had joined the Clearing House

Interbank Payment System (“CHIPS”).183 In a press release, Faiq Sadiq, Country

Manager for Habib Bank Limited in the U.S. stated “CHIPS is a world-class wire

transfer system that provides Habib Bank Limited with the capability to clear and

settle payments quickly and at a reduced cost . . . Connecting to the CHIPS

network is not only safe and secure, but also offers Habib Bank Limited the




   183
        FinExtra, Pakistan’s Habib Bank connects to Chips (Aug. 21, 2008),
https://www.finextra.com/pressarticle/22942/pakistans-habib-bank-connects-to-chips.

                                            114
 Case 1:20-cv-04322-LGS-OTW             Document 1      Filed 06/05/20      Page 121 of 274




capability to serve the global needs of its business customers.” 184 A representative

of The Clearing House, which owned CHIPS, added: “In an increasingly global

economy, financial institutions and their customers need wire transfer capabilities

that can help them conduct business anywhere in the world . . . CHIPS is

committed to helping institutions and their customers achieve their strategic

business objectives by providing a premier wire transfer solution used by the

world’s largest banks and corporations. Using CHIPS for its payments needs will

also give Habib Bank Limited the opportunity to maximize their liquidity.” 185

         287. HBL decided for financial and competitive reasons to join CHIPS,

and its participation in that payment system during the time period relevant to

Plaintiffs’ claims 186 was integral to HBL’s ability to process international wire

transfers and to conduct currency exchange operations.

         288. CHIPS is owned by a New York corporation, The Clearing House

Payments Company L.L.C. CHIPS’ Rules and Administrative Procedures provide

that “[t]he rights and obligations of a Participant as Sending or Receiving

Participant to a CHIPS payment message shall be governed by these Rules and by

the laws of the State of New York, including Article 4-A of the New York



   184
         Id.
   185
         Id.
   186
         HBL was a member of CHIPS from at least early 2009 to July 2017.

                                              115
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20     Page 122 of 274




Uniform Commercial Code” and “[t]he rights and obligations of all other parties to

a funds transfer of which a CHIPS payment message is a part, shall be governed, to

the greatest extent permitted by law, by these Rules and the law of the State of

New York, including Article 4-A of the New York Uniform Commercial Code.”187

         289. Accordingly, HBL, through the use of its New York Branch, has

purposefully availed itself of (1) New York’s dependable and transparent banking

system (which allows donors to its terrorist customers to transfer funds without

fear of loss); (2) the U.S. dollar as a stable and fungible currency (which permits

the exchange of currencies essential to terrorist fundraising); and (3) the

predictable jurisdictional and commercial law of New York (which governed

HBL’s banking services using New York-owned CHIPS).

HBL Conspired with Al-Qaeda, the Haqqani Network, and LeT to Harm
Americans

         290. Finally, HBL joined a conspiracy to commit terrorist attacks against

Americans. HBL’s terrorist customers were engaged in an ongoing conspiracy,

through the Syndicate, to commit terrorist attacks against Americans. This

conspiracy was purposely directed at the United States because the Syndicate




   187
        The Clearing House, CHIPS Rules and Administrative Procedures Effective April 1, 2020,
https://www.theclearinghouse.org/-/media/new/tch/documents/payment-
systems/chips_rules_and_administrative_procedures_2020_effective_04-01-2020.pdf.

                                            116
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20    Page 123 of 274




sought to kill Americans specifically, and to undermine U.S. foreign policy

interests by targeting U.S. soldiers and civilians abroad.

      291. To achieve the objective of that conspiracy, the conspirators sought to

raise money to fund the planning and commission of terrorist attacks, and to shield

their funds from government scrutiny and seizure.

      292. HBL’s terrorist customers were themselves members of the

conspiracy because they were either members of the Syndicate or were agents of

members of the Syndicate. By agreeing to provide the conspirators with funds and

financial services, including illicit access to the U.S. financial system, while

knowing that these terrorist organizations would use the resulting funds to pay for

terrorist attacks, HBL joined the Syndicate conspiracy.

      293. The terrorist attacks at issue in this case were foreseeable acts in

furtherance of the conspiracy. Indeed, the attacks, and others like them, were the

conspiracy’s primary objective.

   III.   Al-Qaeda Committed, Planned And Authorized The Terrorist
          Attacks That Injured Plaintiffs

      294. While HBL and its customers were supporting the al-Qaeda Terror

Syndicate, the Syndicate was carrying out violent attacks on Americans. The

attacks at issue in this case injured 72 unique victims and occurred from June 7,

2010 through January 14, 2019. The attacks included suicide bombings, IED

attacks, mortar attacks, and/or rocket attacks against Americans in Afghanistan.
                                         117
 Case 1:20-cv-04322-LGS-OTW                Document 1      Filed 06/05/20   Page 124 of 274




These attacks were committed, planned, and authorized by al-Qaeda, and carried

out by al-Qaeda, the Taliban (including the Haqqani Network), and/or LeT. As

noted above, JeM also played a role in these attacks, sometimes helping to recruit

suicide bombers, and also paying martyr payments afterward.

         A. Al-Qaeda Led the Syndicate

         295. Following the Soviet withdrawal from Afghanistan, Osama bin Laden

began to transform al-Qaeda into a global terrorist group capable of launching

attacks around the world. After moving to Sudan in the early 1990s, al-Qaeda’s

leadership returned to Afghanistan in approximately 1996, where it was sheltered

by the Taliban for the next five years. Osama bin Laden declared war on the

United States in a published fatwa (an authoritative religious decree) in 1996. 188

One scholar who surveyed first-hand accounts of the initial meeting between bin

Laden and the Taliban during this period reported that it “emphasize[d] the

Taliban’s humble attitude toward the Saudi guest and their immediate readiness to

serve him.”189

         296. In return for the Taliban’s safe harbor, al-Qaeda provided substantial

resources to the Taliban. By March 1997, bin Laden had met with Mullah

Mohammed Omar personally and offered to lend his fighters to the Taliban. As bin



   188
         See sources cited supra note 5.
   189
         Stenersen, Al-Qaida in Afghanistan, supra note 5, at 58.

                                                118
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20    Page 125 of 274




Laden’s deputy, Abu Hafs al-Masri, wrote at the time, the Taliban “movement is a

capable Islamic entity and it is possible that it can be a turning point for the

betterment of the Islamic world. The movement needs a vision and it needs

support. It needs someone who will give it a military strategy. And it needs to build

a military force which is suitable for the situation in Afghanistan.” 190 To that end,

al-Qaeda shared technical knowledge with the Taliban and paid the Taliban

between $10 million to $20 million a year for shelter. In doing so, Al-Qaeda

supplied the strategy and support the Taliban needed to morph into a deadly

terrorist group capable of inflicting mass casualties on Americans.

         297. At the same time that Osama bin Laden was cementing his ties with

the Taliban, he was escalating his attacks on the United States. In 1998, while

under the Taliban’s protection, Osama bin Laden declared a global jihad against

the United States, calling on all Muslims to kill Americans at any opportunity. On

August 7, 1998, al-Qaeda suicide bombers in explosive-laden trucks attacked U.S.

embassies in Kenya and Tanzania, killing more than 200 people. The United States

responded two weeks later with missile strikes on al-Qaeda bases in Afghanistan

and demanded that Mullah Omar turn over Osama bin Laden. He refused.




   190
         Id. at 67-68.

                                          119
 Case 1:20-cv-04322-LGS-OTW              Document 1      Filed 06/05/20     Page 126 of 274




         298. On October 8, 1999, the U.S. State Department designated al-Qaeda

as an FTO, and a week later the United Nations called for sanctions against the

Taliban unless it expelled bin Laden from Afghanistan. Again, the Taliban refused.

         299. In the spring 2001, Osama bin Laden, on behalf of al-Qaeda, pledged

an oath of allegiance to Mullah Omar and the Taliban. A few months later, on

September 11, 2001, al-Qaeda attacked the World Trade Center in New York and

the Pentagon, killing thousands. A third attack, possibly aimed at the White House,

was thwarted by passengers aboard United Flight 93. The United States demanded

once again that the Taliban turn over bin Laden, and once again the Taliban

refused. The Coalition invaded Afghanistan in October, and bin Laden and Taliban

leaders eventually fled to Pakistan.

         300. Al-Qaeda’s and the Taliban’s close relationship continued long after

September 11. During this period, the Taliban’s “ties to al-Qaeda were crucial to

the Taliban’s growth as an insurgency after its routing from Afghanistan.”191 In

May 2007, for example, Taliban official Mullah Dadullah said, “[W]e and

al-Qaeda are as one.”192 In early 2009, a military-intelligence official was quoted

as saying, “The line between the Taliban and al Qaeda is increasingly blurred,




   191
         McNally & Weinbaum, Resilient al-Qaeda, supra note 53, at 3.
   192
         Thomas Ruttig, The Other Side, Afghanistan Analysts Network, at 23 (July 2009).

                                              120
  Case 1:20-cv-04322-LGS-OTW              Document 1       Filed 06/05/20     Page 127 of 274




especially from a command and control perspective.”193 By the end of that year,

Chairman of the Joint Chiefs of Staff Admiral Michael Mullen said the same thing

openly. “We are deeply concerned about the growing level of collusion between

the Taliban and al Qaeda,” he told The Wall Street Journal.194 And as Lieutenant

General Ronald L. Burgess, Jr. testified to the Senate Select Committee on

Intelligence, “Al-Qa’eda’s propaganda, attack planning and support of the Taliban

and Haqqani networks continues.”195

         301. The Taliban and al-Qaeda have remained intimately intertwined in the

years since. For example, in 2015, Osama bin Laden’s successor, Ayman Zawahiri,

pledged an oath of allegiance to the recently-installed Taliban leader Mullah

Akhtar Mohammad Mansour, who publicly announced his acceptance of the

pledge the following day. 196 When Mansour was killed in May 2016, Zawahiri

pledged allegiance to his successor, Mawlawi Haibatullah Akhundzada.

         302. The overlap between the organizations meant that al-Qaeda routinely

played an important role in Taliban and Haqqani terrorist attacks. As terrorism



   193
         Bill Roggio, Al Qaeda Builds A ‘Shadow Army’, Wash. Times (Feb. 13, 2009).
   194
         Anand Gopal, Afghan Police Killings Highlight Holes in Security, Wall St. J. (Dec. 15,
2009).
   195
      Current and Projected National Security Threats to the United States?: Hr’g Of The
Senate Select Committee On Intelligence, S. Hr’g 111-557, at 13 (Feb. 2, 2010) (statement of Lt.
Gen. Ronald Burgess, Jr., Dir., Def. Intelligence Agency), 2010 WLNR 27828348.
   196
       Thomas Joscelyn & Bill Roggio, New Taliban Emir Accepts al Qaeda’s Oath Of
Allegiance, Long War J. (Aug. 14, 2015).

                                                121
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20       Page 128 of 274




scholars Bill Roggio and Thomas Joscelyn observed, “[i]t is not clear where, say,

al Qaeda ends and the Taliban and other terrorist groups begin. This is by design.

Bin Laden envisioned al Qaeda as the vanguard of a broader jihadist coalition. Al

Qaeda was always a joint venture.” 197 Mr. Joscelyn testified that the word

“syndicate”—referring to the Taliban’s and al-Qaeda’s joint terrorist venture in

Afghanistan—offers an “excellent description of how al Qaeda operates.”198

         303. Al-Qaeda’s leadership of that terrorist syndicate reflected the degree

to which al-Qaeda and the Taliban became fully and operationally intertwined. As

India’s Permanent Representative to the United States explained in describing the

al-Qaeda-Taliban “syndicate of terrorism,” both groups were by 2011

“ideologically and operationally fused.”199 By the fall of 2009, the noted journalist

Peter Bergen concluded, “the Taliban and Al Qaeda function more or less as a

single entity. The signs of this are everywhere.”200

         304. The Taliban and al-Qaeda’s interdependence and joint venture

continued throughout the period in which Plaintiffs were killed and injured. As two


   197
         Roggio & Joscelyn, The al Qaeda-Taliban Connection, supra note 4.
   198
       Al-Qaeda in Afghanistan and Pakistan: An Enduring Threat, Hr’g Before the H. Comm.
on Foreign Affairs, Subcommittee on Terrorism, Nonproliferation, and Trade, S. Hr’g 113-156 ,
at 28 (May 20, 2014) (statement of Thomas Joscelyn, Sr. Research Fellow, Found. for Def. of
Democracies), 2014 WLNR 13518260.
   199
      India Against Hasty Troop Withdrawal From Afghanistan, Daily Fin. Post (Oct. 1, 2011),
2011 WLNR 20105460 (quoting Hardeep Singh Puri, India’s Permanent Representative to the
United Nations).
   200
         Peter Bergen, The Front: The Taliban-Al Qaeda Merger, New Republic (Oct. 19, 2009).

                                              122
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 129 of 274




defense writers noted in 2016, the U.S. military’s relative success against al-Qaeda

neither eliminated al-Qaeda nor broke apart the syndicate in which it participated:

Afghanistan’s southern and eastern provinces remained a “hub of Afghan

insurgents and [the] al-Qaeda-led terrorist syndicate.”201

         305. In 2010, one terrorism scholar warned against drawing a bright line

between al-Qaeda and the Afghan terrorist groups that it sponsored. In explaining

the importance of “recogniz[ing] the link between al Qa’ida and Afghan insurgent

groups,” he observed that a “policy focused on targeting al-Qa’ida—and not the

Taliban, Haqqani Network, or other groups—would ignore one of the most

egregious lessons from September 11.”202

         306. The U.S. government agreed with that assessment. During the relevant

timeframe, the U.S. government repeatedly stated that al-Qaeda and the Taliban

acted together in a terrorist “syndicate,” and warned against efforts to distinguish

between them. Examples include:

         • Secretary of State Hillary Clinton, July 2009: “[W]e had an intensive
           strategic review upon taking office[.] And we not only brought the entire
           United States government together, but we reached out to friends and
           allies . . . [T]he result of that strategic review was to conclude that
           al-Qaeda is supported by and uses its extremist allies like elements
           within the Taliban . . . to be proxies for a lot of its attacks . . . So the


   201
      Ayaz Ahmed & Dr. Faisal Javed, Pakistan And SCO: Opportunities for Pakistan, Asian
Defence J. (Aug. 31, 2016), 2016 WLNR 25890108.
   202
      Seth G. Jones, In the Graveyard of Empires: America’s War in Afghanistan, at 332 (W.W.
Norton & Co. 2010).

                                           123
  Case 1:20-cv-04322-LGS-OTW           Document 1       Filed 06/05/20     Page 130 of 274




            Taliban . . . [is] part of a kind of terrorist syndicate with al-Qaeda at the
            center[.]”203

         • Secretary of State Hillary Clinton, December 2009: “[W]e have
           increasingly come to see these organizations not as separate independent
           operators that occasionally cooperate with one another, but as part of a
           syndicate of terrorism. . . . [T]he level of operational cooperation,
           training, equipping, financing, has grown exponentially. And at the head
           of the table, like an old Mafia kind of diagram, sits al Qaeda.”204

         • Secretary of Defense Robert Gates, January 2010: “Defense Secretary
           Robert M. Gates said yesterday that Al Qaeda was using proxy terrorist
           groups to orchestrate attacks in . . . Afghanistan as part of a broader
           strategy to destabilize the region. In a news conference held after two
           days of meetings with Indian officials, Gates said Al Qaeda had formed
           a ‘syndicate’ of terrorist groups with Taliban factions in Afghanistan
           and Pakistan . . . ‘What we see is that the success of any one of these
           groups leads to new capabilities and a new reputation for all,’ Gates said.
           ‘A victory for one is a victory for all.’ US intelligence officials have said
           that jihadi groups in the region are cooperating more closely than ever . .
           . Gates said all of the factions were working under the umbrella of Al
           Qaeda.”205

         • Secretary of Defense Robert Gates, May 2010: “The other concern we
           have . . . is the creation of the syndicate of terrorist organizations that
           are working with each other, al Qaeda, the Taliban in Pakistan, the
           Taliban in Afghanistan, the Haqqani Network. There are five or six of
           these groups that are now really working together and a success for one
           is a success for all . . . And so this problem has become more complex as




   203
      Sec. of State Hillary Clinton, NBC News: Meet the Press (July 26, 2009) (emphases
added).
   204
       Afghanistan: Assessing The Road Ahead, Hr’g before the U.S. Senate Committee on
Foreign Relations, S. Hr’g 111-479, at 24 (Dec. 3, 2009) (statement of Hillary Rodham Clinton,
Sec’y of State, U.S. State Dep’t).
   205
      Gates Casts Qaeda As Terror Syndicate, Wash. Post (Jan. 21, 2010), 2010 WLNR
1263055 (emphases added).

                                             124
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20     Page 131 of 274




            these groups have gotten closer and cooperated operationally in a way
            that we really haven’t seen, I think, significantly before 2007, 2006.”206

         • Under Secretary of Defense for Policy Michele Flournoy, April 2011:
           “We view al Qaeda, Haqqani, the Taliban, these are all part of a
           syndicate of groups that help each other. The Pakistanis tend to make
           finer distinctions between them -- you know, not being . . . tolerant to
           some, like al Qaeda, but otherwise tolerating others. We are trying to
           work with them to shift that perspective and shift that calculus.” 207

         B. Al-Qaeda Authorized and Planned Taliban Terrorist Attacks

         307. Since at least the mid-2000s, al-Qaeda planned and authorized the

Taliban’s, including the Haqqani Network’s, attacks on U.S. forces in Afghanistan

in several ways.

         308. Authorization. Al-Qaeda provided critical religious authorization for

Taliban (including the Haqqani Network) attacks on U.S. forces. As noted above,

in 1998 Osama bin Laden himself directed all Muslims to kill Americans at every

opportunity. In the ensuing years, senior al-Qaeda leaders issued a series of fatwas

directed toward the Taliban, conferring religious permission for them to attack

Coalition forces in Afghanistan. Examples include:

         • Osama bin Laden, October 2001: “[A]s [Mullah] Omar has said, the
           British invaded and were defeated in Afghanistan before bin Laden was
           to be found here, and the Russians came, before we did, and now the
           Americans have come, and we implore God to defeat them like He


   206
       John King Presents: Full Interview with Secretary of Defense Robert Gates, CNN (May 8,
2010), 2010 WLNR 27823364 (emphases added).
   207
       Pakistan Must Meet Certain Expectations on Counter-Terrorism, Hindustan Times (Apr.
22, 2011) (emphases added).

                                            125
  Case 1:20-cv-04322-LGS-OTW             Document 1      Filed 06/05/20    Page 132 of 274




             defeated their previous allies. . . . I say that jihad is without doubt
             mandatory for all Muslims . . .” 208

         • Ayman al-Zawahiri, May 2006: “I address my statement to my Muslim
           brothers in Kabul … I appeal to Muslims in Kabul in particular and
           throughout Afghanistan in general, for the sake of God, to sincerely
           stand against the infidels’ forces, which are invading Muslims’ lands. . .
           . I appeal to my Muslim brothers in Kabul in particular, and throughout
           Afghanistan in general, to defend Islam. . . . I urge them to . . . resist this
           infidel, oppressive, and unjust occupation of Muslims’ lands. . . . My
           Muslim brothers in Kabul in particular and throughout Afghanistan in
           general: Stand by the mujahideen until the invading forces are expelled
           . . .” 209

         • Ayman al-Zawahiri, September 2007: “My Muslim nation: Abd-
           al-Rashid Ghazi, Mullah Dadollah, Abdallah Azzam, Abu-Umar al-Sayf,
           Hammudah al-Uqlah, Abdallah al-Rashud, and those like them of the
           mujahid and steadfast ulema are the ones who deserve to be followed by
           you. . . . The Crusaders themselves have admitted their defeat in
           Afghanistan at the hands of the lions of the Taliban under the banner of
           the lion of Islam, our amir, the leader of the faithful, Mullah Muhammad
           Omar Mujahid, may God watch over him.” 210

         • Ayman al-Zawahiri, August 2009: “What is taking place in Afghanistan
           is a lesson that the entire Muslim Nation must learn. The Afghans
           should be proud of the fact that they will go down in Islamic history as
           the people whose Islamic emirate, led by the Commander of the Faithful,
           Mullah Muhammad Omar (may God protect him) has challenged
           America, the strongest power on the face of the earth. This emirate has
           sacrificed all it has for the sake of its doctrine, its principals, and for the
           protection and the safety of its Muslim migrant brothers, as well as the




   208
         Osama bin Laden: Terror for Terror, Al-Jazeera (Oct. 21, 2001) (emphases added).
   209
      Ayman al-Zawahiri: Zawahiri Addresses Afghans, Al-Jazeera (May 30, 2006) (emphases
added).
   210
         Ayman al-Zawahiri: Power of Truth, As-Sahab (Sept. 20, 2007) (emphasis added).

                                              126
  Case 1:20-cv-04322-LGS-OTW           Document 1      Filed 06/05/20    Page 133 of 274




            oppressed mujahidin
            . . .” 211

         • Ayman al-Zawahiri, May 2012: “O’ Muslim, glorious, defiant Afghan
           people, and O’ Muslim Ummah everywhere: join the Mujahideen,
           support and back them up, and fight under the banner of the Islamic
           Emirate under the leadership of the Amir of Believers Mulla
           Muhammad Omar Mujahid . . . who caused the Crusaders consecutive
           defeats and who are on the verge of expelling them [Crusaders] from the
           pure Afghanistan . . . Fight the enemies of Allah . . . Their defeat began
           appearing on the horizon, so intensify your attacks on them until Allah
           gives you dominance over them.”212

         309. After Osama bin Laden was killed, the Taliban confirmed his

religious and moral authority over their Afghan jihad, stating: “Osama Bin Laden

You were the sheikh of the Umma, a zealous man, and the scholar and imam of

the nation at the level of Jihad and the fighting of the enemies and their minions.

You were our sheikh, our imam and role model, the hero and miracle of our times,

unique among your peers, pious and highly sensible.” 213

         310. Al-Qaeda also authorized the Taliban’s terrorist attacks through its

participation in the al-Qaeda Terror Syndicate. That multi-group syndicate

involved periodic mafia-style meetings in which al-Qaeda, the Taliban (including

the Haqqani Network), and other members of the Syndicate (such as LeT) would


   211
       Ayman al-Zawahiri: The Facts of Jihad and the Lies of Hypocrisy, As-Sahab (Aug. 4,
2009) (emphasis added).
   212
       Ayman al-Zawahiri: Statement on the Burning of Qur’ans in Kabul, As-Sahab (May 9,
2012) (emphasis added).
   213
       Al-Somood, Bin Laden is alive O dead ones and the cowards should not dare close their
eyes (July 1, 2011) (emphasis added).

                                            127
  Case 1:20-cv-04322-LGS-OTW             Document 1      Filed 06/05/20   Page 134 of 274




confer about geographies and targets to attack.214 The Syndicate jointly authorized

particular types of terrorist attacks in particular geographies to be carried out by the

syndicate’s individual members. Among other things, the Syndicate specifically

approved: (i) the creation and operation of the Kabul Attack Network to attack

Americans in Kabul and the surrounding provinces; (ii) the campaign of suicide

attacks against Americans throughout Afghanistan; (iii) the Taliban’s campaign of

using anti-American IED and suicide attacks specifically in N2KL and P2K; and

(iv) the Taliban’s “surge” in Kandahar and Helmand from 2010 through 2012.

         311. The close operational coordination not only manifested itself in the

Kabul Attack Network, but also provided a broader terrorist superstructure that

organized the insurgency throughout Afghanistan. In observing that this

superstructure formed an Afghan-Pakistani “syndicate,” a former CIA analyst and

White House observer documented several notable syndicate-sponsored terrorist

attacks in Afghanistan that “demonstrated the intricate connections between al

Qaeda and its allies in Pakistan and Afghanistan.”215

         312. Consistent with all these activities, al-Qaeda operatives often assumed

a position of moral, religious, and tactical authority over Taliban members.




   214
         See Roggio & Joscelyn, The al Qaeda-Taliban Connection, supra note 4.
   215
         Riedel, Deadly Embrace, supra note 3, at 100.

                                               128
  Case 1:20-cv-04322-LGS-OTW           Document 1       Filed 06/05/20     Page 135 of 274




Al-Qaeda members, for example, often “act[ed] as instructors and religious

teachers for Taliban personnel and their family members.”216

         313. Al-Qaeda’s messages of authorization extended to suicide bombings.

In February 2003, bin Laden issued a recording calling specifically for suicide

attacks in Afghanistan and Iraq. A few months later, he reiterated in a fatwa

directed at Afghans that “jihad against [the Coalition] is your duty” and that, “If

you start suicide attacks, you will see the fear of Americans all over the world.”217

The Taliban had previously viewed suicide attacks as taboo, but al-Qaeda

convinced it that such attacks were religiously permissible. Al-Qaeda trumpeted

that success online, announcing, “While suicide attacks were not accepted in the

Afghani culture in the past, they have now become a regular phenomenon!”218

With al-Qaeda’s authorization, the number of suicide attacks in Afghanistan

increased from one in 2002, two in 2003, and six in 2004 to 21 in 2005, and more

than 100 in 2006.

         314. Al-Qaeda’s role in that suicide-bombing trend was pivotal. As Islamic

history scholar Brian Glyn Williams explained, “Al Qaeda operatives carried out



   216
     Thomas Joscelyn, Al Qaeda Growing Stronger Under Taliban’s Umbrella, UN Finds,
Long War J. (June 23, 2019).
   217
       Osama bin Laden: Calls for Martyrdom Operations Against US and British Interests
(Apr. 10, 2003) (emphasis added).
   218
       Brian Glyn Williams, Suicide Bombings in Afghanistan, Jane’s Islamic Affairs Analyst, at
5 (Sept. 2007), available at https://www.brianglynwilliams.com/IAA%20suicide.pdf.

                                             129
  Case 1:20-cv-04322-LGS-OTW          Document 1      Filed 06/05/20    Page 136 of 274




two to three [suicide] bombings per year on the Afghan government and NATO

troops from 2002 to 2004 that were meant to demonstrate the effectiveness of this

alien tactic to the local Taliban. These demonstrative acts and videos of successful

[al-Qaeda] suicide bombings in Iraq seem to have convinced the Taliban to

condone the previously taboo tactic of suicide bombing.”219

         315. Al-Qaeda also authorized the Taliban’s use of IED attacks against

Americans in Afghanistan. Osama bin Laden publicly called for the Taliban to

escalate its IED campaign against Americans in Afghanistan on several occasions

in 2006 alone, in speeches in which he instructed his followers that Allah

supported their use of IEDs because of the psychological terror, “destruction of the

soldier’s morale” and “rise in cases of suicide among” Americans. Osama bin

Laden’s messages of authorization—directed toward a specific type of Muslim

(Taliban), a class of target (Americans in Afghanistan), and weapon (IEDs)—were

important in enabling the Taliban’s IED campaign against Coalition forces.

         316. Al-Qaeda also authorized the Taliban’s use of RPG attacks against

Americans in Afghanistan. In 2006, for example, Osama bin Laden publicly called

for anti-American terrorists to escalate their use of RPGs in Afghanistan.




   219
      Brian Glyn Williams, Afghanistan Declassified: A Guide to America’s Longest War at
202 (2012).

                                           130
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20    Page 137 of 274




         317. Al-Qaeda also authorized the Taliban’s campaign of kidnapping

Americans and others who supported the Afghan government. For example,

Mustafa Abu al-Yazid (aka Saeed al-Masri), was one of al-Qaeda’s founders,

served as al-Qaeda’s leader in Afghanistan, and helped persuade the Taliban to

“adopt[] a number of ‘al-Qaida inspired’ tactics, first and foremost suicide

bombings, but also others associated with al-Qaida, such as kidnappings,

decapitation of hostages, roadside bombs, and an active media campaign.”220

Similarly, another senior al-Qaeda leader, Abu Hafs al-Najdi (aka Abdul Ghani),

“commonly instructed subordinate leaders to conduct kidnapping operations

against foreigners.”221

         318. Planning. Al-Qaeda also planned the Taliban’s, including the

Haqqani Network’s, terrorist attacks against Americans in Afghanistan. Working

through its syndicate partners and from its safe havens on both sides of the

Afghanistan-Pakistan border, al-Qaeda “plan[ned] international as well as regional

terrorist attacks, particularly in Afghanistan.” 222 Two terrorism scholars explained

al-Qaeda’s syndicate-related shuras as follows:


   220
       Anne Stenersen, Blood Brothers Or A Marriage Of Convenience? The Ideological
Relationship Between Al-Qaida And The Taliban, Paper presented at ISA’s 50th Annual
Convention, “Exploring the Past, Anticipating the Future” in New York City, Febr. 15-18, 2009,
available at https://convention2.allacademic.com/one/isa/isa09/.
   221
      ISAF Joint Command, ISAF Confirms Number 2 Insurgent Killed In Coalition Airstrike,
Def. Visual Info. Distribution Serv. (Apr. 13, 2011).
   222
         McNally & Weinbaum, Resilient al-Qaeda, supra note 53, at 3.

                                              131
  Case 1:20-cv-04322-LGS-OTW            Document 1     Filed 06/05/20   Page 138 of 274




         The staying power of al-Qaeda became rooted in its ability to draw
         from and coordinate with allied groups embedded in multiple
         networks on both sides of the border. . . . It established a number of
         shuras to coordinate strategy, operations, and tactics against the
         West and regional allied governments. In particular, al-Qaeda fighters
         have been involved in planning and carrying out suicide attacks,
         developing improved explosive devices, and helping conduct
         operations against high-value targets. 223

         319. Al-Qaeda training provided another key mechanism through which

that planning occurred. Before the September 11 attacks, al-Qaeda operated

training camps in eastern Afghanistan at the Taliban’s request. By 2005 at the

latest, al-Qaeda began bringing instructors from Iraq to train the Taliban how to

fight Americans.

         320. By the mid-2000’s, al-Qaeda’s partnership with the Haqqani Network

had facilitated the emergence of a network of al-Qaeda training camps in North

Waziristan. According to a declassified 2008 Defense Intelligence Agency

intelligence report:

         [Sirajuddin] Haqqani is also affiliated with the several foreign
         fighter (ff) training facilities that are controlled by or associated
         with al Qaeda (AQ) in North Waziristan.

         . . . A list and brief description of each facility follows.

         A. Mohammad Taher ((Yuldashov)), leader of the Islamic Movement
         of Uzbekistan (IMU), and his 60 bodyguards are staying at an AQ
         training center in Miram Shah Dand.



   223
         Id. at 3-4.

                                             132
  Case 1:20-cv-04322-LGS-OTW           Document 1       Filed 06/05/20     Page 139 of 274




         B. There is an al-Qaeda training center located at the Miskeen and
         Khaisur in Miram Shah. Approximately 45 U/I Arabs and Uzbeks
         receive training there.

         C. An AQ training facility called “Shaki Masood” is located in Miram
         Shah and over 200 AQ members (NFI) reside there; Usama bin Laden
         has been seen in this center (NFI).

         D. Another AQ training facility is located at Spin-Qamar in Masood
         District of Northern Waziristan. Over 80 Arabs receive training there
         (NFI).224

         321. One al-Qaeda operative, whom U.S. officials characterized as “an

important al-Qaida planner and explosives expert,” Ghazwan al-Yemeni, trained

Taliban members in Miran Shah, in Pakistan. 225 He eventually helped plan the

December 30, 2009 attack on Camp Chapman that killed seven Americans.

         322. The training continued throughout the relevant timeframe of this case.

In 2015, for example, U.S. and Afghan forces raided two al-Qaeda training camps

in Kandahar Province—both reportedly “hosted by the Taliban.” 226 One camp was

the largest al-Qaeda facility discovered since the September 11 attacks, occupying

nearly 30 square miles.


   224
       Defense Intelligence Agency, Intelligence Information Report: Location and Activities of
the Training Centers Affiliated with the Haqqani Network, Taliban, and al-Qaeda in Northern
Waziristan and Future Plans and Activities of Sarajuddin ((Haqqani)) (Apr. 16, 2008) (emphasis
added; original emphasis omitted).
   225
       Evan F. Kohlmann, Al-Qa’ida’s Yemeni Expatriate Faction In Pakistan, CTC Sentinel,
Vol. 4, Issue 1, at 11-12 (Jan. 2011).
   226
       Thomas Joscelyn & Bill Roggio, Trump’s Bad Deal With The Taliban, Politico (Mar. 18,
2019), https://www.politico.com/magazine/story/2019/03/18/donald-trump-afghanistan-zalmay-
khalilzad-225815.

                                             133
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20   Page 140 of 274




         323. Al-Qaeda specifically planned the Kabul Attack Network’s campaign

of terror, including its spectacular suicide bombings and insider attacks. As two

terrorism scholars explained, the “operational and tactical cooperation” provided

by al-Qaeda “increased the ability of the Haqqani Network to carry out

sophisticated attacks in Kabul,” including insider attacks in Kabul “through

operations planned together with Sirajuddin Haqqani.”227

         324. Al-Qaeda also planned Taliban attacks by devising the operational

scheme through which the Taliban carried out its attacks, and by providing the

Taliban with financing that helped it do so. For example, in July 2010, the U.S.

Treasury Department designated Nasiruddin Haqqani, the brother of Sirajuddin, a

Specially Designated Global Terrorist pursuant to Executive Order 13224. 228 The

designation noted that Nasiruddin had received terrorist funding via payments from

al-Qaeda.229 More broadly, al-Qaeda has long provided substantial financial

assistance to the Taliban, with the aim of increasing the frequency of its terrorist

attacks against Americans in Afghanistan. Al-Qaeda not only provided direct aid,

but also helped the Taliban raise additional funds from Arabs around the world—




   227
         McNally & Weinbaum, Resilient al-Qaeda, supra note 53, at 9.
   228
      U.S. Dep’t of Treasury, Treasury Targets Taliban and Haqqani Network Leadership:
Treasury Designates Three Financiers Operating in Afghanistan and Pakistan (July 22, 2010).
   229
         Id.

                                              134
 Case 1:20-cv-04322-LGS-OTW             Document 1      Filed 06/05/20       Page 141 of 274




all of which was important to the Taliban’s anti-American campaign of terrorism

in Afghanistan.

         325. Information derived from al-Qaeda and Taliban detainees held at

Guantanamo Bay, Cuba (“Gitmo”) corroborates the planning activities of the

al-Qaeda-Taliban syndicate. For example, according to purported Gitmo

intelligence files quoted by terrorism experts Bill Roggio and Thomas Joscelyn,

one detainee, Abdul Razak, was “a high-level military commander in a newly-

conceived ‘unification’ of Al Qaeda, [Hezb-e-Islami Gulbuddin (“HIG”)] and

Taliban forces within Afghanistan,” which the leaders of the respective terrorist

groups “envisioned [as a] new coalition of HIG, Al Qaeda, and Taliban during a

meeting in Pakistan in early spring 2003.”230 Another purported Gitmo detainee

file as quoted by Messrs. Roggio and Joscelyn concerning Haroon al Afghani, a

dual-hatted al-Qaeda/HIG terrorist, stated as follows:

         [Afghani] is assessed to have attended a joint operations meeting among
         extremist elements in mid-2006. A letter describing an 11 August 2006
         meeting between commanders of the Taliban, al Qaeda, [Lashkar e
         Taiba], . . . and the Islamic Party (probably a reference to the HIG),
         disclosed that the groups decided to increase terrorist operations in the
         Kapisa, Kunar, Laghman, and Nangarhar provinces, including suicide
         bombings, mines, and assassinations. 231




   230
         Roggio & Joscelyn, The al Qaeda-Taliban Connection, supra note 4.
   231
         Id. (brackets in original)

                                              135
 Case 1:20-cv-04322-LGS-OTW              Document 1       Filed 06/05/20   Page 142 of 274




Taken together, these reports “demonstrate a high degree of collusion between al

Qaeda and other terrorist groups” as part of a “jihadist hydra” that shared the

“common goal” of seeking to “drive the U.S.-led coalition out of Afghanistan.” 232

         326. The Taliban also relied on “Al-Sahab, al Qa’ida’s media enterprise, to

distribute video propaganda and recruit supporters.” 233 As terrorism scholar Seth

Jones explained, al-Qaeda’s media-support for the Taliban was as important

operationally as its financial support: “Afghan groups were able to tap into the

broad international jihadi network” because “al Qa’ida was instrumental in

improving” the Taliban’s “communications capabilities.”234 In addition, “jihadi

websites, with links to al Qa’ida, … helped raise funds for the Taliban. Some

solicited military items for the Taliban, including gas masks and night vision

goggles.”235

         327. Al-Qaeda also taught the Taliban effective terrorist tradecraft.

Through its relationship with al-Qaeda, the Taliban “developed or acquired new

commercial communications gear and field equipment,” as well as “good tactical,

camouflage, and marksmanship training.”236 They also “share[d] communication



   232
         Id.
   233
         Jones, Graveyard of Empires, supra note 202, at 232.
   234
         Id. at 291.
   235
         Id. at 292.
   236
         Id. at 293.

                                               136
 Case 1:20-cv-04322-LGS-OTW               Document 1      Filed 06/05/20   Page 143 of 274




and transportation routes, coordinate[d] attacks, and even utilize[d] the same

explosive and suicide-bomber networks.”237

         328. All of these activities were part of al-Qaeda’s planning of the

Taliban’s terrorist attacks in Afghanistan. By providing an array of advice,

direction, and material support to the Taliban, al-Qaeda was able to use the Taliban

for its own jihadist ends. In so doing, al-Qaeda followed its more general practice

of planning terrorist attacks whose details it would delegate to local Islamic

proxies. As terrorism scholar Thomas Ruttig observed: “Both in Afghanistan and

Pakistan, al-Qaeda exploits local conditions by co-opting militant groups with local

battle experience.” 238 Here, its “cooptation” of the Taliban was especially effective.

         329. Al-Qaeda’s planning activities extended to suicide bombings in

particular. The suicide attacker is a core component of al-Qaeda’s ideology and

operational philosophy. Al-Qaeda exported its suicide-bombing expertise to the

Taliban through their joint syndicate, and in so doing played a pivotal leadership

and operational role in every Taliban suicide bombing in Afghanistan. For that

reason, every suicide bombing alleged in this case was jointly planned and

committed by al-Qaeda and the Taliban.




   237
         McNally & Weinbaum, Resilient al-Qaeda, supra note 53, at 9.
   238
         Ruttig, The Other Side, supra note 192, at 22.

                                                137
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20   Page 144 of 274




         330. Al-Qaeda planned suicide bombings in Afghanistan by mounting a

coordinated communications campaign to persuade Taliban (including Haqqani)

terrorists to embrace suicide attacks against Americans. This campaign included

messaging touting suicide attacks and honoring “martyrs” through al-Qaeda print

and video outlines; promoting religious “scholarly” outreach; and emphasizing in-

person indoctrination of Taliban and Haqqani leadership.

         331. Al-Qaeda used this message—and the moral authority conveyed by

bin Laden’s 2003 fatwa authorizing martyrdom operations—to change the

Taliban’s organizational posture toward suicide bombing. Those efforts convinced

the Taliban to begin participating in, and claiming credit for, al-Qaeda-planned

suicide attacks in Afghanistan. Without al-Qaeda’s involvement, neither Taliban

leadership nor its rank-and-file commanders would have embraced suicide

bombing as a permissible tactic against Coalition forces in Afghanistan. As Dr.

Jones summarized the evidence, “Al Qa’ida’s involvement was particularly

important in this regard because Afghan insurgent groups were surprisingly inept

at suicide attacks.” 239

         332. To implement its planned suicide-bombing campaign, al-Qaeda also

created and ran training camps that converted disaffected recruits into suicide

bombers at an industrial scale. In collaboration with other syndicate members,

   239
         Jones, Graveyard of Empires, supra note 202, at 293.

                                               138
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 145 of 274




Al-Qaeda created and designed a process for identifying candidates for martyrdom

operations; indoctrinating them with the necessary religious and socio-political

concepts; and training them how, for example, to conceal a suicide vest, navigate a

checkpoint, and detonate for maximum impact. Some of this training occurred in

al-Qaeda-affiliated camps in Pakistan.

      333. Under al-Qaeda’s standard training procedure for suicide bombers,

each suicide bomber swore fealty to al-Qaeda. Al-Qaeda emphasized declarations

of fealty to ensure the suicide bomber’s commitment to al-Qaeda’s and the

Taliban’s jihad by creating a psychological “point of no return” for the bomber.

Suicide bombers who completed al-Qaeda’s training course were officially viewed

by al-Qaeda as al-Qaeda operatives and given all the stature in jihadist circles that

such a title provided.

      334. To carry-out their joint suicide bombing campaign, al-Qaeda and the

Taliban relied upon a series of dual-hatted al-Qaeda/Taliban terrorists to support

the key nodes of the training and recruitment effort, including the madrassas from

which most recruits were drawn and the training camps in which they were refined

into suicide weapons. Such dual-hatted al-Qaeda/Taliban terrorists include, but are

not limited to, the following:

      • Sirajuddin Haqqani, a member of al-Qaeda’s ruling council and
        commander of the Haqqani Network. Sirajuddin Haqqani operated at
        least four joint al-Qaeda/Taliban training camps in North Waziristan,
        from which al-Qaeda and the Taliban supported the suicide bombing
                                         139
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 146 of 274




         campaign in Afghanistan with a regular stream of al-Qaeda operatives
         who would kill themselves in Taliban martyrdom attacks. Sirajuddin
         Haqqani helped plan many of the suicide attacks in this case, including,
         but not limited to, the October 29, 2011 suicide bombing conducted by
         al-Qaeda and the Haqqani Network under the auspices of the Kabul
         Attack Network, which killed David E. Cabrera, James M. Darrough, and
         Christopher R. Newman.

      • Qari Ziaur Rahman, a dual-hatted al-Qaeda/Taliban terrorist who was a
        top regional commander of both organizations in Kunar and Nuristan
        Provinces. Rahman worked closely with al-Qaeda’s chief of operations
        for Kunar Province, Abu Ikhlas al-Masri, with whom he shared
        operations, training, and logistics resources. Rahman helped plan suicide
        attacks that took place in N2KL, including, but not limited to, the June
        21, 2010 suicide attack in Kunar Province that killed Andrew R. Looney.

      • Sheikh Aminullah (aka Fazeel-a-Tul Shaykh Abu Mohammed
        Ameen al Peshwari), a dual-hatted al-Qaeda/Taliban terrorist who ran
        the Ganj Madrassa, which trained and recruited suicide bombers for
        al-Qaeda and the Taliban. Sheikh Aminullah helped plan suicide attacks
        that took place in N2KL.

      335. Al-Qaeda also created the suicide network infrastructure necessary to

deploy al-Qaeda suicide bombers in support of the Taliban’s jihad against

Americans in Afghanistan. This attack infrastructure included (i) high-level

meetings between representatives of al-Qaeda, the Taliban, and other members of

the syndicate; (ii) joint al-Qaeda/Taliban safehouses and ratlines to support the

deployment of suicide bombers inside Afghanistan; and (iii) a constellation of

al-Qaeda-affiliated propaganda outlets that glorified the attackers, which was

essential both for purposes of maximizing the chance the particular attacker would




                                         140
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 147 of 274




carry out his attack, as well as incentivizing the next generation of suicide bombers

thereafter.

      336. As a reflection of the joint nature of al-Qaeda-Taliban martyrdom

operations, al-Qaeda suicide bombers were often referred to as “Mullah Omar’s

Missiles.” By following a strategy in which the weapon (i.e., the suicide bomber)

was created by al-Qaeda and then deployed by the Taliban, both organizations

played to their respective operational competencies to maximize the impact of their

shared jihad against Americans in Afghanistan.

      337. Al-Qaeda’s planning of the Taliban’s terrorist campaign against

Americans in Afghanistan also emphasized tactics designed to shoot down

American helicopters, including Black Hawks and Chinooks. Al-Qaeda’s role was

essential, as the Taliban and Haqqani Network terrorists had no tactical experience

successfully targeting American helicopters prior to their training from al-Qaeda.

Al-Qaeda’s anti-helicopter training was renowned in jihadist circles, having

successfully trained terrorists in Iraq and Somalia with a substantial history of

downing American helicopters, including the “Black Hawk Down” incident during

the Battle of Mogadishu in 1993, and a litany of successful attacks in Iraq from

2003 through 2007.

      338. Shooting down a helicopter with an RPG requires precise training and

is one of the most challenging attack types for an unskilled terrorist to execute.

                                         141
 Case 1:20-cv-04322-LGS-OTW             Document 1      Filed 06/05/20   Page 148 of 274




Consequently, al-Qaeda’s specialized skills, experience, and training had an

outsized impact on the Taliban and Haqqani Network. Al-Qaeda forward-deployed

trainers into Afghanistan for the specific purpose of instructing Taliban fighters

concerning attacks targeting helicopters. The Taliban deployed this training to

attack multiple American and Coalition helicopters, including in an August 6, 2011

attack, committed jointly by the Haqqani Network and al-Qaeda, that destroyed a

Chinook helicopter and killed Darrik C. Benson, Bryan J. Nichols, and Nicholas P.

Spehar, whose family members are Plaintiffs in this case. See infra ¶¶ 392-400,

753-761, 915-926.

         339. Al-Qaeda further planned the Taliban’s campaign of fertilizer-based

IEDs in Afghanistan. As the acclaimed journalist Peter Bergen documented in

2009:

         [I]n recent years, Taliban leaders have drawn especially close to Al
         Qaeda. … Today, at the leadership level, the Taliban and Al Qaeda
         function more or less as a single entity. The signs of this are
         everywhere. For instance, IED attacks in Afghanistan have increased
         dramatically since 2004. What happened? As a Taliban member told
         Sami Yousafzai and Ron Moreau of Newsweek, “The Arabs taught us
         how to make an IED by mixing nitrate fertilizer and diesel fuel and
         how to pack plastic explosives and to connect them to detonators
         and remote-control devices like mobile phones. We learned how to
         do this blindfolded so we could safely plant IEDs in the dark.” 240




   240
         Bergen, The Front, supra note 200 (emphases added).

                                              142
  Case 1:20-cv-04322-LGS-OTW             Document 1       Filed 06/05/20   Page 149 of 274




Roughly 80% or more of all the IEDs used in successful attacks against Americans

in Afghanistan since 2007 have been fertilizer-based IEDs. On information and

belief, nearly all of the IED victims in this case were killed by fertilizer-based

IEDs planted by the Taliban and derived from al-Qaeda schematics and training.

         340. More broadly, al-Qaeda members regularly trained Taliban

commanders in sophisticated bomb-making techniques that were material to the

Taliban’s ability to assemble and deploy explosives against Coalition forces.

According to the terrorism scholar Seth Jones:

         Insurgent groups also used al Qa’ida support to construct increasingly
         sophisticated improvised explosive devices (IEDs), including remote
         controlled detonators. For example, al Qa’ida ran a handful of
         manufacturing sites in the Bush Mountains, the Khamran Mountains,
         and the Shakai Valley in Pakistan’s Federally Administered Tribal
         Areas. They ranged from small facilities hidden within compounds
         that build IEDs to much larger “IED factories” that doubled as
         training centers and labs whose recruits experimented with IED
         technology. Some of this explosives expertise came from Iraqi groups
         that provided information on making and using various kinds of
         remotely controlled devices and timers.241

As part of that assistance, al-Qaeda also invited Taliban commanders to Iraq,

where it learned how to make armor-penetrating “shaped” charges, 242 a type of

IED later known as an EFP, which is designed to penetrate the armor on U.S.

vehicles.


   241
         Jones, Graveyard of Empires, supra note 202, at 292.
   242
       Sami Yousafzai & Ron Moreau, Unholy Allies: The Taliban Haven’t Quit, And Some Are
Getting Help And Inspiration From Iraq, Newsweek (Sept. 25, 2005).

                                               143
  Case 1:20-cv-04322-LGS-OTW              Document 1      Filed 06/05/20   Page 150 of 274




         341. Al-Qaeda’s support of Taliban IED and EFP attacks also included the

use of forward deployed al-Qaeda terrorist trainers throughout Afghanistan. For

example, by 2010, “[i]n southern Afghanistan, there [were] pockets of al Qa’ida . .

. in Helmand and several neighboring provinces, such as Kandahar and Zabol,”

which helped the Taliban “conduct suicide attacks and other improvised explosive

device[]” attacks.243 Al-Qaeda also forward deployed IED terrorist trainers in P2K

and N2KL.

         342. Al-Qaeda’s planning efforts were significant and amplified the

lethality of the Taliban insurgency. Indeed, al-Qaeda’s ability to export its

terrorism expertise to local groups like the Taliban is what “renders al-Qaeda

effective in the first place.”244 In the case of the Taliban, al-Qaeda executed the

“transfer of technical knowhow, devices, and training for IED use, truck and

suicide bombings as well as the channel[]ing of what some observer[s] call

‘strategic-level funding.’” 245 Those activities were material to the Taliban’s ability

to execute the type of attacks that killed and injured Plaintiffs. As Mr. Ruttig

concluded, al-Qaeda’s activities “raise[d] the level of sophistication of Taleban and

associated networks’ operations.”246


   243
         Jones, Graveyard of Empires, supra note 202, at 330.
   244
         Ruttig, The Other Side, supra note 192, at 22.
   245
         Id.
   246
         Id.

                                                144
  Case 1:20-cv-04322-LGS-OTW             Document 1     Filed 06/05/20   Page 151 of 274




         343. As Mr. Bergen put it in November 2009, “Small numbers of Al Qaeda

instructors embedded with much larger Taliban units have functioned something

like U.S. Special Forces do—as trainers and force multipliers.”247 Al-Qaeda’s

sophistication and support was important to the Taliban’s terrorist enterprise. And

al-Qaeda’s involvement went beyond technical support; it also worked actively

with Taliban leadership to set strategy and orchestrate attacks. For that reason, “Al

Qaeda leader Ayman al-Zawahiri, Hamza bin Laden and the Taliban leadership

‘have repeatedly emphasized the importance of the alliance between’ the two

groups.”248

         C. Al-Qaeda Directly Participated in Taliban Terrorist Attacks

         344. Al-Qaeda members also committed attacks alongside the Taliban,

including some of the attacks that killed or injured Plaintiffs or their family

members. In the early 2000s, al-Qaeda’s third-ranking member, Abu Layth-al Libi,

participated in attacks on Americans in Afghanistan alongside Taliban members

under the command of Sirajuddin Haqqani. On July 13, 2008, Taliban and

al-Qaeda members jointly attacked a U.S.-Afghan outpost in Wanat in Nuristan

Province, killing nine U.S. soldiers. In May 2010, Taliban and al-Qaeda members




   247
         Bergen, The Front, supra note 200.
   248
         Joscelyn, Al Qaeda Growing Stronger, supra note 216.

                                              145
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20   Page 152 of 274




participated in an attack on the U.S. airbase in Bagram, killing an American

contractor.

         345. In fact, many terrorist operatives were “dual-hatted,” meaning that

they were both Taliban and al-Qaeda members. Those dual-hatted terrorists

directly committed many of the attacks that killed and injured Plaintiffs. Examples

are set forth below.

         346. Nangarhar, Nuristan, Kunar and Laghman (N2KL) Provinces.

Al-Qaeda deployed senior operatives to coordinate attacks in the strategically

critical (and contiguous) Nangarhar, Nuristan, Kunar and Laghman Provinces

(known as N2KL), which were well-known al-Qaeda strongholds. In N2KL,

al-Qaeda, the Taliban, and LeT maintained joint cells responsible for anti-

American terrorism. The dual-hatted al-Qaeda/Taliban terrorists who ran the cells

include:

         • Farouq al-Qahtani, al-Qaeda’s “emir for eastern Afghanistan” who
           “supported the Taliban-led insurgency against the Afghan government,
           US forces and their allies.”249 Al-Qahtani maintained this position until
           he was killed in a U.S. airstrike on or about October 2016. After
           Qahtani’s death, al-Qaeda’s General Command issued a statement
           praising Qahtani’s leadership of a joint cell with the Taliban, through
           which Qahtani “participated with their mujahidin brothers from the




   249
      Thomas Joscelyn, Pentagon Confirms Death of Senior al Qaeda Leader In Afghanistan
(Nov. 4, 2016).

                                          146
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20    Page 153 of 274




            Islamic Emirate . . . in cleansing [Kunar and Nuristan Province] from the
            crusaders’ abomination.”250

         • Sakhr al-Taifi, al-Qaeda’s second highest leader in Afghanistan, who,
           while embedded with the Taliban, “coordinate[d] and direct[ed] insurgent
           attacks against Afghan security forces and coalition troops throughout
           eastern Afghanistan,” and “also supplie[d] weapons and equipment to
           insurgents.”251 On information and belief, al-Taifi helped commit all of
           the attacks carried out by joint al-Qaeda/Taliban cells in N2KL until he
           was killed in a Coalition airstrike on or about May 27, 2012.

         • Mufti Assad, an al-Qaeda network leader for Kunar Province, who “was
           an insurgent leader who controlled al-Qaida terrorists operating in
           Kunar,” “led dozens of all-Qaida affiliated fighters throughout eastern
           Afghanistan and coordinated their attacks across the region,” and “was
           also an explosives expert who provided training to insurgents on how to
           construct and use improvised explosive devices.” 252 On information and
           belief, Assad replaced al-Taifi after the latter was killed, and Assad
           assumed the same role until he himself was killed in a coalition airstrike
           on or about August 2012.

         • Abdallah Umar al-Qurayshi, a senior al-Qaeda operative who
           commanded the joint al-Qaeda/Taliban cells operating in Kunar and
           Nuristan Provinces. On information and belief, al-Qurayshi helped
           commit all of the attacks carried out by joint al-Qaeda/Taliban cells
           operating in Kunar and Nuristan Provinces prior to his death on or about
           September 25, 2010 during a coalition airstrike that also killed a senior
           Taliban commander named Matin who operated as part of the
           al-Quarayshi’s joint al-Qaeda/Taliban cell.



   250
        Al-Qaeda General Command, The Martyrdom of the Commander Faruq al-QabtanT and
His Comrades in Konar Province (Nov. 23, 2016), available at
https://scholarship.tricolib.brynmawr.edu/bitstream/handle/10066/18978/AQC20161123.pdf?seq
uence=1&isAllowed=y.
   251
      ISAF Joint Command, Morning Operational Update, Def. Visual Info. Distribution Serv.
(May 28, 2012).
   252
      ISAF Joint Command, Morning Operational Update, Def. Visual Info. Distribution Serv.
(Aug. 5, 2012).

                                           147
  Case 1:20-cv-04322-LGS-OTW               Document 1       Filed 06/05/20     Page 154 of 274




         • Abu Atta al-Kuwaiti, a senior al-Qaeda explosives expert who
           coordinated the Nuristan and Kunar Province al-Qaeda/Taliban joint
           cells’ IED and suicide bomb attacks. On information and belief,
           al-Kuwaiti helped commit every IED attack carried out by joint
           al-Qaeda/Taliban cells operating in Kunar and Nuristan Provinces prior
           to his death on or about September 25, 2010 during the same coalition
           airstrike that also killed al-Qurayshi and the Taliban commander Matin.

         • Abu Ikhlas al-Masri, a who served as an al-Qaeda commander
           responsible for helping coordinate al-Qaeda / Taliban attacks in Kunar
           Province from 2008 until his capture on or about December 2010. On
           information and belief, al-Masri helped commit all of the attacks carried
           out by al-Qaeda/Taliban joint cells in Kunar Province until his death.

         • Sa’ad bin Abi Waqas, a senior al-Qaeda leader who “coordinated
           attacks against coalition forces” and “conducted training” for terrorists
           throughout Kunar Province, “as well as weapons procurement.”253 Waqas
           replaced Masri as al-Qaeda’s operations chief in Kunar Province until
           Waqas was killed in the same April 13, 2011 coalition airstrike that killed
           al-Najdi. On information and belief, Waqas helped commit all of the
           attacks carried out by al-Qaeda/Taliban joint cells in Kunar Province
           after al-Masri’s death.

         • Abu Hafs al-Najdi (aka Abdul Ghani), a senior al-Qaeda operative
           who directed al-Qaeda operations in Kunar Province, and was
           specifically responsible for “planning attacks against Afghan and
           coalition forces” and “directing suicide-bomb attacks targeting U.S.
           government officials” that were facilitated by his “network” of Taliban
           terrorists.254 On information and belief, al-Najdi planned and authorized
           the Taliban’s attacks against Americans in Kunar Province, including its
           suicide attacks, prior to his death in a Coalition airstrike on April 13,
           2011.

         • Fatah Gul, an al-Qaeda facilitator who “ran terrorist training camps
           where insurgents learned how to conduct improvised explosive devices


   253
       ISAF Joint Command, Morning Operational Update, Def. Visual Info. Distribution Serv.
(Apr. 16, 2011).
   254
         U.S. Dep’t of Def., Strike Kills No. 2 Insurgent in Afghanistan (Apr. 26, 2011).

                                                 148
  Case 1:20-cv-04322-LGS-OTW            Document 1      Filed 06/05/20      Page 155 of 274




             attacks” in the N2KL region of Afghanistan. 255 Fatah Gul maintained this
             position until he was killed in a Coalition airstrike on or about August
             2012.

         347. As explained above, LeT operatives also embedded themselves with

these cells and participated in these attacks. See supra ¶ 99.

         348. Joint al-Qaeda/Taliban/LeT cells operating under the local command

of the above al-Qaeda terrorists committed the attacks that killed and/or injured

Blaine E. Redding, Andrew R. Looney, Jared C. Plunk, Carlos J. Negron, Sr.,

Shaun M. Mittler, Benjamen G. Chisholm, William Gross Paniagua, Michael J.

Knapp, and Kevin. J. Griffin, whose families are Plaintiffs in this case.

         349. Paktia, Paktika, and Khost (P2K) Provinces. Like N2KL, P2K was

a strategically critical area that historically served as a Haqqani Network

stronghold and also operated as a “traditional al-Qaeda safe haven[].”256 In this

area, al-Qaeda and the Taliban, through the Haqqani Network, maintained joint

cells responsible for anti-American terrorism. The dual-hatted terrorists who ran

the cells include:

         • Bekkay Harrach (aka al-Hafidh Abu Talha al-Almani), a senior
           member of al-Qaeda’s external operations branch, who specifically
           planned, authorized, and helped commit Haqqani Network attacks while
           living under the direct protection of Siraj Haqqani, himself a member of
           al-Qaeda’s ruling council. On information and belief, Harrach helped
           commit every major Haqqani Network attack in Afghanistan prior to his

   255
         ISAF Joint Command, Morning Operational Update (Aug. 5, 2012).
   256
         McNally & Weinbaum, Resilient al-Qaeda, supra note 53, at 11-12.

                                              149
  Case 1:20-cv-04322-LGS-OTW             Document 1    Filed 06/05/20     Page 156 of 274




             death on or about May 19, 2010. As one Haqqani source told Der Spiegel
             in January 2009, “[i]f we want to do something, we always ask [Harrach]
             for his opinion.”

         • Sirajuddin Haqqani, a member of al-Qaeda’s ruling council and
           commander of the Haqqani Network, who has previously stated that
           al-Qaeda “enlighten[s] the road for [the Taliban] and they resist against
           the cross worshippers [i.e., the Americans] by cooperating with us and us
           with them in one trench” pursuant to cooperation between al-Qaeda and
           the Taliban “at the highest limits.”257 On information and belief,
           Sirajuddin Haqqani planned, authorized, and helped to commit the
           Haqqani Network’s attack campaign in P2K after Harrach’s death on or
           about May 19, 2010.

         • Khalil al-Rahman Haqqani, is a brother of Jalaluddin Haqqani and
           served as a dual-hatted al-Qaeda/Taliban terrorist, serving as a
           “fundraiser, financier, and operational commander” for the Haqqani
           Network, 258 as well as an agent who “acted on behalf of al-Qa’ida” 259 and
           had “been linked to al-Qa’ida terrorist operations.”260 On information and
           belief, Khalil al-Rahman Haqqani helped to plan, authorize, and commit
           the Haqqani Network’s attacks after Harrach’s death on or about May 19,
           2010.

         350. As explained above, LeT operatives also embedded themselves with

these cells and participated in these attacks. See supra ¶ 99.

         351. Joint al-Qaeda/Taliban cells operating under the local command of the

above dual-hatted al-Qaeda/Taliban terrorists committed the attacks that killed



   257
         Roggio, Taliban Cooperation, supra note 32.
   258
       Bill Roggio, US Designates al Qaeda, Haqqani Network Leaders As Terrorists, Long War
J. (Feb. 9, 2011).
   259
      U.S. Dep’t of Treasury, Treasury Targets The Financial And Support Networks of Al
Qa’ida And The Taliban, Haqqani Network Leadership (Feb. 9, 2011).
   260
      U.S. Dep’t of State, Rewards for Justice - Reward Offers for Information on Haqqani
Network Leaders (Aug. 20, 2014).

                                              150
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20    Page 157 of 274




and/or injured Robert W. Crow, Adam J. Novak, James E. Thode, Nicholas J.

Aleman, Mecolus C. McDaniel, Demetrius M. Frison, Rafael A. Nieves, Jr.,

Michael D. Elm, Jonathan Cleary, Richard L. McNulty, III, Vincent J. Ellis, Todd

W. Lambka, Ethan J. Martin, Jeremy F. Hardison, Ryan P. Jayne, Joseph A.

Richardson, Brandon Korona, Sonny C. Zimmerman, Joshua J. Strickland, and

Thomas A. Baysore, Jr.

      352. Kabul Attack Network-Related Provinces. Al-Qaeda deployed

senior operatives to coordinate attacks in the strategically critical cluster of

provinces around the capital city. This area was the focus of the Kabul Attack

Network, where al-Qaeda and the Taliban, including the Haqqani Network,

maintained joint al-Qaeda/Taliban cells responsible for planning and committing

attacks. See supra Part I.E. The dual-hatted al-Qaeda/Taliban terrorists who ran the

cells include:

      • Sirajuddin Haqqani, a member of al-Qaeda’s ruling council and
        commander of the Haqqani Network. On information and belief,
        Sirajuddin Haqqani has served as the overall strategic planner
        supervising the activities of the Kabul Attack Network beginning no later
        than April 2010, and he has continued in that role to this day.

      • Ahmed Jan Wazir, a dual-hatted al-Qaeda/Taliban terrorist who, in
        2008, was named commander of jihadist forces in Ghazni Province by
        both al-Qaeda and the Taliban. On information and belief, Wazir
        commanded the activities of the Kabul Attack Network in Ghazni
        Province, and planned every attack committed by the Kabul Attack
        Network there until he was killed by a Coalition air strike on or about
        November 21, 2013.

                                          151
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 158 of 274




      353. As explained above, LeT operatives also embedded themselves with

these cells and participated in these attacks. See supra ¶ 101.

      354. The joint al-Qaeda/Taliban Kabul Attack Network cells operating

under the command of these dual-hatted al-Qaeda/Taliban terrorists committed the

attacks that killed and/or injured Karl A. Campbell, Frank D. Bryant Jr., Jay

Henigan, David E. Cabrera, James M. Darrough, Christopher R. Newman, Orion

N. Sparks, Anne T. Smedinghoff, Angel Roldan, Jr., Paul Goins, Jr., Jason D.

Landphair, Corey J. Dodge, Richard P. McEvoy, and Barry Sutton. See infra

¶¶ 408-415, 426-451, 474-490, 520-530, 585-591, 636-647, 704-714, 744-752,

849-858, 884-894, 904-914, 941-952.

   IV.    The Plaintiffs

The Kevin King Family

      355. Plaintiff Professor Kevin King served in Afghanistan as a civilian

professor teaching at American University of Afghanistan. On August 7, 2016, Mr.

King was kidnapped at gunpoint just outside the front gates of American

University of Afghanistan. Mr. King was held hostage under deplorable conditions,

beaten regularly, and denied adequate medical care for over three years before

being released in a prisoner exchange on November 19, 2019. The attack severely

wounded Mr. King, and he has suffered from severe caloric malnutrition, muscle

atrophy, peripheral neuropathy, hypocalcemia, vitamin D deficiency, low bone


                                         152
  Case 1:20-cv-04322-LGS-OTW        Document 1       Filed 06/05/20   Page 159 of 274




mineral density, hyperparathyroidism, frostbite on feet and ankles, a weak bladder,

and other physical injuries due to repeated beatings. As a result of the August 7,

2016 attack and his injuries, Mr. King has experienced severe physical and

emotional pain and suffering.

      356. The attack was committed by the Haqqani Network, a designated FTO

at the time of the attack and part of the Taliban.

      357. The attack that injured Mr. King would have violated the laws of war

if these terrorist groups were subject to them because, among other reasons, he was

a civilian college professor not taking part in hostilities and was tortured during

captivity, and the terrorist(s) who committed the attack neither wore uniforms nor

otherwise identified themselves as enemy combatants.

      358. Mr. King was a national of the United States at the time of the attack,

and remains one to this day.

      359. Plaintiff Stephanie Ann Miller is the sister of Mr. King. She is a

national of the United States.

      360. As a result of the August 7, 2016 attack and Mr. King’s injuries, each

member of the King Family has experienced severe mental anguish, emotional

pain and suffering.




                                         153
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 160 of 274




The Nicholas J. Aleman Family

      361. Sergeant Nicholas J. Aleman served in Afghanistan as a member of

the U.S. Marine Corps. On December 5, 2010, Sgt Aleman was injured in a suicide

bombing insider attack in Paktia Province, Afghanistan. Sgt Aleman died on

December 5, 2010 as a result of injuries sustained during the attack.

      362. The attack was committed by the Haqqani Network (a designated

FTO at the time of the attack and part of the Taliban) and al-Qaeda (a designated

FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban cell.

      363. Sgt Aleman’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist

who committed the attack was improperly wearing the uniform of his enemy, and

the attack indiscriminately placed civilians at risk, killing multiple Afghan

civilians, because it occurred in a market.

      364. Sgt Aleman was a national of the United States at the time of the

attack and his death.

      365. As a result of the attack, Sgt Aleman was injured in his person and/or

property. The Plaintiff members of the Aleman Family are the survivors and/or

heirs of Sgt Aleman and are entitled to recover for the damages Sgt Aleman

sustained.




                                         154
  Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 161 of 274




       366. Plaintiff Jose Aleman is the father of Sgt Aleman. He is a national of

the United States.

       367. Plaintiff Stephanie Hager is the sister of Sgt Aleman. She is a national

of the United States.

       368. As a result of the December 5, 2010 attack and Sgt Aleman’s injuries

and death, each member of the Aleman Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of Sgt Aleman’s society,

companionship, and counsel.

The Joseph A. Bauer Family

       369. Specialist Joseph A. Bauer served in Afghanistan as a member of the

U.S. Army. On July 24, 2010, SPC Bauer was injured in an IED attack in Zabul

Province, Afghanistan. SPC Bauer died on July 24, 2010 as a result of injuries

sustained during the attack.

       370. The attack was committed by the Haqqani Network, a part of the

Taliban.

       371. SPC Bauer’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.


                                        155
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 162 of 274




      372. SPC Bauer was a national of the United States at the time of the attack

and his death.

      373. As a result of the attack, SPC Bauer was injured in his person and/or

property. The Plaintiff members of the Bauer Family are the survivors and/or heirs

of SPC Bauer and are entitled to recover for the damages SPC Bauer sustained.

      374. Plaintiff Shannon Denise Collins is the sister of SPC Bauer. She is a

national of the United States.

      375. As a result of the July 24, 2010 attack and SPC Bauer’s injuries and

death, each member of the Bauer Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Bauer’s society, companionship,

and counsel.

The Thomas A. Baysore Jr. Family

      376. Staff Sergeant Thomas A. Baysore Jr. served in Afghanistan as a

member of the U.S. Army. On September 26, 2013, SSG Baysore was injured in an

insider attack in Paktia Province, Afghanistan. SSG Baysore died on September

26, 2013 as a result of injuries sustained during the attack.

      377. The attack was committed by the Haqqani Network (a designated

FTO at the time of the attack and part of the Taliban) and al-Qaeda (a designated

FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban cell.




                                         156
  Case 1:20-cv-04322-LGS-OTW         Document 1        Filed 06/05/20   Page 163 of 274




      378. SSG Baysore’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist

who committed the attack was unlawfully wearing the uniform of his enemy.

      379. SSG Baysore was a national of the United States at the time of the

attack and his death.

      380. As a result of the attack, SSG Baysore was injured in his person

and/or property. The Plaintiff members of the Baysore Family are the survivors

and/or heirs of SSG Baysore and are entitled to recover for the damages SSG

Baysore sustained.

      381. Plaintiff Angela Kahler is the sister of SSG Baysore. She is a national

of the United States.

      382. As a result of the September 26, 2013 attack and SSG Baysore’s

injuries and death, each member of the Baysore Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SSG Baysore’s

society, companionship, and counsel.

The Robert N. Bennedsen Family

      383. First Lieutenant Robert N. Bennedsen served in Afghanistan as a

member of the U.S. Army. On July 18, 2010, 1LT Bennedsen was injured in an

IED attack in Zabul Province, Afghanistan. 1LT Bennedsen died on July 18, 2010

as a result of injuries sustained during the attack.


                                          157
  Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 164 of 274




       384. The attack was committed by the Haqqani Network, a part of the

Taliban.

       385. 1LT Bennedsen’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       386. 1LT Bennedsen was a national of the United States at the time of the

attack and his death.

       387. As a result of the attack, 1LT Bennedsen was injured in his person

and/or property. The Plaintiff members of the Bennedsen Family are the survivors

and/or heirs of 1LT Bennedsen and are entitled to recover for the damages 1LT

Bennedsen sustained.

       388. Plaintiff Scott Bennedsen is the father of 1LT Bennedsen. He is a

national of the United States.

       389. Plaintiff Tracy Bennedsen is the mother of 1LT Bennedsen. She is a

national of the United States.

       390. Plaintiff Jamie Johanna Coates is the sister of 1LT Bennedsen. She is

a national of the United States.




                                        158
 Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 165 of 274




      391. As a result of the July 18, 2010 attack and 1LT Bennedsen’s injuries

and death, each member of the Bennedsen Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of 1LT Bennedsen’s society,

companionship, and counsel.

The Darrik C. Benson Family

      392. Special Warfare Operator Chief Petty Officer Darrik C. Benson

served in Afghanistan as a member of the U.S. Navy. On August 6, 2011, SOC

(SEAL) Benson was injured in an attack on a helicopter in Wardak Province,

Afghanistan. SOC (SEAL) Benson died on August 6, 2011 as a result of injuries

sustained during the attack.

      393. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack).

      394. SOC (SEAL) Benson’s murder would have violated the laws of war if

these terrorist groups were subject to them because, among other reasons, the

terrorist(s) who committed the attack neither wore uniforms nor otherwise

identified themselves as enemy combatants.

      395. SOC (SEAL) Benson was a national of the United States at the time

of the attack and his death.

      396. As a result of the attack, SOC (SEAL) Benson was injured in his

person and/or property. The Plaintiff members of the Benson Family are the


                                       159
  Case 1:20-cv-04322-LGS-OTW          Document 1   Filed 06/05/20   Page 166 of 274




survivors and/or heirs of SOC (SEAL) Benson and are entitled to recover for the

damages SOC (SEAL) Benson sustained.

      397. Plaintiff Frederick C. Benson is the father of SOC (SEAL) Benson.

He is a national of the United States.

      398. Plaintiff Beverly Mills is the mother of SOC (SEAL) Benson. She is a

national of the United States.

      399. Plaintiff Brianna N. Benson is the sister of SOC (SEAL) Benson. She

is a national of the United States.

      400. As a result of the August 6, 2011 attack and SOC (SEAL) Benson’s

injuries and death, each member of the Benson Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SOC (SEAL)

Benson’s society, companionship, and counsel.

The Jeremie S. Border Family

      401. Staff Sergeant Jeremie S. Border served in Afghanistan as a member

of the U.S. Army. On September 1, 2012, SSG Border was injured in a complex

attack involving small arms fire and grenades in Ghazni Province, Afghanistan.

SSG Border died on September 1, 2012 as a result of injuries sustained during the

attack.

      402. The attack was committed by the Haqqani Network, a part of the

Taliban.


                                          160
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 167 of 274




      403. SSG Border’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      404. SSG Border was a national of the United States at the time of the

attack and his death.

      405. As a result of the attack, SSG Border was injured in his person and/or

property. The Plaintiff members of the Border Family are the survivors and/or

heirs of SSG Border and are entitled to recover for the damages SSG Border

sustained.

      406. Plaintiff Katherine Abreu-Border is the sister of SSG Border. She is a

national of the United States.

      407. As a result of the September 1, 2012 attack and SSG Border’s injuries

and death, each member of the Border Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SSG Border’s society,

companionship, and counsel.

The Frank D. Bryant Jr. Family

      408. Lieutenant Colonel Frank D. Bryant Jr. served in Afghanistan as a

member of the U.S. Air Force. On April 27, 2011, Lt Co Bryant was injured in an




                                        161
  Case 1:20-cv-04322-LGS-OTW         Document 1        Filed 06/05/20   Page 168 of 274




insider attack in Kabul Province, Afghanistan. Lt Co Bryant died on April 27, 2011

as a result of injuries sustained during the attack.

      409. The attack was committed by the Taliban (including the Haqqani

Network) and al-Qaeda (a designated FTO at the time of the attack) acting together

in the Kabul Attack Network.

      410. Lt Co Bryant’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist

who committed the attack was unlawfully wearing the uniform of his enemy.

      411. Lt Co Bryant was a national of the United States at the time of the

attack and his death.

      412. As a result of the attack, Lt Co Bryant was injured in his person

and/or property. The Plaintiff members of the Bryant Family are the survivors

and/or heirs of Lt Co Bryant and are entitled to recover for the damages Lt Co

Bryant sustained.

      413. Plaintiff Janice Harriman Bryant is the widow of Lt Co Bryant. She is

a national of the United States.

      414. Plaintiff S.L.B., by and through his next friend Janice Harriman

Bryant, is the minor son of Lt Co Bryant. He is a national of the United States.

      415. As a result of the April 27, 2011 attack and Lt Co Bryant’s injuries

and death, each member of the Bryant Family has experienced severe mental

                                          162
  Case 1:20-cv-04322-LGS-OTW        Document 1       Filed 06/05/20   Page 169 of 274




anguish, emotional pain and suffering, and the loss of Lt Co Bryant’s society,

companionship, and counsel.

The Nicholas B. Burley Family

      416. Specialist Nicholas B. Burley served in Afghanistan as a member of

the U.S. Army. On July 30, 2013, SPC Burley was injured in an indirect fire attack

in Logar Province, Afghanistan. SPC Burley died on July 30, 2013 as a result of

injuries sustained during the attack.

      417. The attack was committed by the Haqqani Network, a designated FTO

at the time of the attack and part of the Taliban.

      418. SPC Burley’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants, and indiscriminately placed civilians at risk.

      419. SPC Burley was a national of the United States at the time of the

attack and his death.

      420. As a result of the attack, SPC Burley was injured in his person and/or

property. The Plaintiff members of the Burley Family are the survivors and/or heirs

of SPC Burley and are entitled to recover for the damages SPC Burley sustained.

      421. Plaintiff William Michael Burley is the father of SPC Burley. He is a

national of the United States.


                                         163
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 170 of 274




      422. Plaintiff Tammy Olmstead is the mother of SPC Burley. She is a

national of the United States.

      423. Plaintiff Michael Collins is the brother of SPC Burley. He is a

national of the United States.

      424. Plaintiff Dan Olmstead is the step-father of SPC Burley. He is a

national of the United States. Dan Olmstead lived in the same household as SPC

Burley for a substantial period of time and considered SPC Burley the functional

equivalent of a biological son.

      425. As a result of the July 30, 2013 attack and SPC Burley’s injuries and

death, each member of the Burley Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Burley’s society,

companionship, and counsel.

The David E. Cabrera Family

      426. Lieutenant Colonel David E. Cabrera served in Afghanistan as a

member of the U.S. Army. On October 29, 2011, LTC Cabrera was injured in a

suicide bombing attack in Kabul Province, Afghanistan. LTC Cabrera died on

October 29, 2011 as a result of injuries sustained during the attack.

      427. The attack was committed by the Taliban (including the Haqqani

Network) and al-Qaeda (a designated FTO at the time of the attack) acting together

in the Kabul Attack Network.


                                         164
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 171 of 274




      428. LTC Cabrera’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants, and the attack indiscriminately placed civilians

at risk, killing multiple Afghan civilians, because it occurred on a busy road near a

university.

      429. LTC Cabrera was a national of the United States at the time of the

attack and his death.

      430. As a result of the attack, LTC Cabrera was injured in his person

and/or property. The Plaintiff members of the Cabrera Family are the survivors

and/or heirs of LTC Cabrera and are entitled to recover for the damages LTC

Cabrera sustained.

      431. Plaintiff August Cabrera is the widow of LTC Cabrera. She is a

national of the United States.

      432. Plaintiff M.G.C., by and through his next friend August Cabrera, is

the minor son of LTC Cabrera. He is a national of the United States.

      433. Plaintiff R.X.C., by and through his next friend August Cabrera, is the

minor son of LTC Cabrera. He is a national of the United States.

      434. Plaintiff Corbin Cabrera is the son of LTC Cabrera. He is a national of

the United States.

                                         165
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 172 of 274




      435. Plaintiff Gillian Leigh Cabrera is the daughter of LTC Cabrera. She is

a national of the United States.

      436. Plaintiff Ronald Paul Hopkins is the brother of LTC Cabrera. He is a

national of the United States.

      437. Plaintiff Suzanne Renae Martinez is the sister of LTC Cabrera. She is

a national of the United States.

      438. Plaintiff JD Prosser is the sister of LTC Cabrera. She is a national of

the United States.

      439. Plaintiff Robert Cabrera is the foster-father of LTC Cabrera. He is a

national of the United States. Robert Cabrera lived in the same household as LTC

Cabrera for a substantial period of time and considered LTC Cabrera the functional

equivalent of a biological son.

      440. Plaintiff Daniel Matias Cabrera is the foster-brother of LTC Cabrera.

He is a national of the United States. Daniel Matias Cabrera lived in the same

household as LTC Cabrera for a substantial period of time and considered LTC

Cabrera the functional equivalent of a biological brother.

      441. Plaintiff Gloria Diane Trelfa is the foster-sister of LTC Cabrera. She

is a national of the United States. Gloria Diane Trelfa lived in the same household

as LTC Cabrera for a substantial period of time and considered LTC Cabrera the

functional equivalent of a biological brother.

                                         166
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 173 of 274




       442. As a result of the October 29, 2011 attack and LTC Cabrera’s injuries

and death, each member of the Cabrera Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of LTC Cabrera’s society,

companionship, and counsel.

The Karl A. Campbell Family

       443. Sergeant Karl A. Campbell served in Afghanistan as a member of the

U.S. Army. On October 4, 2010, SGT Campbell was injured in an IED attack in

Kabul Province, Afghanistan. SGT Campbell died on October 4, 2010 as a result

of injuries sustained during the attack.

       444. The attack was committed by the Taliban (including the Haqqani

Network) and al-Qaeda (a designated FTO at the time of the attack) acting together

in the Kabul Attack Network.

       445. SGT Campbell’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       446. SGT Campbell was a national of the United States at the time of the

attack and his death.




                                           167
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 174 of 274




      447. As a result of the attack, SGT Campbell was injured in his person

and/or property. The Plaintiff members of the Campbell Family are the survivors

and/or heirs of SGT Campbell and are entitled to recover for the damages SGT

Campbell sustained.

      448. Plaintiff Arthur Campbell is the father of SGT Campbell. He is a

national of the United States.

      449. Plaintiff Audrey Campbell is the mother of SGT Campbell. She is a

national of the United States.

      450. Plaintiff Tina Marie Campbell is the sister of SGT Campbell. She is a

national of the United States.

      451. As a result of the October 4, 2010 attack and SGT Campbell’s injuries

and death, each member of the Campbell Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SGT Campbell’s society,

companionship, and counsel.

The Benjamen G. Chisholm Family

      452. Private First Class Benjamen G. Chisholm served in Afghanistan as a

member of the U.S. Army. On August 17, 2010, PFC Chisholm was injured in an

IED attack in Kunar Province, Afghanistan. PFC Chisholm died on August 17,

2010 as a result of injuries sustained during the attack.




                                         168
  Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 175 of 274




       453. The attack was committed by the Taliban, al-Qaeda (a designated

FTO at the time of the attack), and LeT (a designated FTO at the time of the

attack) acting together in a joint al-Qaeda-Taliban-LeT cell.

       454. PFC Chisholm’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       455. PFC Chisholm was a national of the United States at the time of the

attack and his death.

       456. As a result of the attack, PFC Chisholm was injured in his person

and/or property. The Plaintiff members of the Chisholm Family are the survivors

and/or heirs of PFC Chisholm and are entitled to recover for the damages PFC

Chisholm sustained.

       457. Plaintiff Glenn Chisholm is the father of PFC Chisholm. He is a

national of the United States.

       458. Plaintiff Linda Reynolds is the mother of PFC Chisholm. She is a

national of the United States.

       459. Plaintiff Karma Chisholm is the step-mother of PFC Chisholm. She is

a national of the United States. Karma Chisholm lived in the same household as

                                        169
 Case 1:20-cv-04322-LGS-OTW         Document 1    Filed 06/05/20   Page 176 of 274




PFC Chisholm for a substantial period of time and considered PFC Chisholm the

functional equivalent of a biological son.

      460. As a result of the August 17, 2010 attack and PFC Chisholm’s injuries

and death, each member of the Chisholm Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of PFC Chisholm’s society,

companionship, and counsel.

The Jonathan Cleary Family

      461. Plaintiff Corporal Jonathan Cleary served in Afghanistan as a member

of the U.S. Army. On May 6, 2012, CPL Cleary was injured in an IED attack in

Paktia Province, Afghanistan. The attack severely wounded CPL Cleary, who lost

his right leg below the knee. As a result of the May 6, 2012 attack and his injuries,

CPL Cleary has experienced severe physical and emotional pain and suffering.

      462. The attack was committed by al-Qaeda (a designated FTO at the time

of the attack) and the Haqqani Network (a part of the Taliban) acting together in a

joint al-Qaeda-Taliban cell.

      463. The attack that injured CPL Cleary would have violated the laws of

war if these terrorist groups were subject to them because, among other reasons,

the terrorist(s) who planted the IED neither wore uniforms nor otherwise identified

themselves as enemy combatants and the passive detonation system

indiscriminately placed civilians at risk.


                                         170
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 177 of 274




       464. CPL Cleary was a national of the United States at the time of the

attack, and remains one to this day.

       465. Plaintiff April Cleary is the mother of CPL Cleary. She is a national of

the United States.

       466. As a result of the May 6, 2012 attack and CPL Cleary’s injuries, each

member of the Cleary Family has experienced severe mental anguish, emotional

pain and suffering.

The Robert W. Crow Family

       467. Sergeant Robert W. Crow served in Afghanistan as a member of the

U.S. Army National Guard. On July 10, 2010, SGT Crow was injured in an IED

attack in Paktika Province, Afghanistan. SGT Crow died on July 10, 2010 as a

result of injuries sustained during the attack.

       468. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

       469. SGT Crow’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.


                                          171
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 178 of 274




      470. SGT Crow was a national of the United States at the time of the attack

and his death.

      471. As a result of the attack, SGT Crow was injured in his person and/or

property. The Plaintiff members of the Crow Family are the survivors and/or heirs

of SGT Crow and are entitled to recover for the damages SGT Crow sustained.

      472. Plaintiff David Aaron Crow is the son of SGT Crow. He is a national

of the United States.

      473. As a result of the July 10, 2010 attack and SGT Crow’s injuries and

death, each member of the Crow Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SGT Crow’s society, companionship,

and counsel.

The James M. Darrough Family

      474. Sergeant James M. Darrough served in Afghanistan as a member of

the U.S. Army. On October 29, 2011, SGT Darrough was injured in a suicide

bombing attack in Kabul Province, Afghanistan. SGT Darrough died on October

29, 2011 as a result of injuries sustained during the attack.

      475. The attack was committed by the Taliban (including the Haqqani

Network) and al-Qaeda (a designated FTO at the time of the attack) acting together

in the Kabul Attack Network.




                                         172
  Case 1:20-cv-04322-LGS-OTW          Document 1   Filed 06/05/20   Page 179 of 274




      476. SGT Darrough’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants, and the attack indiscriminately placed civilians

at risk, killing multiple Afghan civilians, because it occurred on a busy road near a

university.

      477. SGT Darrough was a national of the United States at the time of the

attack and his death.

      478. As a result of the attack, SGT Darrough was injured in his person

and/or property. The Plaintiff members of the Darrough Family are the survivors

and/or heirs of SGT Darrough and are entitled to recover for the damages SGT

Darrough sustained.

      479. Plaintiff Robert Charles Darrough is the father of SGT Darrough. He

is a national of the United States.

      480. Plaintiff Judith Sara Darrough is the step-mother of SGT Darrough.

She is a national of the United States. Judith Sara Darrough lived in the same

household as SGT Darrough for a substantial period of time and considered SGT

Darrough the functional equivalent of a biological son.

      481. As a result of the October 29, 2011 attack and SGT Darrough’s

injuries and death, each member of the Darrough Family has experienced severe

                                          173
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 180 of 274




mental anguish, emotional pain and suffering, and the loss of SGT Darrough’s

society, companionship, and counsel.

The Corey J. Dodge Family

      482. Corey J. Dodge served in Afghanistan as a civilian government

contractor working for DynCorp, Int’l. On August 22, 2015, Mr. Dodge was

injured in a suicide bombing attack in Kabul Province, Afghanistan. Mr. Dodge

died on August 22, 2015 as a result of injuries sustained during the attack.

      483. The attack was committed by the Taliban (including the Haqqani

Network, a designated FTO at the time of the attack) and al-Qaeda (a designated

FTO at the time of the attack) acting together in the Kabul Attack Network.

      484. Mr. Dodge’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, he was a

civilian not taking part in hostilities, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants,

and the attack indiscriminately placed civilians at risk, killing multiple Afghan

civilians, because it occurred on a public road in front of a private hospital.

      485. Mr. Dodge was a national of the United States at the time of the attack

and his death.




                                          174
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 181 of 274




      486. As a result of the attack, Mr. Dodge was injured in his person and/or

property. The Plaintiff members of the Dodge Family are the survivors and/or heirs

of Mr. Dodge and are entitled to recover for the damages Mr. Dodge sustained.

      487. Plaintiff Kelli Dodge is the widow of Mr. Dodge. She is a national of

the United States.

      488. Plaintiff B.C.D., by and through his next friend Kelli Dodge, is the

minor son of Mr. Dodge. He is a national of the United States.

      489. Plaintiff P.A.D., by and through her next friend Kelli Dodge, is the

minor daughter of Mr. Dodge. She is a national of the United States.

      490. As a result of the August 22, 2015 attack and Mr. Dodge’s injuries

and death, each member of the Dodge Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of Mr. Dodge’s society,

companionship, and counsel.

The Vincent J. Ellis Family

      491. Private First Class Vincent J. Ellis served in Afghanistan as a member

of the U.S. Army. On June 1, 2012, PFC Ellis was injured in a complex attack

involving a suicide truck bomb, small arms fire, and rocket propelled and

fragmentation grenades in Khost Province, Afghanistan. PFC Ellis died on June 6,

2012 as a result of injuries sustained during the attack.




                                         175
 Case 1:20-cv-04322-LGS-OTW         Document 1    Filed 06/05/20   Page 182 of 274




      492. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

      493. PFC Ellis’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      494. PFC Ellis was a national of the United States at the time of the attack

and his death.

      495. As a result of the attack, PFC Ellis was injured in his person and/or

property. The Plaintiff members of the Ellis Family are the survivors and/or heirs

of PFC Ellis and are entitled to recover for the damages PFC Ellis sustained.

      496. Plaintiff Brian Edward Ellis is the father of PFC Ellis. He is a national

of the United States.

      497. Plaintiff Julie Ann Ellis is the mother of PFC Ellis. She is a national

of the United States.

      498. Plaintiff Vanessa Marie Anzures is the sister of PFC Ellis. She is a

national of the United States.

      499. Plaintiff Victor Raymond Ellis is the brother of PFC Ellis. He is a

national of the United States.

                                        176
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 183 of 274




       500. As a result of the June 1, 2012 attack and PFC Ellis’s injuries and

death, each member of the Ellis Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of PFC Ellis’s society, companionship,

and counsel.

The Michael D. Elm Family

       501. Specialist Michael D. Elm served in Afghanistan as a member of the

U.S. Army. On October 14, 2011, SPC Elm was injured in an IED attack in Khost

Province, Afghanistan. SPC Elm died on October 14, 2011 as a result of injuries

sustained during the attack.

       502. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

       503. SPC Elm’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       504. SPC Elm was a national of the United States at the time of the attack

and his death.




                                        177
 Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 184 of 274




      505. As a result of the attack, SPC Elm was injured in his person and/or

property. The Plaintiff members of the Elm Family are the survivors and/or heirs

of SPC Elm and are entitled to recover for the damages SPC Elm sustained.

      506. Plaintiff Dennis John Elm is the father of SPC Elm. He is a national of

the United States.

      507. Plaintiff Donna Lee Elm is the mother of SPC Elm. She is a national

of the United States.

      508. Plaintiff Catherine Elm Boatwright is the sister of SPC Elm. She is a

national of the United States.

      509. Plaintiff Margaret Elm Campbell is the sister of SPC Elm. She is a

national of the United States.

      510. Plaintiff Matthew Elm is the brother of SPC Elm. He is a national of

the United States.

      511. Plaintiff Christine Rangel is the sister of SPC Elm. She is a national of

the United States.

      512. As a result of the October 14, 2011 attack and SPC Elm’s injuries and

death, each member of the Elm Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Elm’s society, companionship,

and counsel.




                                       178
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 185 of 274




The Demetrius M. Frison Family

       513. First Lieutenant Demetrius M. Frison served in Afghanistan as a

member of the U.S. Army. On May 10, 2011, 1LT Frison was injured in an IED

attack in Khost Province, Afghanistan. 1LT Frison died on May 10, 2011 as a

result of injuries sustained during the attack.

       514. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

       515. 1LT Frison’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       516. 1LT Frison was a national of the United States at the time of the

attack and his death.

       517. As a result of the attack, 1LT Frison was injured in his person and/or

property. The Plaintiff members of the Frison Family are the survivors and/or heirs

of 1LT Frison and are entitled to recover for the damages 1LT Frison sustained.

       518. Plaintiff Louella E. Frison is the mother of 1LT Frison. She is a

national of the United States.


                                          179
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20    Page 186 of 274




      519. As a result of the May 10, 2011 attack and 1LT Frison’s injuries and

death, each member of the Frison Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of 1LT Frison’s society, companionship,

and counsel.

The Paul Goins Jr. Family

      520. Paul Goins Jr. served in Afghanistan as a civilian government

contractor working for DynCorp, Int’l. On February 10, 2014, Mr. Goins was

injured in an IED attack in Kabul Province, Afghanistan. Mr. Goins died on

February 10, 2014 as a result of injuries sustained during the attack.

      521. The attack was committed by the Taliban (including the Haqqani

Network, a designated FTO at the time of the attack) and al-Qaeda (a designated

FTO at the time of the attack) acting together in the Kabul Attack Network.

      522. Mr. Goins’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, he was a

civilian not taking part in hostilities, the terrorist(s) who planted the IED neither

wore uniforms nor otherwise identified themselves as enemy combatants, and the

passive detonation system indiscriminately placed civilians at risk.

      523. Mr. Goins was a national of the United States at the time of the attack

and his death.




                                          180
 Case 1:20-cv-04322-LGS-OTW          Document 1   Filed 06/05/20   Page 187 of 274




      524. As a result of the attack, Mr. Goins was injured in his person and/or

property. The Plaintiff members of the Goins Family are the survivors and/or heirs

of Mr. Goins and are entitled to recover for the damages Mr. Goins sustained.

      525. Plaintiff Patricia Goins is the widow of Mr. Goins. She is a national of

the United States.

      526. Plaintiff Paul Edward Goins III is the son of Mr. Goins. He is a

national of the United States.

      527. Plaintiff Emmitt Dwayne Burns is the step-son of Mr. Goins. He is a

national of the United States. Emmitt Dwayne Burns lived in the same household

as Mr. Goins for a substantial period of time and considered Mr. Goins the

functional equivalent of a biological father.

      528. Plaintiff Janice Caruso is the step-daughter of Mr. Goins. She is a

national of the United States. Janice Caruso lived in the same household as Mr.

Goins for a substantial period of time and considered Mr. Goins the functional

equivalent of a biological father.

      529. Plaintiff Dana Rainey is the step-daughter of Mr. Goins. She is a

national of the United States. Dana Rainey lived in the same household as Mr.

Goins for a substantial period of time and considered Mr. Goins the functional

equivalent of a biological father.




                                         181
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 188 of 274




       530. As a result of the February 10, 2014 attack and Mr. Goins’s injuries

and death, each member of the Goins Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of Mr. Goins’s society,

companionship, and counsel.

The Kristopher J. Gould Family

       531. Sergeant Kristopher J. Gould served in Afghanistan as a member of

the U.S. Army. On February 27, 2011, SGT Gould was injured in an IED attack in

Ghazni Province, Afghanistan. SGT Gould died on February 27, 2011 as a result of

injuries sustained during the attack.

       532. The attack was committed by the Haqqani Network, a part of the

Taliban.

       533. SGT Gould’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       534. SGT Gould was a national of the United States at the time of the

attack and his death.




                                        182
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20     Page 189 of 274




      535. As a result of the attack, SGT Gould was injured in his person and/or

property. The Plaintiff members of the Gould Family are the survivors and/or heirs

of SGT Gould and are entitled to recover for the damages SGT Gould sustained.

      536. Plaintiff Ann L. Gould is the mother of SGT Gould. She is a national

of the United States.

      537. Plaintiff James A. Gould is the father of SGT Gould. He is a national

of the United States.

      538. Plaintiff Julianna Symkowiak is the sister of SGT Gould. She is a

national of the United States.

      539. As a result of the February 27, 2011 attack and SGT Gould’s injuries

and death, each member of the Gould Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SGT Gould’s society,

companionship, and counsel.

The Kevin J. Griffin Family

      540. Command Sergeant Major Kevin J. Griffin served in Afghanistan as a

member of the U.S. Army. On August 8, 2012, CSM Griffin was injured in a

suicide bombing attack in Kunar Province, Afghanistan. CSM Griffin died on

August 8, 2012 as a result of injuries sustained during the attack.

      541. The attack was committed by the Taliban, al-Qaeda (a designated

FTO at the time of the attack), and LeT (a designated FTO at the time of the


                                         183
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 190 of 274




attack), acting together in a joint al-Qaeda-Taliban-LeT cell, with al-Qaeda

providing, indoctrinating, and training the suicide bomber.

      542. CSM Griffin’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      543. CSM Griffin was a national of the United States at the time of the

attack and his death.

      544. As a result of the attack, CSM Griffin was injured in his person and/or

property. The Plaintiff members of the Griffin Family are the survivors and/or

heirs of CSM Griffin and are entitled to recover for the damages CSM Griffin

sustained.

      545. Plaintiff Matt Griffin is the brother of CSM Griffin. He is a national of

the United States.

      546. Plaintiff Shawn Patrick Griffin is the brother of CSM Griffin. He is a

national of the United States.

      547. Plaintiff Sheila Ristaino is the sister of CSM Griffin. She is a national

of the United States.

      548. Plaintiff Carol Griffin is the step-mother of CSM Griffin. She is a

national of the United States. Carol Griffin lived in the same household as CSM

                                        184
  Case 1:20-cv-04322-LGS-OTW          Document 1       Filed 06/05/20   Page 191 of 274




Griffin for a substantial period of time and considered CSM Griffin the functional

equivalent of a biological son.

      549. Plaintiff Daniel Griffin is the step-brother of CSM Griffin. He is a

national of the United States. Daniel Griffin lived in the same household as CSM

Griffin for a substantial period of time and considered CSM Griffin the functional

equivalent of a biological brother.

      550. As a result of the August 8, 2012 attack and CSM Griffin’s injuries

and death, each member of the Griffin Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of CSM Griffin’s society,

companionship, and counsel.

The William Gross Paniagua Family

      551. Sergeant William Gross Paniagua served in Afghanistan as a member

of the U.S. Army. On July 31, 2011, SGT Gross Paniagua was injured in an IED

attack in Kunar Province, Afghanistan. SGT Gross Paniagua died on July 31, 2011

as a result of injuries sustained during the attack.

      552. The attack was committed by the Taliban, al-Qaeda (a designated

FTO at the time of the attack), and LeT (a designated FTO at the time of the

attack) acting together in a joint al-Qaeda-Taliban-LeT cell.

      553. SGT Gross Paniagua’s murder would have violated the laws of war if

these terrorist groups were subject to them because, among other reasons, the


                                          185
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 192 of 274




terrorist(s) who planted the IED neither wore uniforms nor otherwise identified

themselves as enemy combatants, and the passive detonation system

indiscriminately placed civilians at risk.

      554. SGT Gross Paniagua was a national of the United States at the time of

the attack and his death.

      555. As a result of the attack, SGT Gross Paniagua was injured in his

person and/or property. The Plaintiff members of the Gross Paniagua Family are

the survivors and/or heirs of SGT Gross Paniagua and are entitled to recover for

the damages SGT Gross Paniagua sustained.

      556. Plaintiff Carlos Benjamin Gross Rios Sr. is the father of SGT Gross

Paniagua. He is a national of the United States.

      557. Plaintiff Soccoro Gross Paniagua is the mother of SGT Gross

Paniagua. She is a national of the United States.

      558. Plaintiff Carlos Benjamin Gross Paniagua is the brother of SGT Gross

Paniagua. He is a national of the United States.

      559. Plaintiff Felicia Gross Paniagua is the cousin and foster-sister of SGT

Gross Paniagua. She is a national of the United States. Felicia Gross Paniagua

lived in the same household as SGT Gross Paniagua for a substantial period of

time and considered SGT Gross Paniagua the functional equivalent of a biological

brother.

                                         186
 Case 1:20-cv-04322-LGS-OTW         Document 1       Filed 06/05/20   Page 193 of 274




      560. As a result of the July 31, 2011 attack and SGT Gross Paniagua’s

injuries and death, each member of the Gross Paniagua Family has experienced

severe mental anguish, emotional pain and suffering, and the loss of SGT Gross

Paniagua’s society, companionship, and counsel.

The Jeremy F. Hardison Family

      561. Sergeant Jeremy F. Hardison served in Afghanistan as a member of

the U.S. Army National Guard. On October 1, 2012, SGT Hardison was injured in

a suicide bombing attack by an individual wearing an Afghan police uniform in

Khost Province, Afghanistan. SGT Hardison died on October 1, 2012 as a result of

injuries sustained during the attack.

      562. The attack was committed by the Haqqani Network (a designated

FTO at the time of the attack and part of the Taliban) and al-Qaeda (a designated

FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban cell.

      563. SGT Hardison’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist

who committed the attack was improperly wearing the uniform of his enemy, and

the attack indiscriminately placed civilians at risk, killing multiple Afghan

civilians, because it occurred in a public market.

      564. SGT Hardison was a national of the United States at the time of the

attack and his death.


                                         187
 Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 194 of 274




      565. As a result of the attack, SGT Hardison was injured in his person

and/or property. The Plaintiff members of the Hardison Family are the survivors

and/or heirs of SGT Hardison and are entitled to recover for the damages SGT

Hardison sustained.

      566. Plaintiff Jerry Hardison is the father of SGT Hardison. He is a

national of the United States.

      567. Plaintiff Teresa Hardison is the mother of SGT Hardison. She is a

national of the United States.

      568. Plaintiff Justina Hardison is the sister of SGT Hardison. She is a

national of the United States.

      569. As a result of the October 1, 2012 attack and SGT Hardison’s injuries

and death, each member of the Hardison Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SGT Hardison’s society,

companionship, and counsel.

The Devon J. Harris Family

      570. Private First Class Devon J. Harris served in Afghanistan as a member

of the U.S. Army. On November 27, 2010, PFC Harris was injured in a rocket

propelled grenade attack in Wardak Province, Afghanistan. PFC Harris died on

November 27, 2010 as a result of injuries sustained during the attack.




                                        188
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 195 of 274




      571. The attack was committed by the Haqqani Network, a part of the

Taliban.

      572. PFC Harris’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      573. PFC Harris was a national of the United States at the time of the

attack and his death.

      574. As a result of the attack, PFC Harris was injured in his person and/or

property. The Plaintiff members of the Harris Family are the survivors and/or heirs

of PFC Harris and are entitled to recover for the damages PFC Harris sustained.

      575. Plaintiff Sorainya Harris is the mother of PFC Harris. She is a national

of the United States.

      576. Plaintiff Tennyson Charles Harris is the father of PFC Harris. He is a

national of the United States.

      577. Plaintiff Tiffany Dotson is the sister of PFC Harris. She is a national

of the United States.

      578. Plaintiff Ashley Michelle Harris is the sister of PFC Harris. She is a

national of the United States.




                                        189
  Case 1:20-cv-04322-LGS-OTW          Document 1   Filed 06/05/20   Page 196 of 274




      579. Plaintiff Christopher Wayne Johnson is the brother of PFC Harris. He

is a national of the United States.

      580. Plaintiff David L. Parker is the brother of PFC Harris. He is a national

of the United States.

      581. Plaintiff Felicia Ann Harris is the step-mother of PFC Harris. She is a

national of the United States. Felicia Ann Harris lived in the same household as

PFC Harris for a substantial period of time and considered PFC Harris the

functional equivalent of a biological son.

      582. Plaintiff Michael Rufus II is the step-brother of PFC Harris. He is a

national of the United States. Michael Rufus II lived in the same household as PFC

Harris for a substantial period of time and considered PFC Harris the functional

equivalent of a biological brother.

      583. Plaintiff Stephanie Rufus is the step-sister of PFC Harris. She is a

national of the United States. Stephanie Rufus lived in the same household as PFC

Harris for a substantial period of time and considered PFC Harris the functional

equivalent of a biological brother.

      584. As a result of the November 27, 2010 attack and PFC Harris’s injuries

and death, each member of the Harris Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of PFC Harris’s society,

companionship, and counsel.

                                          190
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20    Page 197 of 274




The Jay Henigan Family

      585. Jay Henigan served in Afghanistan as a civilian government

contractor working for the Central Intelligence Agency. On September 25, 2011,

Mr. Henigan was injured in an insider attack in Kabul Province, Afghanistan. Mr.

Henigan died on September 25, 2011 as a result of injuries sustained during the

attack.

      586. The attack was committed by the Taliban (including the Haqqani

Network) and al-Qaeda (a designated FTO at the time of the attack) acting together

in the Kabul Attack Network.

      587. Mr. Henigan’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, he was a

civilian not taking part in hostilities, and the terrorist who committed the attack

was unlawfully wearing the uniform of his enemy.

      588. Mr. Henigan was a national of the United States at the time of the

attack and his death.

      589. As a result of the attack, Mr. Henigan was injured in his person and/or

property. The Plaintiff members of the Henigan Family are the survivors and/or

heirs of Mr. Henigan and are entitled to recover for the damages Mr. Henigan

sustained.




                                         191
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 198 of 274




       590. Plaintiff Alex Henigan is the son of Mr. Henigan. He is a national of

the United States.

       591. As a result of the September 25, 2011 attack and Mr. Henigan’s

injuries and death, each member of the Henigan Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of Mr. Henigan’s

society, companionship, and counsel.

The Ryan P. Jayne Family

       592. Specialist Ryan P. Jayne served in Afghanistan as a member of the

U.S. Army Reserve. On November 3, 2012, SPC Jayne was injured in an IED

attack in Paktia Province, Afghanistan. SPC Jayne died on November 3, 2012 as a

result of injuries sustained during the attack.

       593. The attack was committed by the Haqqani Network (a designated

FTO at the time of the attack and part of the Taliban) and al-Qaeda (a designated

FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban cell.

       594. SPC Jayne’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.




                                          192
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 199 of 274




      595. SPC Jayne was a national of the United States at the time of the attack

and his death.

      596. As a result of the attack, SPC Jayne was injured in his person and/or

property. The Plaintiff members of the Jayne Family are the survivors and/or heirs

of SPC Jayne and are entitled to recover for the damages SPC Jayne sustained.

      597. Plaintiff Paul Elmer Jayne is the father of SPC Jayne. He is a national

of the United States.

      598. Plaintiff Sherry A. Skeens is the mother of SPC Jayne. She is a

national of the United States.

      599. Plaintiff Adam Matthew Jayne is the brother of SPC Jayne. He is a

national of the United States.

      600. Plaintiff G.A.S., by and through his next friend Kent Alan Skeens, is

the minor brother of SPC Jayne. He is a national of the United States.

      601. Plaintiff T.L.S., by and through his next friend Kent Alan Skeens, is

the minor brother of SPC Jayne. He is a national of the United States.

      602. Plaintiff Z.R.S., by and through her next friend Kent Alan Skeens, is

the minor sister of SPC Jayne. She is a national of the United States.

      603. Plaintiff Kent Alan Skeens is the step-father of SPC Jayne. He is a

national of the United States. Kent Alan Skeens lived in the same household as




                                        193
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20    Page 200 of 274




SPC Jayne for a substantial period of time and considered SPC Jayne the

functional equivalent of a biological son.

      604. As a result of the November 3, 2012 attack and SPC Jayne’s injuries

and death, each member of the Jayne Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SPC Jayne’s society,

companionship, and counsel.

The Manoharan “Paul” Kamaleson Family

      605. Manoharan “Paul” Kamaleson served in Afghanistan as the civilian

chief operating officer of the First MicroFinance Bank. On January 14, 2019, Mr.

Kamaleson was injured in a suicide bombing attack in Kabul Province,

Afghanistan. Mr. Kamaleson died on January 14, 2019 as a result of injuries

sustained during the attack.

      606. The attack was committed by the Taliban (including the Haqqani

Network, a designated FTO at the time of the attack) and al-Qaeda (a designated

FTO at the time of the attack) acting together in the Kabul Attack Network.

      607. Mr. Kamaleson’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, he was a

civilian not taking part in hostilities, the terrorist(s) who detonated the bomb

neither wore uniforms nor otherwise identified themselves as enemy combatants,

and this detonation indiscriminately placed civilians at risk, injuring at least 12


                                         194
  Case 1:20-cv-04322-LGS-OTW        Document 1   Filed 06/05/20   Page 201 of 274




women and 23 children among more than the 100 persons who were injured in this

attack.

      608. Mr. Kamaleson was a national of the United States at the time of the

attack and his death.

      609. As a result of the attack, Mr. Kamaleson was injured in his person

and/or property. The Plaintiff members of the Kamaleson Family are the survivors

and/or heirs of Mr. Kamaleson and are entitled to recover for the damages Mr.

Kamaleson sustained.

      610. Plaintiff Nicole Kamaleson is the widow of Mr. Kamaleson. She is a

national of the United States.

      611. Plaintiff Barclay Kamaleson is the son of Mr. Kamaleson. He is a

national of the United States.

      612. Plaintiff Cade Kamaleson is the son of Mr. Kamaleson. He is a

national of the United States.

      613. Plaintiff Cedric Paul Kamaleson is the son of Mr. Kamaleson. He is a

national of the United States.

      614. Plaintiff Sunderraj Mark Kamaleson is the brother of Mr. Kamaleson.

He is a national of the United States.

      615. As a result of the January 14, 2019 attack and Mr. Kamaleson’s

injuries and death, each member of the Kamaleson Family has experienced severe

                                         195
 Case 1:20-cv-04322-LGS-OTW         Document 1    Filed 06/05/20   Page 202 of 274




mental anguish, emotional pain and suffering, and the loss of Mr. Kamaleson’s

society, companionship, and counsel.

The Michael J. Knapp Family

      616. Sergeant Michael J. Knapp served in Afghanistan as a member of the

U.S. Army. On May 18, 2012, SGT Knapp was injured in an indirect fire attack in

Kunar Province, Afghanistan. SGT Knapp died on May 18, 2012 as a result of

injuries sustained during the attack.

      617. The attack was committed by the Taliban, al-Qaeda (a designated

FTO at the time of the attack), and LeT (a designated FTO at the time of the

attack) acting together in a joint al-Qaeda-Taliban-LeT cell.

      618. SGT Knapp’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants, and indiscriminately placed civilians at risk.

      619. SGT Knapp was a national of the United States at the time of the

attack and his death.

      620. As a result of the attack, SGT Knapp was injured in his person and/or

property. The Plaintiff members of the Knapp Family are the survivors and/or heirs

of SGT Knapp and are entitled to recover for the damages SGT Knapp sustained.




                                        196
 Case 1:20-cv-04322-LGS-OTW         Document 1    Filed 06/05/20    Page 203 of 274




      621. Plaintiff Abby Knapp-Morris is the widow of SGT Knapp. She is a

national of the United States.

      622. Plaintiff K.K., by and through her next friend Abby Knapp-Morris, is

the minor daughter of SGT Knapp. She is a national of the United States.

      623. As a result of the May 18, 2012 attack and SGT Knapp’s injuries and

death, each member of the Knapp Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SGT Knapp’s society,

companionship, and counsel.

Brandon Korona

      624. Plaintiff Sergeant Brandon Korona served in Afghanistan as a

member of the U.S. Army. On June 23, 2013, SGT Korona was injured in an IED

attack in Paktika Province, Afghanistan. The attack severely wounded SGT

Korona, who suffered from significant injuries to his left leg requiring a below-

knee amputation in 2017, a fractured right ankle, and a traumatic brain injury. As a

result of the June 23, 2013 attack and his injuries, SGT Korona has experienced

severe physical and emotional pain and suffering.

      625. The attack was committed by al-Qaeda (a designated FTO at the time

of the attack) and the Haqqani Network (a designated FTO at the time of the attack

and part of the Taliban) acting together in a joint al-Qaeda-Taliban cell.




                                         197
  Case 1:20-cv-04322-LGS-OTW          Document 1   Filed 06/05/20   Page 204 of 274




       626. The attack that injured SGT Korona would have violated the laws of

war if these terrorist groups were subject to them because, among other reasons,

the terrorist(s) who planted the IED neither wore uniforms nor otherwise identified

themselves as enemy combatants and the passive detonation system

indiscriminately placed civilians at risk.

       627. SGT Korona was a national of the United States at the time of the

attack and remains one to this day.

The Todd W. Lambka Family

       628. First Lieutenant Todd W. Lambka served in Afghanistan as a member

of the U.S. Army. On August 1, 2012, 1LT Lambka was injured in an IED attack

in Paktika Province, Afghanistan. 1LT Lambka died on August 1, 2012 as a result

of injuries sustained during the attack.

       629. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

       630. 1LT Lambka’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.


                                           198
 Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 205 of 274




      631. 1LT Lambka was a national of the United States at the time of the

attack and his death.

      632. As a result of the attack, 1LT Lambka was injured in his person and/or

property. The Plaintiff members of the Lambka Family are the survivors and/or

heirs of 1LT Lambka and are entitled to recover for the damages 1LT Lambka

sustained.

      633. Plaintiff Brian Lambka is the father of 1LT Lambka. He is a national

of the United States.

      634. Plaintiff Jordan Lambka is the brother of 1LT Lambka. He is a

national of the United States.

      635. As a result of the August 1, 2012 attack and 1LT Lambka’s injuries

and death, each member of the Lambka Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of 1LT Lambka’s society,

companionship, and counsel.

The Jason D. Landphair Family

      636. Jason D. Landphair served in Afghanistan as a civilian government

contractor working for Praetorian Standard Inc. On January 29, 2015, Mr.

Landphair was injured in an insider attack in Kabul Province, Afghanistan. Mr.

Landphair died on January 29, 2015 as a result of injuries sustained during the

attack.


                                        199
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20    Page 206 of 274




      637. The attack was committed by the Taliban (including the Haqqani

Network, a designated FTO at the time of the attack) and al-Qaeda (a designated

FTO at the time of the attack) acting together in the Kabul Attack Network.

      638. Mr. Landphair’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, he was a

civilian not taking part in hostilities, and the terrorist who committed the attack

was unlawfully wearing the uniform of his enemy.

      639. Mr. Landphair was a national of the United States at the time of the

attack and his death.

      640. As a result of the attack, Mr. Landphair was injured in his person

and/or property. The Plaintiff members of the Landphair Family are the survivors

and/or heirs of Mr. Landphair and are entitled to recover for the damages Mr.

Landphair sustained.

      641. Plaintiff Natasha Buchanan is the widow of Mr. Landphair. She is a

national of the United States.

      642. Plaintiff L.A.E.L.B., by and through her next friend Natasha

Buchanan, is the minor daughter of Mr. Landphair. She is a national of the United

States.

      643. Plaintiff S.L.L.B., by and through her next friend Natasha Buchanan,

is the minor daughter of Mr. Landphair. She is a national of the United States.

                                         200
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 207 of 274




      644. Plaintiff Douglas A. Landphair is the father of Mr. Landphair. He is a

national of the United States.

      645. Plaintiff Jean S. Landphair is the mother of Mr. Landphair. She is a

national of the United States.

      646. Plaintiff Meredith Landphair is the sister of Mr. Landphair. She is a

national of the United States.

      647. As a result of the January 29, 2015 attack and Mr. Landphair’s

injuries and death, each member of the Landphair Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of Mr. Landphair’s

society, companionship, and counsel.

The Andrew R. Looney Family

      648. Sergeant Andrew R. Looney served in Afghanistan as a member of

the U.S. Army. On June 21, 2010, SGT Looney was injured in a suicide bombing

attack in Kunar Province, Afghanistan. SGT Looney died on June 21, 2010 as a

result of injuries sustained during the attack.

      649. The attack was committed by the Taliban, al-Qaeda (a designated

FTO at the time of the attack), LeT (a designated FTO at the time of the attack)

acting together in a joint al-Qaeda-Taliban-LeT cell.

      650. SGT Looney’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)


                                          201
 Case 1:20-cv-04322-LGS-OTW       Document 1    Filed 06/05/20   Page 208 of 274




who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      651. SGT Looney was a national of the United States at the time of the

attack and his death.

      652. As a result of the attack, SGT Looney was injured in his person and/or

property. The Plaintiff members of the Looney Family are the survivors and/or

heirs of SGT Looney and are entitled to recover for the damages SGT Looney

sustained.

      653. Plaintiff C. Richard Looney is the father of SGT Looney. He is a

national of the United States.

      654. Plaintiff Martha Looney is the mother of SGT Looney. She is a

national of the United States.

      655. As a result of the June 21, 2010 attack and SGT Looney’s injuries and

death, each member of the Looney Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SGT Looney’s society,

companionship, and counsel.

The Russell E. Madden Family

      656. Specialist Russell E. Madden served in Afghanistan as a member of

the U.S. Army. On June 23, 2010, SPC Madden was injured in an indirect fire




                                       202
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 209 of 274




attack in Logar Province, Afghanistan. SPC Madden died on June 23, 2010 as a

result of injuries sustained during the attack.

      657. The attack was committed by the Haqqani Network, a part of the

Taliban.

      658. SPC Madden’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants, and indiscriminately placed civilians at risk.

      659. SPC Madden was a national of the United States at the time of the

attack and his death.

      660. As a result of the attack, SPC Madden was injured in his person

and/or property. The Plaintiff members of the Madden Family are the survivors

and/or heirs of SPC Madden and are entitled to recover for the damages SPC

Madden sustained.

      661. Plaintiff Martin E. Madden is the father of SPC Madden. He is a

national of the United States.

      662. Plaintiff Martin P. Madden is the brother of SPC Madden. He is a

national of the United States.

      663. Plaintiff Lindsey R. Maldonado is the sister of SPC Madden. She is a

national of the United States.

                                          203
  Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 210 of 274




       664. Plaintiff Pamela J. Madden is the step-mother of SPC Madden. She is

a national of the United States. Pamela J. Madden lived in the same household as

SPC Madden for a substantial period of time and considered SPC Madden the

functional equivalent of a biological son.

       665. As a result of the June 23, 2010 attack and SPC Madden’s injuries and

death, each member of the Madden Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Madden’s society,

companionship, and counsel.

The Chase S. Marta Family

       666. Specialist Chase S. Marta served in Afghanistan as a member of the

U.S. Army. On May 7, 2012, SPC Marta was injured in an IED attack in Ghazni

Province, Afghanistan. SPC Marta died on May 7, 2012 as a result of injuries

sustained during the attack.

       667. The attack was committed by the Haqqani Network, a part of the

Taliban.

       668. SPC Marta’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.


                                        204
 Case 1:20-cv-04322-LGS-OTW         Document 1   Filed 06/05/20   Page 211 of 274




      669. SPC Marta was a national of the United States at the time of the attack

and his death.

      670. As a result of the attack, SPC Marta was injured in his person and/or

property. The Plaintiff members of the Marta Family are the survivors and/or heirs

of SPC Marta and are entitled to recover for the damages SPC Marta sustained.

      671. Plaintiff Taylor Marta is the sister of SPC Marta. She is a national of

the United States.

      672. Plaintiff Karyn Stone Marta is the mother of SPC Marta. She is a

national of the United States.

      673. Plaintiff Lawrence Marta is the father of SPC Marta. She is a national

of the United States.

      674. As a result of the May 7, 2012 attack and SPC Marta’s injuries and

death, each member of the Marta Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Marta’s society, companionship,

and counsel.

The Ethan J. Martin Family

      675. Corporal Ethan J. Martin served in Afghanistan as a member of the

U.S. Army. On August 7, 2012, CPL Martin was injured in an insider attack in

Paktia Province, Afghanistan. CPL Martin died on August 7, 2012 as a result of

injuries sustained during the attack.


                                        205
 Case 1:20-cv-04322-LGS-OTW         Document 1   Filed 06/05/20   Page 212 of 274




      676. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

      677. CPL Martin’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist

who committed the attack was unlawfully wearing the uniform of his enemy.

      678. CPL Martin was a national of the United States at the time of the

attack and his death.

      679. As a result of the attack, CPL Martin was injured in his person and/or

property. The Plaintiff members of the Martin Family are the survivors and/or heirs

of CPL Martin and are entitled to recover for the damages CPL Martin sustained.

      680. Plaintiff Kristie Surprenant is the mother of CPL Martin. She is a

national of the United States.

      681. Plaintiff Bob Surprenant is the step-father of CPL Martin. He is a

national of the United States. Bob Surprenant lived in the same household as CPL

Martin for a substantial period of time and considered CPL Martin the functional

equivalent of a biological son.

      682. As a result of the August 7, 2012 attack and CPL Martin’s injuries and

death, each member of the Martin Family has experienced severe mental anguish,




                                        206
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 213 of 274




emotional pain and suffering, and the loss of CPL Martin’s society,

companionship, and counsel.

The Chauncy R. Mays Family

       683. Staff Sergeant Chauncy R. Mays served in Afghanistan as a member

of the U.S. Army. On February 28, 2011, SSG Mays was injured in an IED attack

in Wardak Province, Afghanistan. SSG Mays died on February 28, 2011 as a result

of injuries sustained during the attack.

       684. The attack was committed by the Haqqani Network, a part of the

Taliban.

       685. SSG Mays’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       686. SSG Mays was a national of the United States at the time of the attack

and his death.

       687. As a result of the attack, SSG Mays was injured in his person and/or

property. The Plaintiff members of the Mays Family are the survivors and/or heirs

of SSG Mays and are entitled to recover for the damages SSG Mays sustained.




                                           207
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 214 of 274




      688. Plaintiff Thomas Pierce Mays is the father of SSG Mays. He is a

national of the United States.

      689. Plaintiff Alyson Overman Rodgers is the mother of SSG Mays. She is

a national of the United States.

      690. Plaintiff Cody Cheyenne Mays is the brother of SSG Mays. He is a

national of the United States.

      691. Plaintiff Tammy Renee Mays is the step-mother of SSG Mays. She is

a national of the United States. Tammy Renee Mays lived in the same household as

SSG Mays for a substantial period of time and considered SSG Mays the

functional equivalent of a biological son.

      692. As a result of the February 28, 2011 attack and SSG Mays’s injuries

and death, each member of the Mays Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SSG Mays’s society,

companionship, and counsel.

The Mecolus C. McDaniel Family

      693. Staff Sergeant Mecolus C. McDaniel served in Afghanistan as a

member of the U.S. Army. On March 19, 2011, SSG McDaniel was injured in an

IED attack in Khost Province, Afghanistan. SSG McDaniel died on March 19,

2011 as a result of injuries sustained during the attack.




                                         208
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 215 of 274




       694. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

       695. SSG McDaniel’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       696. SSG McDaniel was a national of the United States at the time of the

attack and his death.

       697. As a result of the attack, SSG McDaniel was injured in his person

and/or property. The Plaintiff members of the McDaniel Family are the survivors

and/or heirs of SSG McDaniel and are entitled to recover for the damages SSG

McDaniel sustained.

       698. Plaintiff Sonja McDaniel is the widow of SSG McDaniel. She is a

national of the United States.

       699. Plaintiff M.M., by and through his next friend Sonja McDaniel, is the

minor son of SSG McDaniel. He is a national of the United States.

       700. Plaintiff Charmaine Renee Gilbert is the step-daughter of SSG

McDaniel. She is a national of the United States. Charmaine Renee Gilbert lived in

                                        209
 Case 1:20-cv-04322-LGS-OTW         Document 1    Filed 06/05/20   Page 216 of 274




the same household as SSG McDaniel for a substantial period of time and

considered SSG McDaniel the functional equivalent of a biological father.

      701. Plaintiff Jordan Gilbert is the step-son of SSG McDaniel. He is a

national of the United States. Jordan Gilbert lived in the same household as SSG

McDaniel for a substantial period of time and considered SSG McDaniel the

functional equivalent of a biological father.

      702. Plaintiff Jasmine Thomas is the step-daughter of SSG McDaniel. She

is a national of the United States. Jasmine Thomas lived in the same household as

SSG McDaniel for a substantial period of time and considered SSG McDaniel the

functional equivalent of a biological father.

      703. As a result of the March 19, 2011 attack and SSG McDaniel’s injuries

and death, each member of the McDaniel Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SSG McDaniel’s society,

companionship, and counsel.

The Richard P. McEvoy Family

      704. Richard P. McEvoy served in Afghanistan as a civilian government

contractor working for DynCorp, Int’l. On August 22, 2015, Mr. McEvoy was

injured in a suicide bombing attack in Kabul Province, Afghanistan. Mr. McEvoy

died on August 22, 2015 as a result of injuries sustained during the attack.




                                         210
  Case 1:20-cv-04322-LGS-OTW          Document 1    Filed 06/05/20   Page 217 of 274




      705. The attack was committed by the Taliban (including the Haqqani

Network, a designated FTO at the time of the attack) and al-Qaeda (a designated

FTO at the time of the attack) acting together in the Kabul Attack Network.

      706. Mr. McEvoy’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, he was a

civilian not taking part in hostilities, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants,

and the attack indiscriminately placed civilians at risk, killing multiple Afghan

civilians, because it occurred on a public road in front of a private hospital.

      707. Mr. McEvoy was a national of the United States at the time of the

attack and his death.

      708. As a result of the attack, Mr. McEvoy was injured in his person and/or

property. The Plaintiff members of the McEvoy Family are the survivors and/or

heirs of Mr. McEvoy and are entitled to recover for the damages Mr. McEvoy

sustained.

      709. Plaintiff Kathleen McEvoy is the widow of Mr. McEvoy. She is a

national of the United States.

      710. Plaintiff Michelle Rose McEvoy is the daughter of Mr. McEvoy. She

is a national of the United States.




                                          211
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 218 of 274




      711. Plaintiff Patrick Charles McEvoy is the son of Mr. McEvoy. He is a

national of the United States.

      712. Plaintiff Janice H. Proctor is the mother of Mr. McEvoy. She is a

national of the United States.

      713. Plaintiff Luann Varney is the sister of Mr. McEvoy. She is a national

of the United States.

      714. As a result of the August 22, 2015 attack and Mr. McEvoy’s injuries

and death, each member of the McEvoy Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of Mr. McEvoy’s society,

companionship, and counsel.

The Richard L. McNulty III Family

      715. Private First Class Richard L. McNulty III served in Afghanistan as a

member of the U.S. Army. On May 13, 2012, PFC McNulty was injured in an IED

attack in Khost Province, Afghanistan. PFC McNulty died on May 13, 2012 as a

result of injuries sustained during the attack.

      716. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

      717. PFC McNulty’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)


                                          212
  Case 1:20-cv-04322-LGS-OTW      Document 1    Filed 06/05/20   Page 219 of 274




who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       718. PFC McNulty was a national of the United States at the time of the

attack and his death.

       719. As a result of the attack, PFC McNulty was injured in his person

and/or property. The Plaintiff members of the McNulty Family are the survivors

and/or heirs of PFC McNulty and are entitled to recover for the damages PFC

McNulty sustained.

       720. Plaintiff Shannon K. McNulty is the sister of PFC McNulty. She is a

national of the United States.

       721. As a result of the May 13, 2012 attack and PFC McNulty’s injuries

and death, each member of the McNulty Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of PFC McNulty’s society,

companionship, and counsel.

The Shaun M. Mittler Family

       722. Staff Sergeant Shaun M. Mittler served in Afghanistan as a member of

the U.S. Army. On July 10, 2010, SSG Mittler was injured in a complex attack

involving small arms fire and rocket propelled grenades in Kunar Province,




                                       213
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 220 of 274




Afghanistan. SSG Mittler died on July 10, 2010 as a result of injuries sustained

during the attack.

      723. The attack was committed by the Taliban, al-Qaeda (a designated

FTO at the time of the attack), and LeT (a designated FTO at the time of the

attack) acting together in a joint al-Qaeda-Taliban-LeT cell.

      724. SSG Mittler’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      725. SSG Mittler was a national of the United States at the time of the

attack and his death.

      726. As a result of the attack, SSG Mittler was injured in his person and/or

property. The Plaintiff members of the Mittler Family are the survivors and/or

heirs of SSG Mittler and are entitled to recover for the damages SSG Mittler

sustained.

      727. Plaintiff Cristine Mittler is the daughter of SSG Mittler. She is a

national of the United States.

      728. Plaintiff Terry Mittler is the father of SSG Mittler. He is a national of

the United States.




                                        214
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 221 of 274




      729. Plaintiff Joyce L. Turner is the mother of SSG Mittler. She is a

national of the United States.

      730. Plaintiff Misty Marie Barclay is the sister of SSG Mittler. She is a

national of the United States.

      731. Plaintiff Alexander Lee Mittler is the brother of SSG Mittler. He is a

national of the United States.

      732. As a result of the July 10, 2010 attack and SSG Mittler’s injuries and

death, each member of the Mittler Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SSG Mittler’s society,

companionship, and counsel.

The Carlos J. Negron Sr. Family

      733. Specialist Carlos J. Negron Sr. served in Afghanistan as a member of

the U.S. Army. On July 10, 2010, SPC Negron was injured in a complex attack

involving a rocket propelled grenade and small arms fire in Kunar Province,

Afghanistan. SPC Negron died on July 10, 2010 as a result of injuries sustained

during the attack.

      734. The attack was committed by the Taliban, al-Qaeda (a designated

FTO at the time of the attack), and LeT (a designated FTO at the time of the

attack) acting together in a joint al-Qaeda-Taliban-LeT cell.




                                        215
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 222 of 274




      735. SPC Negron’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      736. SPC Negron was a national of the United States at the time of the

attack and his death.

      737. As a result of the attack, SPC Negron was injured in his person and/or

property. The Plaintiff members of the Negron Family are the survivors and/or

heirs of SPC Negron and are entitled to recover for the damages SPC Negron

sustained.

      738. Plaintiff Gabriel Negron is the father of SPC Negron. He is a national

of the United States.

      739. Plaintiff Marta Torres is the mother of SPC Negron. She is a national

of the United States.

      740. Plaintiff Jose Negron is the brother of SPC Negron. He is a national of

the United States.

      741. Plaintiff Maribel Negron is the sister of SPC Negron. She is a national

of the United States.

      742. Plaintiff Marvin Negron is the brother of SPC Negron. He is a

national of the United States.

                                        216
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20    Page 223 of 274




      743. As a result of the July 10, 2010 attack and SPC Negron’s injuries and

death, each member of the Negron Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Negron’s society,

companionship, and counsel.

The Christopher R. Newman Family

      744. Staff Sergeant Christopher R. Newman served in Afghanistan as a

member of the U.S. Army. On October 29, 2011, SSG Newman was injured in a

suicide bombing attack in Kabul Province, Afghanistan. SSG Newman died on

October 29, 2011 as a result of injuries sustained during the attack.

      745. The attack was committed by the Taliban (including the Haqqani

Network) and al-Qaeda (a designated FTO at the time of the attack) acting together

in the Kabul Attack Network.

      746. SSG Newman’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants, and the attack indiscriminately placed civilians

at risk, killing multiple Afghan civilians, because it occurred on a busy road near a

university.

      747. SSG Newman was a national of the United States at the time of the

attack and his death.


                                         217
 Case 1:20-cv-04322-LGS-OTW        Document 1   Filed 06/05/20   Page 224 of 274




      748. As a result of the attack, SSG Newman was injured in his person

and/or property. The Plaintiff members of the Newman Family are the survivors

and/or heirs of SSG Newman and are entitled to recover for the damages SSG

Newman sustained.

      749. Plaintiff Amanda Newman is the widow of SSG Newman. She is a

national of the United States.

      750. Plaintiff Derrick Anthony Davis is the brother of SSG Newman. He is

a national of the United States.

      751. Plaintiff Donald Edward Newman Sr. is the grandfather of SSG

Newman. He is a national of the United States. Donald Edward Newman Sr. lived

in the same household as SSG Newman for a substantial period of time and

considered SSG Newman the functional equivalent of a biological son.

      752. As a result of the October 29, 2011 attack and SSG Newman’s

injuries and death, each member of the Newman Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SSG Newman’s

society, companionship, and counsel.

The Bryan J. Nichols Family

      753. Chief Warrant Officer 2 Bryan J. Nichols served in Afghanistan as a

member of the U.S. Army Reserve. On August 6, 2011, CW2 Nichols was injured




                                       218
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 225 of 274




in an attack on a helicopter in Wardak Province, Afghanistan. CW2 Nichols died

on August 6, 2011 as a result of injuries sustained during the attack.

      754. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack).

      755. CW2 Nichols’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      756. CW2 Nichols was a national of the United States at the time of the

attack and his death.

      757. As a result of the attack, CW2 Nichols was injured in his person

and/or property. The Plaintiff members of the Nichols Family are the survivors

and/or heirs of CW2 Nichols and are entitled to recover for the damages CW2

Nichols sustained.

      758. Plaintiff Cynthia Nichols is the mother of CW2 Nichols. She is a

national of the United States.

      759. Plaintiff Douglas Nichols is the father of CW2 Nichols. He is a

national of the United States.

      760. Plaintiff Brandon Nichols is the brother of CW2 Nichols. He is a

national of the United States.

                                         219
 Case 1:20-cv-04322-LGS-OTW         Document 1    Filed 06/05/20   Page 226 of 274




      761. As a result of the August 6, 2011 attack and CW2 Nichols’s injuries

and death, each member of the Nichols Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of CW2 Nichols’s society,

companionship, and counsel.

The Rafael A. Nieves Jr. Family

      762. Specialist Rafael A. Nieves Jr. served in Afghanistan as a member of

the U.S. Army. On July 10, 2011, SPC Nieves was injured in a complex attack

involving small arms fire and rocket propelled grenades in Paktika Province,

Afghanistan. SPC Nieves died on July 10, 2011 as a result of injuries sustained

during the attack.

      763. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

      764. SPC Nieves’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      765. SPC Nieves was a national of the United States at the time of the

attack and his death.




                                        220
 Case 1:20-cv-04322-LGS-OTW         Document 1   Filed 06/05/20   Page 227 of 274




      766. As a result of the attack, SPC Nieves was injured in his person and/or

property. The Plaintiff members of the Nieves Family are the survivors and/or

heirs of SPC Nieves and are entitled to recover for the damages SPC Nieves

sustained.

      767. Plaintiff Thomas Priolo is the foster-father of SPC Nieves. He is a

national of the United States. Thomas Priolo lived in the same household as SPC

Nieves for a substantial period of time and considered SPC Nieves the functional

equivalent of a biological son.

      768. As a result of the July 10, 2011 attack and SPC Nieves’s injuries and

death, each member of the Nieves Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Nieves’s society,

companionship, and counsel.

The Adam J. Novak Family

      769. Private Adam J. Novak served in Afghanistan as a member of the U.S.

Army. On August 27, 2010, PVT Novak was injured in an IED attack in Paktia

Province, Afghanistan. PVT Novak died on August 27, 2010 as a result of injuries

sustained during the attack.

      770. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.


                                        221
  Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 228 of 274




       771. PVT Novak’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       772. PVT Novak was a national of the United States at the time of the

attack and his death.

       773. As a result of the attack, PVT Novak was injured in his person and/or

property. The Plaintiff members of the Novak Family are the survivors and/or heirs

of PVT Novak and are entitled to recover for the damages PVT Novak sustained.

       774. Plaintiff Susan Novak is the mother of PVT Novak. She is a national

of the United States.

       775. Plaintiff Jessica Novak Cruz is the sister of PVT Novak. She is a

national of the United States.

       776. As a result of the August 27, 2010 attack and PVT Novak’s injuries

and death, each member of the Novak Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of PVT Novak’s society,

companionship, and counsel.




                                        222
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 229 of 274




The Kyle B. Osborn Family

      777. Sergeant Kyle B. Osborn served in Afghanistan as a member of the

U.S. Army. On September 13, 2012, SGT Osborn was injured in a rocket propelled

grenade attack in Ghazni Province, Afghanistan. SGT Osborn died on September

13, 2012 as a result of injuries sustained during the attack.

      778. The attack was committed by the Haqqani Network, a part of the

Taliban.

      779. SGT Osborn’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      780. SGT Osborn was a national of the United States at the time of the

attack and his death.

      781. As a result of the attack, SGT Osborn was injured in his person and/or

property. The Plaintiff members of the Osborn Family are the survivors and/or

heirs of SGT Osborn and are entitled to recover for the damages SGT Osborn

sustained.

      782. Plaintiff Creighton David Osborn is the father of SGT Osborn. He is a

national of the United States.




                                         223
 Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 230 of 274




      783. Plaintiff Kade M. Osborn is the brother of SGT Osborn. He is a

national of the United States.

      784. Plaintiff Katlyn M. Osborn is the sister of SGT Osborn. She is a

national of the United States.

      785. Plaintiff Christa L. Osborn is the step-mother of SGT Osborn. She is a

national of the United States. Christa L. Osborn lived in the same household as

SGT Osborn for a substantial period of time and considered SGT Osborn the

functional equivalent of a biological son.

      786. As a result of the September 13, 2012 attack and SGT Osborn’s

injuries and death, each member of the Osborn Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SGT Osborn’s

society, companionship, and counsel.

The Jared C. Plunk Family

      787. Specialist Jared C. Plunk served in Afghanistan as a member of the

U.S. Army. On June 25, 2010, SPC Plunk was injured in a complex attack

involving small arms fire and rocket propelled grenades in Kunar Province,

Afghanistan. SPC Plunk died on June 25, 2010 as a result of injuries sustained

during the attack.




                                        224
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 231 of 274




      788. The attack was committed by the Taliban, al-Qaeda (a designated

FTO at the time of the attack), a LeT (a designated FTO at the time of the attack)

acting together in a joint al-Qaeda-Taliban-LeT cell.

      789. SPC Plunk’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      790. SPC Plunk was a national of the United States at the time of the attack

and his death.

      791. As a result of the attack, SPC Plunk was injured in his person and/or

property. The Plaintiff members of the Plunk Family are the survivors and/or heirs

of SPC Plunk and are entitled to recover for the damages SPC Plunk sustained.

      792. Plaintiff Glenda Willard is the mother of SPC Plunk. She is a national

of the United States.

      793. Plaintiff Michelle Hock is the sister of SPC Plunk. She is a national of

the United States.

      794. Plaintiff Ranee Massoni is the sister of SPC Plunk. She is a national of

the United States.

      795. Plaintiff Jordan Plunk is the brother of SPC Plunk. He is a national of

the United States.

                                        225
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 232 of 274




       796. Plaintiff Justin T. Plunk is the brother of SPC Plunk. He is a national

of the United States.

       797. As a result of the June 25, 2010 attack and SPC Plunk’s injuries and

death, each member of the Plunk Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Plunk’s society, companionship,

and counsel.

The Blaine E. Redding Family

       798. Specialist Blaine E. Redding served in Afghanistan as a member of

the U.S. Army. On June 7, 2010, SPC Redding was injured in an IED attack in

Kunar Province, Afghanistan. SPC Redding died on June 7, 2010 as a result of

injuries sustained during the attack.

       799. The attack was committed by the Taliban, al-Qaeda (a designated

FTO at the time of the attack), and LeT (a designated FTO at the time of the

attack) acting together in a joint al-Qaeda-Taliban-LeT cell.

       800. SPC Redding’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.




                                        226
 Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 233 of 274




      801. SPC Redding was a national of the United States at the time of the

attack and his death.

      802. As a result of the attack, SPC Redding was injured in his person

and/or property. The Plaintiff members of the Redding Family are the survivors

and/or heirs of SPC Redding and are entitled to recover for the damages SPC

Redding sustained.

      803. Plaintiff Blaine A. Redding is the father of SPC Redding. He is a

national of the United States.

      804. As a result of the June 7, 2010 attack and SPC Redding’s injuries and

death, each member of the Redding Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Redding’s society,

companionship, and counsel.

The Jesse D. Reed Family

      805. Specialist Jesse D. Reed served in Afghanistan as a member of the

U.S. Army. On July 14, 2010, SPC Reed was injured in an IED attack in Zabul

Province, Afghanistan. SPC Reed died on July 14, 2010 as a result of injuries

sustained during the attack.

      806. The attack was committed by the Haqqani Network, a part of the

Taliban.




                                       227
  Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 234 of 274




       807. SPC Reed’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       808. SPC Reed was a national of the United States at the time of the attack

and his death.

       809. As a result of the attack, SPC Reed was injured in his person and/or

property. The Plaintiff members of the Reed Family are the survivors and/or heirs

of SPC Reed and are entitled to recover for the damages SPC Reed sustained.

       810. Plaintiff Heather L. Reed is the widow of SPC Reed. She is a national

of the United States.

       811. Plaintiff David Reed is the father of SPC Reed. He is a national of the

United States.

       812. As a result of the July 14, 2010 attack and SPC Reed’s injuries and

death, each member of the Reed Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Reed’s society, companionship,

and counsel.




                                        228
  Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 235 of 274




The Joseph A. Richardson Family

      813. Sergeant Joseph A. Richardson served in Afghanistan as a member of

the U.S. Army. On November 16, 2012, SGT Richardson was injured in a complex

attack involving an IED and small arms fire in Paktika Province, Afghanistan. SGT

Richardson died on November 16, 2012 as a result of injuries sustained during the

attack.

      814. The attack was committed by the Haqqani Network (a designated

FTO at the time of the attack and part of the Taliban) and al-Qaeda (a designated

FTO at the time of the attack)acting together in a joint al-Qaeda-Taliban cell.

      815. SGT Richardson’s murder would have violated the laws of war if

these terrorist groups were subject to them because, among other reasons, the

terrorist(s) who committed the attack neither wore uniforms nor otherwise

identified themselves as enemy combatants.

      816. SGT Richardson was a national of the United States at the time of the

attack and his death.

      817. As a result of the attack, SGT Richardson was injured in his person

and/or property. The Plaintiff members of the Richardson Family are the survivors

and/or heirs of SGT Richardson and are entitled to recover for the damages SGT

Richardson sustained.




                                        229
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 236 of 274




       818. Plaintiff Cassie Marie Richardson is the sister of SGT Richardson.

She is a national of the United States.

       819. As a result of the November 16, 2012 attack and SGT Richardson’s

injuries and death, each member of the Richardson Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SGT Richardson’s

society, companionship, and counsel.

The Michael E. Ristau Family

       820. Sergeant Michael E. Ristau served in Afghanistan as a member of the

U.S. Army. On July 13, 2012, SGT Ristau was injured in an IED attack in Zabul

Province, Afghanistan. SGT Ristau died on July 13, 2012 as a result of injuries

sustained during the attack.

       821. The attack was committed by the Haqqani Network, a part of the

Taliban.

       822. SGT Ristau’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       823. SGT Ristau was a national of the United States at the time of the

attack and his death.


                                          230
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20      Page 237 of 274




      824. As a result of the attack, SGT Ristau was injured in his person and/or

property. The Plaintiff members of the Ristau Family are the survivors and/or heirs

of SGT Ristau and are entitled to recover for the damages SGT Ristau sustained.

      825. Plaintiff Randy Ristau is the father of SGT Ristau. He is a national of

the United States.

      826. Plaintiff H.R., by and through her next friend Randy Ristau, is the

minor sister of SGT Ristau. She is a national of the United States.

      827. Plaintiff Suzanne Ristau is the step-mother of SGT Ristau. She is a

national of the United States. Suzanne Ristau lived in the same household as SGT

Ristau for a substantial period of time and considered SGT Ristau the functional

equivalent of a biological son.

      828. Plaintiff Christopher Powers is the step-brother of SGT Ristau. He is a

national of the United States. Christopher Powers lived in the same household as

SGT Ristau for a substantial period of time and considered SGT Ristau the

functional equivalent of a biological brother.

      829. As a result of the July 13, 2012 attack and SGT Ristau’s injuries and

death, each member of the Ristau Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SGT Ristau’s society,

companionship, and counsel.




                                         231
  Case 1:20-cv-04322-LGS-OTW       Document 1     Filed 06/05/20   Page 238 of 274




The Edgar N. Roberts III Family

       830. Sergeant First Class Edgar N. Roberts III served in Afghanistan as a

member of the U.S. Army National Guard. On June 26, 2010, SFC Roberts was

injured in an IED attack in Wardak Province, Afghanistan. SFC Roberts died on

August 17, 2010 as a result of injuries sustained during the attack.

       831. The attack was committed by the Haqqani Network, a part of the

Taliban.

       832. SFC Roberts’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       833. SFC Roberts was a national of the United States at the time of the

attack and his death.

       834. As a result of the attack, SFC Roberts was injured in his person and/or

property. The Plaintiff members of the Roberts Family are the survivors and/or

heirs of SFC Roberts and are entitled to recover for the damages SFC Roberts

sustained.

       835. Plaintiff Jannett Cecilia Roberts is the widow of SFC Roberts and is

his survivor and/or heir.


                                         232
  Case 1:20-cv-04322-LGS-OTW        Document 1   Filed 06/05/20   Page 239 of 274




      836. Plaintiff E.N.R., by and through his next friend Jannett Cecilia

Roberts, is the minor son of SFC Roberts. He is a national of the United States.

      837. Plaintiff Miguel Angel Nathaniel Roberts is the son of SFC Roberts.

He is a national of the United States.

      838. Plaintiff Carlos Cruz is the step-son of SFC Roberts. He is a national

of the United States. Carlos Cruz lived in the same household as SFC Roberts for a

substantial period of time and considered SFC Roberts the functional equivalent of

a biological father.

      839. Plaintiff Joel C. Cruz is the step-son of SFC Roberts. He is a national

of the United States. Joel C. Cruz lived in the same household as SFC Roberts for a

substantial period of time and considered SFC Roberts the functional equivalent of

a biological father.

      840. As a result of the June 26, 2010 attack and SFC Roberts’s injuries and

death, each member of the Roberts Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SFC Roberts’s society,

companionship, and counsel.

The Mario Rodriguez Jr. Family

      841. Sergeant Mario Rodriguez Jr. served in Afghanistan as a member of

the U.S. Army. On June 11, 2010, SGT Rodriguez was injured in a complex attack

involving small arms fire and rocket propelled grenades in Logar Province,


                                         233
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 240 of 274




Afghanistan. SGT Rodriguez died on June 11, 2010 as a result of injuries sustained

during the attack.

      842. The attack was committed by the Haqqani Network, a part of the

Taliban.

      843. SGT Rodriguez’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      844. SGT Rodriguez was a national of the United States at the time of the

attack and his death.

      845. As a result of the attack, SGT Rodriguez was injured in his person

and/or property. The Plaintiff members of the Rodriguez Family are the survivors

and/or heirs of SGT Rodriguez and are entitled to recover for the damages SGT

Rodriguez sustained.

      846. Plaintiff Leslie Rodriguez is the widow of SGT Rodriguez. She is a

national of the United States.

      847. Plaintiff R.G., by and through her next friend Leslie Rodriguez, is the

minor step-daughter of SGT Rodriguez. She is a national of the United States. R.G.

lived in the same household as SGT Rodriguez for a substantial period of time and

considered SGT Rodriguez the functional equivalent of a biological father.

                                        234
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 241 of 274




      848. As a result of the June 11, 2010 attack and SGT Rodriguez’s injuries

and death, each member of the Rodriguez Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SGT Rodriguez’s society,

companionship, and counsel.

The Angel Roldan Jr. Family

      849. Angel Roldan Jr. served in Afghanistan as a civilian government

contractor working for DynCorp, Int’l. On May 16, 2013, Mr. Roldan was injured

in a suicide bombing attack in Kabul Province, Afghanistan. Mr. Roldan died on

May 16, 2013 as a result of injuries sustained during the attack.

      850. The attack was committed by the Taliban (including the Haqqani

Network, a designated FTO at the time of the attack) and al-Qaeda (a designated

FTO at the time of the attack) acting together in the Kabul Attack Network.

      851. Mr. Roldan’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, he was a

civilian not taking part in hostilities, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants,

and the attack indiscriminately placed civilians at risk, killing multiple Afghan

civilians, because it occurred on a public road during rush hour.

      852. Mr. Roldan was a national of the United States at the time of the

attack and his death.


                                          235
 Case 1:20-cv-04322-LGS-OTW       Document 1    Filed 06/05/20   Page 242 of 274




      853. As a result of the attack, Mr. Roldan was injured in his person and/or

property. The Plaintiff members of the Roldan Family are the survivors and/or

heirs of Mr. Roldan and are entitled to recover for the damages Mr. Roldan

sustained.

      854. Plaintiff Lieselotte R. Roldan is the widow of Mr. Roldan. She is a

national of the United States.

      855. Plaintiff Angel R. Roldan is the son of Mr. Roldan. He is a national of

the United States.

      856. Plaintiff Matthias P. Roldan is the son of Mr. Roldan. He is a national

of the United States.

      857. Plaintiff Samantha G. Roldan is the daughter of Mr. Roldan. She is a

national of the United States.

      858. As a result of the May 16, 2013 attack and Mr. Roldan’s injuries and

death, each member of the Roldan Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of Mr. Roldan’s society, companionship,

and counsel.

The Rex L. Schad Family

      859. Staff Sergeant Rex L. Schad served in Afghanistan as a member of the

U.S. Army. On March 11, 2013, SSG Schad was injured in an insider attack in




                                       236
  Case 1:20-cv-04322-LGS-OTW        Document 1       Filed 06/05/20   Page 243 of 274




Wardak Province, Afghanistan. SSG Schad died on March 11, 2013 as a result of

injuries sustained during the attack.

      860. The attack was committed by the Haqqani Network, a designated FTO

at the time of the attack and part of the Taliban.

      861. SSG Schad’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist

who committed the attack was unlawfully wearing the uniform of his enemy.

      862. SSG Schad was a national of the United States at the time of the

attack and his death.

      863. As a result of the attack, SSG Schad was injured in his person and/or

property. The Plaintiff members of the Schad Family are the survivors and/or heirs

of SSG Schad and are entitled to recover for the damages SSG Schad sustained.

      864. Plaintiff Colleen Whipple is the mother of SSG Schad. She is a

national of the United States.

      865. As a result of the March 11, 2013 attack and SSG Schad’s injuries and

death, each member of the Schad Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SSG Schad’s society, companionship,

and counsel.




                                         237
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 244 of 274




The Jonathan P. Schmidt Family

      866. Staff Sergeant Jonathan P. Schmidt served in Afghanistan as a

member of the U.S. Army. On September 1, 2012, SSG Schmidt was injured in a

complex attack involving small arms fire and grenades in Ghazni Province,

Afghanistan. SSG Schmidt died on September 1, 2012 as a result of injuries

sustained during the attack.

      867. The attack was committed by the Haqqani Network, a part of the

Taliban.

      868. SSG Schmidt’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      869. SSG Schmidt was a national of the United States at the time of the

attack and his death.

      870. As a result of the attack, SSG Schmidt was injured in his person

and/or property. The Plaintiff members of the Schmidt Family are the survivors

and/or heirs of SSG Schmidt and are entitled to recover for the damages SSG

Schmidt sustained.

      871. Plaintiff LeeAnn Schmidt is the mother of SSG Schmidt. She is a

national of the United States.


                                        238
  Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 245 of 274




      872. Plaintiff Phillip J. Schmidt is the father of SSG Schmidt. He is a

national of the United States.

      873. Plaintiff Brandon Tyler Schmidt is the brother of SSG Schmidt. He is

a national of the United States.

      874. As a result of the September 1, 2012 attack and SSG Schmidt’s

injuries and death, each member of the Schmidt Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SSG Schmidt’s

society, companionship, and counsel.

The Billy J. Siercks Family

      875. First Sergeant Billy J. Siercks served in Afghanistan as a member of

the U.S. Army. On September 27, 2011, 1SG Siercks was injured in an indirect fire

attack in Logar Province, Afghanistan. 1SG Siercks died on September 28, 2011 as

a result of injuries sustained during the attack.

      876. The attack was committed by the Haqqani Network, a part of the

Taliban.

      877. 1SG Siercks’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants, and indiscriminately placed civilians at risk.




                                          239
 Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 246 of 274




      878. 1SG Siercks was a national of the United States at the time of the

attack and his death.

      879. As a result of the attack, 1SG Siercks was injured in his person and/or

property. The Plaintiff members of the Siercks Family are the survivors and/or

heirs of 1SG Siercks and are entitled to recover for the damages 1SG Siercks

sustained.

      880. Plaintiff Georganne M. Siercks is the widow of 1SG Siercks. She is a

national of the United States.

      881. Plaintiff G.S., by and through his next friend Georganne M. Siercks, is

the minor son of 1SG Siercks. He is a national of the United States.

      882. Plaintiff G.S., by and through his next friend Georganne M. Siercks, is

the minor son of 1SG Siercks. He is a national of the United States.

      883. As a result of the September 27, 2011 attack and 1SG Siercks’s

injuries and death, each member of the Siercks Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of 1SG Siercks’s

society, companionship, and counsel.

The Anne T. Smedinghoff Family

      884. U.S. Foreign Service officer Anne T. Smedinghoff served in

Afghanistan as a member of the U.S. State Department. On April 6, 2013, Ms.

Smedinghoff was injured in a suicide bombing attack in Zabul Province,


                                        240
 Case 1:20-cv-04322-LGS-OTW         Document 1   Filed 06/05/20   Page 247 of 274




Afghanistan. Ms. Smedinghoff died on April 6, 2013 as a result of injuries

sustained during the attack.

      885. The attack was committed by the Taliban (including the Haqqani

Network, a designated FTO at the time of the attack) and al-Qaeda (a designated

FTO at the time of the attack) acting together in the Kabul Attack Network.

      886. Ms. Smedinghoff’s murder would have violated the laws of war if

these terrorist groups were subject to them because, among other reasons, she was

a civilian State Department Employee not taking part in hostilities and escorting

Afghan journalists covering American officials donating books to a school.

      887. Ms. Smedinghoff was a national of the United States at the time of the

attack and her death.

      888. As a result of the attack, Ms. Smedinghoff was injured in her person

and/or property. The Plaintiff members of the Smedinghoff Family are the

survivors and/or heirs of Ms. Smedinghoff and are entitled to recover for the

damages Ms. Smedinghoff sustained.

      889. Plaintiff Mary Beth Smedinghoff is the mother of Ms. Smedinghoff.

She is a national of the United States.

      890. Plaintiff Thomas Smedinghoff is the father of Ms. Smedinghoff. He is

a national of the United States.




                                          241
  Case 1:20-cv-04322-LGS-OTW          Document 1   Filed 06/05/20   Page 248 of 274




      891. Plaintiff Joan M. Smedinghoff is the sister of Ms. Smedinghoff. She is

a national of the United States.

      892. Plaintiff Mark T. Smedinghoff is the brother of Ms. Smedinghoff. He

is a national of the United States.

      893. Plaintiff Regina C. Smedinghoff is the sister of Ms. Smedinghoff. She

is a national of the United States.

      894. As a result of the April 6, 2013 attack and Ms. Smedinghoff’s injuries

and death, each member of the Smedinghoff Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of Ms. Smedinghoff’s society,

companionship, and counsel.

The Omar Soltero Family

      895. Specialist Omar Soltero served in Afghanistan as a member of the

U.S. Army. On January 31, 2011, SPC Soltero was injured in an IED attack in

Wardak Province, Afghanistan. SPC Soltero died on January 31, 2011 as a result

of injuries sustained during the attack.

      896. The attack was committed by the Haqqani Network, a part of the

Taliban.

      897. SPC Soltero’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as


                                           242
  Case 1:20-cv-04322-LGS-OTW          Document 1   Filed 06/05/20   Page 249 of 274




enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       898. SPC Soltero was a national of the United States at the time of the

attack and his death.

       899. As a result of the attack, SPC Soltero was injured in his person and/or

property. The Plaintiff members of the Soltero Family are the survivors and/or

heirs of SPC Soltero and are entitled to recover for the damages SPC Soltero

sustained.

       900. Plaintiff Gustavo Alfonso Soltero Sr. is the father of SPC Soltero. He

is a national of the United States.

       901. Plaintiff Maria Soltero is the mother of SPC Soltero.

       902. Plaintiff Adrian Carrillo Soltero is the brother of SPC Soltero. He is a

national of the United States.

       903. As a result of the January 31, 2011 attack and SPC Soltero’s injuries

and death, each member of the Soltero Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SPC Soltero’s society,

companionship, and counsel.

The Orion N. Sparks Family

       904. Staff Sergeant Orion N. Sparks served in Afghanistan as a member of

the U.S. Army. On September 26, 2012, SSG Sparks was injured in a suicide


                                          243
  Case 1:20-cv-04322-LGS-OTW          Document 1   Filed 06/05/20   Page 250 of 274




bombing attack in Logar Province, Afghanistan. SSG Sparks died on September

26, 2012 as a result of injuries sustained during the attack.

      905. The attack was committed by the Taliban (including the Haqqani

Network, a designated FTO at the time of the attack) and al-Qaeda (a designated

FTO at the time of the attack) acting together in the Kabul Attack Network.

      906. SSG Sparks’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who committed the attack neither wore uniforms nor otherwise identified

themselves as enemy combatants.

      907. SSG Sparks was a national of the United States at the time of the

attack and his death.

      908. As a result of the attack, SSG Sparks was injured in his person and/or

property. The Plaintiff members of the Sparks Family are the survivors and/or heirs

of SSG Sparks and are entitled to recover for the damages SSG Sparks sustained.

      909. Plaintiff Garry Lee Sparks is the father of SSG Sparks. He is a

national of the United States.

      910. Plaintiff Jan Marie Hurnblad Sparks is the mother of SSG Sparks. She

is a national of the United States.

      911. Plaintiff Erik Sparks is the brother of SSG Sparks. He is a national of

the United States.

                                          244
 Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 251 of 274




      912. Plaintiff Zachary Douglas Sparks is the brother of SSG Sparks. He is

a national of the United States.

      913. Plaintiff Jane Sparks is the step-mother of SSG Sparks. She is a

national of the United States. Jane Sparks lived in the same household as SSG

Sparks for a substantial period of time and considered SSG Sparks the functional

equivalent of a biological son.

      914. As a result of the September 26, 2012 attack and SSG Sparks’s

injuries and death, each member of the Sparks Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SSG Sparks’s

society, companionship, and counsel.

The Nicholas P. Spehar Family

      915. Special Warfare Operator Petty Officer 2nd Class Nicholas P. Spehar

served in Afghanistan as a member of the U.S. Navy. On August 6, 2011, SO2

(SEAL) Spehar was injured in an attack on a helicopter in Wardak Province,

Afghanistan. SO2 (SEAL) Spehar died on August 6, 2011 as a result of injuries

sustained during the attack.

      916. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack).

      917. SO2 (SEAL) Spehar’s murder would have violated the laws of war if

these terrorist groups were subject to them because, among other reasons, the


                                       245
  Case 1:20-cv-04322-LGS-OTW          Document 1   Filed 06/05/20   Page 252 of 274




terrorist(s) who committed the attack neither wore uniforms nor otherwise

identified themselves as enemy combatants.

      918. SO2 (SEAL) Spehar was a national of the United States at the time of

the attack and his death.

      919. As a result of the attack, SO2 (SEAL) Spehar was injured in his

person and/or property. The Plaintiff members of the Spehar Family are the

survivors and/or heirs of SO2 (SEAL) Spehar and are entitled to recover for the

damages SO2 (SEAL) Spehar sustained.

      920. Plaintiff Annette Spehar is the mother of SO2 (SEAL) Spehar. She is

a national of the United States.

      921. Plaintiff Patrick Spehar is the father of SO2 (SEAL) Spehar. He is a

national of the United States.

      922. Plaintiff Lisa Martinusen is the sister of SO2 (SEAL) Spehar. She is a

national of the United States.

      923. Plaintiff Marie Sentina Mielke is the sister of SO2 (SEAL) Spehar.

She is a national of the United States.

      924. Plaintiff Jacob Louis Spehar is the brother of SO2 (SEAL) Spehar. He

is a national of the United States.

      925. Plaintiff Luke Spehar is the brother of SO2 (SEAL) Spehar. He is a

national of the United States.

                                          246
 Case 1:20-cv-04322-LGS-OTW         Document 1   Filed 06/05/20   Page 253 of 274




      926. As a result of the August 6, 2011 attack and SO2 (SEAL) Spehar’s

injuries and death, each member of the Spehar Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SO2 (SEAL)

Spehar’s society, companionship, and counsel.

The Cameron J. Stambaugh Family

      927. Specialist Cameron J. Stambaugh served in Afghanistan as a member

of the U.S. Army. On July 8, 2012, SPC Stambaugh was injured in an IED attack

in Wardak Province, Afghanistan. SPC Stambaugh died on July 8, 2012 as a result

of injuries sustained during the attack.

      928. The attack was committed by the Haqqani Network, a part of the

Taliban.

      929. SPC Stambaugh’s murder would have violated the laws of war if

these terrorist groups were subject to them because, among other reasons, the

terrorist(s) who planted the IED neither wore uniforms nor otherwise identified

themselves as enemy combatants, and the passive detonation system

indiscriminately placed civilians at risk.

      930. SPC Stambaugh was a national of the United States at the time of the

attack and his death.

      931. As a result of the attack, SPC Stambaugh was injured in his person

and/or property. The Plaintiff members of the Stambaugh Family are the survivors


                                           247
 Case 1:20-cv-04322-LGS-OTW         Document 1     Filed 06/05/20   Page 254 of 274




and/or heirs of SPC Stambaugh and are entitled to recover for the damages SPC

Stambaugh sustained.

      932. Plaintiff Mitchell L. Stambaugh is the father of SPC Stambaugh. He is

a national of the United States.

      933. As a result of the July 8, 2012 attack and SPC Stambaugh’s injuries

and death, each member of the Stambaugh Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SPC Stambaugh’s society,

companionship, and counsel.

The Joshua J. Strickland Family

      934. Sergeant Joshua J. Strickland served in Afghanistan as a member of

the U.S. Army. On September 21, 2013, SGT Strickland was injured in an insider

attack in Paktia Province, Afghanistan. SGT Strickland died on September 21,

2013 as a result of injuries sustained during the attack.

      935. The attack was committed by the Haqqani Network (a designated

FTO at the time of the attack and part of the Taliban) and al-Qaeda (a designated

FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban cell.

      936. SGT Strickland’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist

who committed the attack was unlawfully wearing the uniform of his enemy.




                                         248
 Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 255 of 274




      937. SGT Strickland was a national of the United States at the time of the

attack and his death.

      938. As a result of the attack, SGT Strickland was injured in his person

and/or property. The Plaintiff members of the Strickland Family are the survivors

and/or heirs of SGT Strickland and are entitled to recover for the damages SGT

Strickland sustained.

      939. Plaintiff Garrett Layne Funk is the brother of SGT Strickland. He is a

national of the United States.

      940. As a result of the September 21, 2013 attack and SGT Strickland’s

injuries and death, each member of the Strickland Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SGT Strickland’s

society, companionship, and counsel.

The Barry Sutton Family

      941. Barry Sutton served in Afghanistan as a civilian government

contractor working for DynCorp, Int’l. On August 22, 2015, Mr. Sutton was

injured in a suicide bombing attack in Kabul Province, Afghanistan. Mr. Sutton

died on August 22, 2015 as a result of injuries sustained during the attack.

      942. The attack was committed by the Taliban (including the Haqqani

Network, a designated FTO at the time of the attack) and al-Qaeda (a designated

FTO at the time of the attack) acting together in the Kabul Attack Network.


                                        249
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 256 of 274




      943. Mr. Sutton’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, he was a

civilian not taking part in hostilities, the terrorist(s) who committed the attack

neither wore uniforms nor otherwise identified themselves as enemy combatants,

and the attack indiscriminately placed civilians at risk, killing multiple Afghan

civilians, because it occurred on a public road in front of a private hospital.

      944. Mr. Sutton was a national of the United States at the time of the attack

and his death.

      945. As a result of the attack, Mr. Sutton was injured in his person and/or

property. The Plaintiff members of the Sutton Family are the survivors and/or heirs

of Mr. Sutton and are entitled to recover for the damages Mr. Sutton sustained.

      946. Plaintiff Erin Nicole Goss is the daughter of Mr. Sutton. She is a

national of the United States.

      947. Plaintiff Summer Breanne Sutton is the daughter of Mr. Sutton. She is

a national of the United States.

      948. Plaintiff Harriet Sutton is the mother of Mr. Sutton. She is a national

of the United States.

      949. Plaintiff Trecia Brock Hood is the sister of Mr. Sutton. She is a

national of the United States.




                                          250
 Case 1:20-cv-04322-LGS-OTW         Document 1    Filed 06/05/20   Page 257 of 274




      950. Plaintiff Wendy Shedd is the sister of Mr. Sutton. She is a national of

the United States.

      951. Plaintiff Freddie Dewey Sutton is the brother of Mr. Sutton. He is a

national of the United States.

      952. As a result of the August 22, 2015 attack and Mr. Sutton’s injuries

and death, each member of the Sutton Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of Mr. Sutton’s society,

companionship, and counsel.

The James E. Thode Family

      953. Sergeant First Class James E. Thode served in Afghanistan as a

member of the U.S. Army National Guard. On December 2, 2010, SFC Thode was

injured in an IED attack in Khost Province, Afghanistan. SFC Thode died on

December 2, 2010 as a result of injuries sustained during the attack.

      954. The attack was committed by the Haqqani Network (a part of the

Taliban) and al-Qaeda (a designated FTO at the time of the attack) acting together

in a joint al-Qaeda-Taliban cell.

      955. SFC Thode’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as




                                        251
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20    Page 258 of 274




enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       956. SFC Thode was a national of the United States at the time of the

attack and his death.

       957. As a result of the attack, SFC Thode was injured in his person and/or

property. The Plaintiff members of the Thode Family are the survivors and/or heirs

of SFC Thode and are entitled to recover for the damages SFC Thode sustained.

       958. Plaintiff Evelyn Taylor is the mother of SFC Thode. She is a national

of the United States.

       959. As a result of the December 2, 2010 attack and SFC Thode’s injuries

and death, each member of the Thode Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SFC Thode’s society,

companionship, and counsel.

The Ryan Gregory Timoney Family

       960.    Plaintiff Captain Ryan Gregory Timoney served in Afghanistan as a

member of the U.S. Army. On May 20, 2012, CPT Timoney was injured in a

suicide bomber attack in Uruzgan Province, Afghanistan. The attack severely

wounded CPT Timoney, who lost his left leg, suffered shrapnel injuries to his left

arm, left chest, left abdomen, and left side of his skull, and also suffers from spinal

pain, seizures, physical limitations, and speech, reading and vision difficulty. As a


                                         252
 Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 259 of 274




result of the May 20, 2012 attack and his injuries, CPT Timoney has experienced

severe physical and emotional pain and suffering.

      961. The attack was committed by al-Qaeda (a designated FTO at the time

of the attack) and the Taliban with al-Qaeda providing and training the suicide

bomber.

      962. The attack that injured CPT Timoney would have violated the laws of

war if these terrorist groups were subject to them because, among other reasons,

the terrorist(s) who committed the attack neither wore uniforms nor otherwise

identified themselves as enemy combatants.

      963. CPT Timoney was a national of the United States at the time of the

attack, and remains one to this day.

      964. Plaintiff Diane Timoney is the mother of CPT Timoney. She is a

national of the United States.

      965. Plaintiff Gregory Timoney is the father of CPT Timoney. He is a

national of the United States.

      966. As a result of the May 20, 2012 attack and CPT Timoney’s injuries,

each member of the Timoney Family has experienced severe mental anguish,

emotional pain and suffering.




                                        253
  Case 1:20-cv-04322-LGS-OTW        Document 1       Filed 06/05/20   Page 260 of 274




The Nickolas S. Welch Family

       967. Specialist Nickolas S. Welch served in Afghanistan as a member of

the U.S. Army. On July 23, 2013, SPC Welch was injured in an IED attack in

Wardak Province, Afghanistan. SPC Welch died on August 6, 2013 as a result of

injuries sustained during the attack.

       968. The attack was committed by the Haqqani Network, a designated FTO

at the time of the attack and part of the Taliban.

       969. SPC Welch’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       970. SPC Welch was a national of the United States at the time of the

attack and his death.

       971. As a result of the attack, SPC Welch was injured in his person and/or

property. The Plaintiff members of the Welch Family are the survivors and/or heirs

of SPC Welch and are entitled to recover for the damages SPC Welch sustained.

       972. Plaintiff Barry Welch is the father of SPC Welch. He is a national of

the United States.




                                         254
  Case 1:20-cv-04322-LGS-OTW        Document 1    Filed 06/05/20   Page 261 of 274




       973. Plaintiff Lorria Welch is the mother of SPC Welch. She is a national

of the United States.

       974. Plaintiff Zackary Welch is the brother of SPC Welch. He is a national

of the United States.

       975. As a result of the July 23, 2013 attack and SPC Welch’s injuries and

death, each member of the Welch Family has experienced severe mental anguish,

emotional pain and suffering, and the loss of SPC Welch’s society, companionship,

and counsel.

The Blake D. Whipple Family

       976. Specialist Blake D. Whipple served in Afghanistan as a member of the

U.S. Army. On November 5, 2010, SPC Whipple was injured in an IED attack in

Ghazni Province, Afghanistan. SPC Whipple died on November 5, 2010 as a result

of injuries sustained during the attack.

       977. The attack was committed by the Haqqani Network, a part of the

Taliban.

       978. SPC Whipple’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.


                                           255
 Case 1:20-cv-04322-LGS-OTW        Document 1   Filed 06/05/20   Page 262 of 274




      979. SPC Whipple was a national of the United States at the time of the

attack and his death.

      980. As a result of the attack, SPC Whipple was injured in his person

and/or property. The Plaintiff members of the Whipple Family are the survivors

and/or heirs of SPC Whipple and are entitled to recover for the damages SPC

Whipple sustained.

      981. Plaintiff David Whipple is the father of SPC Whipple. He is a national

of the United States.

      982. Plaintiff Kimberley A. Whipple is the mother of SPC Whipple. She is

a national of the United States.

      983. Plaintiff Brian Gregory Clyburn is the brother of SPC Whipple. He is

a national of the United States.

      984. Plaintiff Sean Whipple is the brother of SPC Whipple. He is a national

of the United States.

      985. As a result of the November 5, 2010 attack and SPC Whipple’s

injuries and death, each member of the Whipple Family has experienced severe

mental anguish, emotional pain and suffering, and the loss of SPC Whipple’s

society, companionship, and counsel.




                                       256
  Case 1:20-cv-04322-LGS-OTW        Document 1       Filed 06/05/20   Page 263 of 274




The James T. Wickliff-Chacin Family

      986. Specialist James T. Wickliff-Chacin served in Afghanistan as a

member of the U.S. Army. On August 12, 2013, SPC Wickliff-Chacin was injured

in an IED attack in Logar Province, Afghanistan. SPC Wickliff-Chacin died on

September 20, 2013 as a result of injuries sustained during the attack.

      987. The attack was committed by the Haqqani Network, a designated FTO

at the time of the attack and part of the Taliban.

      988. SPC Wickliff-Chacin’s murder would have violated the laws of war if

these terrorist groups were subject to them because, among other reasons, the

terrorist(s) who planted the IED neither wore uniforms nor otherwise identified

themselves as enemy combatants, and the passive detonation system

indiscriminately placed civilians at risk.

      989. SPC Wickliff-Chacin was a national of the United States at the time of

the attack and his death.

      990. As a result of the attack, SPC Wickliff-Chacin was injured in his

person and/or property. The Plaintiff members of the Wickliff-Chacin Family are

the survivors and/or heirs of SPC Wickliff-Chacin and are entitled to recover for

the damages SPC Wickliff-Chacin sustained.

      991. Plaintiff Martha Carolina Smith is the mother of SPC Wickliff-

Chacin. She is a national of the United States. She brings claims in both her


                                         257
 Case 1:20-cv-04322-LGS-OTW         Document 1    Filed 06/05/20   Page 264 of 274




personal capacity and her representative capacity on behalf of SPC Wickliff-

Chacin’s estate.

      992. Plaintiff Thomas Elmer Wickliff is the father of SPC Wickliff-Chacin.

He is a national of the United States.

      993. Plaintiff Michelle Carolina Rotelli is the sister of SPC Wickliff-

Chacin. She is a national of the United States.

      994. As a result of the August 12, 2013 attack and SPC Wickliff-Chacin’s

injuries and death, each member of the Wickliff-Chacin Family has experienced

severe mental anguish, emotional pain and suffering, and the loss of SPC Wickliff-

Chacin’s society, companionship, and counsel.

      995. SPC Wickliff-Chacin’s estate is entitled to recover economic and non-

economic damages from Defendants, due to his murder.

The Clarence Williams III Family

      996. Specialist Clarence Williams III served in Afghanistan as a member of

the U.S. Army. On July 8, 2012, SPC Williams was injured in an IED attack in

Wardak Province, Afghanistan. SPC Williams died on July 8, 2012 as a result of

injuries sustained during the attack.

      997. The attack was committed by the Haqqani Network, a part of the

Taliban.




                                         258
  Case 1:20-cv-04322-LGS-OTW          Document 1    Filed 06/05/20   Page 265 of 274




       998. SPC Williams’s murder would have violated the laws of war if these

terrorist groups were subject to them because, among other reasons, the terrorist(s)

who planted the IED neither wore uniforms nor otherwise identified themselves as

enemy combatants, and the passive detonation system indiscriminately placed

civilians at risk.

       999. SPC Williams was a national of the United States at the time of the

attack and his death.

       1000. As a result of the attack, SPC Williams was injured in his person

and/or property. The Plaintiff members of the Williams Family are the survivors

and/or heirs of SPC Williams and are entitled to recover for the damages SPC

Williams sustained.

       1001. Plaintiff Clarence Williams Jr. is the father of SPC Williams. He is a

national of the United States.

       1002. Plaintiff Talisa Shervon Williams is the mother of SPC Williams. She

is a national of the United States.

       1003. Plaintiff Samantha Shervon Williams is the sister of SPC Williams.

She is a national of the United States.

       1004. Plaintiff Abrill Renee Williams-Osbourne is the sister of SPC

Williams. She is a national of the United States.




                                          259
  Case 1:20-cv-04322-LGS-OTW        Document 1     Filed 06/05/20   Page 266 of 274




      1005. As a result of the July 8, 2012 attack and SPC Williams’s injuries and

death, each member of the Williams Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SPC Williams’s society,

companionship, and counsel.

The Sonny C. Zimmerman Family

      1006. Staff Sergeant Sonny C. Zimmerman served in Afghanistan as a

member of the U.S. Army. On July 15, 2013, SSG Zimmerman was injured in an

attack involving a recoiless rifle in Paktia Province, Afghanistan. SSG Zimmerman

died on July 15, 2013 as a result of injuries sustained during the attack.

      1007. The attack was committed by the Haqqani Network (a designated

FTO at the time of the attack and part of the Taliban) and al-Qaeda (a designated

FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban cell.

      1008. SSG Zimmerman’s murder would have violated the laws of war if

these terrorist groups were subject to them because, among other reasons, the

terrorist(s) who committed the attack neither wore uniforms nor otherwise

identified themselves as enemy combatants.

      1009. SSG Zimmerman was a national of the United States at the time of the

attack and his death.

      1010. As a result of the attack, SSG Zimmerman was injured in his person

and/or property. The Plaintiff members of the Zimmerman Family are the


                                         260
  Case 1:20-cv-04322-LGS-OTW          Document 1     Filed 06/05/20   Page 267 of 274




survivors and/or heirs of SSG Zimmerman and are entitled to recover for the

damages SSG Zimmerman sustained.

      1011. Plaintiff Michelle Zimmerman is the mother of SSG Zimmerman. She

is a national of the United States.

      1012. Plaintiff Chris Lee Zimmerman is the father of SSG Zimmerman. He

is a national of the United States.

      1013. Plaintiff Baily Zimmerman is the sister of SSG Zimmerman. She is a

national of the United States.

      1014. As a result of the July 15, 2013 attack and SSG Zimmerman’s injuries

and death, each member of the Zimmerman Family has experienced severe mental

anguish, emotional pain and suffering, and the loss of SSG Zimmerman’s society,

companionship, and counsel.

                              CLAIMS FOR RELIEF

                                 First Claim for Relief

                    Civil Liability Under 18 U.S.C. § 2333(d)
             for Aiding and Abetting Foreign Terrorist Organizations

      1015. Plaintiffs repeat and re-allege each and every allegation of the

foregoing paragraphs as if fully set forth herein.

      1016. Plaintiffs were all injured by acts of international terrorism as defined

by 18 U.S.C. § 2331(1).



                                          261
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20    Page 268 of 274




       1017. This claim for relief applies to all attacks that were committed,

planned, and authorized by organizations that had been designated FTOs as of the

date of the attacks.

       1018. HBL aided and abetted the person(s) who committed the attacks by

knowingly providing illicit financial services that facilitated large funds transfers

to the members of the al-Qaeda Terror Syndicate in the lead-up to the terrorist

attack at issue.

       1019. As alleged above, HBL provided this assistance knowingly.

       1020. HBL was generally aware that by unlawfully providing funds to the

members of the al-Qaeda Terror Syndicate, it was playing a role in the Syndicate’s

terrorist and tortious activities.

       1021. The assistance HBL provided was substantial because, inter alia, the

amount of money provided to the al-Qaeda Terror Syndicate was significant, HBL

had a culpable state of mind, and the assistance continued over many years,

evincing a deliberate long-term intention by HBL to participate in the ongoing

illicit enterprise.

       1022. The attacks at issue were a reasonably foreseeable result of the

Syndicate’s terrorist and tortious activities.

       1023. In amending the ATA through JASTA, Congress has repeatedly

stressed its objective to create civil liability for persons and entities that have

                                           262
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20   Page 269 of 274




provided material support, directly or indirectly, to foreign organizations or

persons that engage in terrorist activities against the United States.

      1024. HBL should accordingly be held liable for civil aiding and abetting

under 18 U.S.C. § 2333(d).

                              Second Claim for Relief

                    Civil Liability Under 18 U.S.C. § 2333(d)
               for Conspiring with Foreign Terrorist Organizations

      1025. Plaintiffs repeat and re-allege each and every allegation of the

foregoing paragraphs as if fully set forth herein.

      1026. HBL entered into a conspiracy with its customers (including Al

Rashid Trust and Dawood Ibrahim, as well as the other SDGTs listed in this

Complaint), as well as al-Qaeda, the Haqqani Network, LeT, and JeM, to join the

al-Qaeda Terror Syndicate’s terrorist campaign.

      1027. As explained above, the Syndicate members conspired to carry out a

terror campaign targeting Coalition forces in Afghanistan for the purpose of

targeting United States citizens and institutions and affecting the policies of the

U.S. government.

      1028. HBL knew that the objective of the conspiracy between these

sophisticated terrorist organizations was to facilitate terrorist attacks, including

attacks against Coalition forces. This includes the attacks at issue in this case that

were planned, authorized, or executed by designated FTOs.

                                          263
  Case 1:20-cv-04322-LGS-OTW        Document 1       Filed 06/05/20   Page 270 of 274




      1029. HBL agreed to join and further this conspiracy by helping its terrorist

customers move large sums of money (primarily in USD) through the international

financial system (and particularly the United States) undetected.

      1030. The terrorist attacks at issue in this case were a foreseeable act in

furtherance of this conspiracy that caused Plaintiffs’ injuries.

      1031. HBL should accordingly be held liable for conspiracy under 18 U.S.C.

§ 2333(d).

                               Third Claim for Relief

                Civil Liability Under 18 U.S.C. § 2333(a) for
   Providing Material Support to Terrorists in Violation of 18 U.S.C. § 2339A

      1032. Plaintiffs repeat and re-allege each and every allegation of the

foregoing paragraphs as if fully set forth herein.

      1033. HBL provided material support or resources to members of the

al-Qaeda Terror Syndicate in violation of 18 U.S.C. § 2339A by transferring

money to these terrorist organizations knowing that those funds would be used in

preparation for or in carrying out one or more violations of enumerated predicate

offenses, including 18 U.S.C. §§ 844(f) (destroying federal property), 930(c)

(homicide in the course of attacking a federal facility), 956 (conspiracy to kill,

kidnap, maim, or injure individuals, or to damage property, in a foreign country),

1114 (killing a federal officer, employee, or member of the armed forces), 1361



                                         264
  Case 1:20-cv-04322-LGS-OTW         Document 1      Filed 06/05/20   Page 271 of 274




(destruction of federal property), and 2332 (killing or assaulting a United States

national outside the United States).

      1034. HBL’s material support to notorious terrorists in the manner and with

the knowledge alleged in this Complaint constitutes acts of international terrorism,

because HBL’s conduct involved acts that are dangerous to human life, that

violated the criminal laws of the United States, and objectively appeared to be

intended to influence the policy of a government by intimidation or coercion or

affect the conduct of a government by mass destruction, assassination, or

kidnapping, and transcends national boundaries.

      1035. HBL’s actions caused Plaintiffs’ injuries by providing the members of

the al-Qaeda Terror Syndicate with funds necessary and sufficient to carry out the

terrorist attacks implicated in this case.

      1036. As alleged above, HBL acted with the requisite scienter—either

knowledge or deliberate indifference.

      1037. HBL should accordingly be held liable under 18 U.S.C. § 2333(a).

                               Fourth Claim for Relief

                  Civil Liability Under 18 U.S.C. § 2333(a) for
             Providing Material Support to Terrorist Organizations
                        in Violation of 18 U.S.C. § 2339B

      1038. Plaintiffs repeat and re-allege each and every allegation of the

foregoing paragraphs as if fully set forth herein.


                                             265
  Case 1:20-cv-04322-LGS-OTW        Document 1      Filed 06/05/20   Page 272 of 274




      1039. As stated above, HBL knowingly provided funds to individual leaders

or operatives belonging to designated FTOs that were members of the al-Qaeda

Terror Syndicate, including al-Qaeda and the Haqqani Network.

      1040. HBL also knowingly provided funds to designated SDGTs who raised

money for these FTOs.

      1041. HBL knew, or was deliberately indifferent, to the fact that these

terrorist organizations operated as a syndicate, so that by providing assistance to

one of them, it was providing assistance to their collective terrorist enterprise.

      1042. HBL knew, or was deliberately indifferent, to the fact that its

customers and counter-parties were agents or alter-egos of FTOs, such that it was

providing material support to FTOs by offering financial services to its customers.

      1043. By knowingly providing material support in the form of financial

services to individuals and entities it knew were agents or alter-egos of FTOs, HBL

violated 18 U.S.C. § 2339B, which prohibits knowingly providing any material

support or resources to a designated FTO.

      1044. HBL’s knowing provision of material support to individuals and

entities it knew were agents or alter-egos of FTOs constitutes acts of international

terrorism, because that conduct involved acts that are dangerous to human life,

violated the criminal laws of the United States, and objectively appeared to be

intended to influence the policy of a government by intimidation or coercion or

                                          266
  Case 1:20-cv-04322-LGS-OTW         Document 1    Filed 06/05/20   Page 273 of 274




affect the conduct of a government by mass destruction, assassination, or

kidnapping, and transcends national boundaries.

      1045. HBL’s actions caused Plaintiffs’ injuries by providing the members of

the al-Qaeda Terror Syndicate with funds necessary and sufficient to carry out the

terrorist attacks implicated in this case.

      1046. HBL should accordingly be held liable under 18 U.S.C. § 2333(a).

                              PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

   (a) Accept jurisdiction over this action;

   (b) Enter judgment against HBL and in favor of all Plaintiffs for compensatory

      damages (including for physical and emotional pain and suffering, loss of

      society, companionship, comfort, advice, and counsel, and economic loss) in

      amounts to be determined at trial;

   (c) Enter judgment against HBL and in favor of Plaintiffs for treble damages

      pursuant to 18 U.S.C. § 2333;

   (d) Enter judgment against HBL and in favor of Plaintiffs for any and all costs

      sustained in connection with the prosecution of this action, including

      attorney’s fees, pursuant to 18 U.S.C. § 2333;

   (e) Grant pre-judgment interest, as authorized by law; and

   (f) Grant such other and further relief as justice requires.

                                             267
 Case 1:20-cv-04322-LGS-OTW   Document 1     Filed 06/05/20   Page 274 of 274




PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.



                                     Respectfully submitted,

                                         /s/Tejinder Singh

Ryan R. Sparacino                    Tejinder Singh
(pro hac vice forthcoming)            (SDNY Bar No. TS0613)
SPARACINO PLLC                       GOLDSTEIN & RUSSELL, P.C.
1920 L Street, NW, Suite 535         7475 Wisconsin Ave., Suite 850
Washington, DC 20036                 Bethesda, MD 20814
Tel: 202.629.3530                    Tel: 202.362.0636
Ryan.sparacino@sparacinopllc.com     Fax: 866.574.2033
                                     tsingh@goldsteinrussell.com




Dated: June 5, 2020




                                   268
